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                                                                   6             mpagay@pszjlaw.com

                                                                   7     Attorneys for Debtor and Debtor in Possession

                                                                   8                                    UNITED STATES BANKRUPTCY COURT

                                                                   9                                     CENTRAL DISTRICT OF CALIFORNIA

                                                                  10                                               LOS ANGELES DIVISION

                                                                  11   In re:                                                        Case No.: 2:19-bk-24804-VZ
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   YUETING JIA,1                                                 Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                       Debtor.                   NOTICE OF MOTION AND MOTION FOR
                                           ATTORNEYS AT LAW




                                                                                                                                     ORDER (A) AUTHORIZING DEBTOR IN
                                                                  14                                                                 POSSESSION TO (I) OBTAIN POST-
                                                                                                                                     PETITION FINANCING PURSUANT TO 11
                                                                  15                                                                 U.S.C. §§105, 362, AND 364, AND (II)
                                                                                                                                     GRANTING LIENS AND SUPERPRIORITY
                                                                  16                                                                 CLAIMS TO POST-PETITION LENDER
                                                                                                                                     PURSUANT TO 11 U.S.C. §364; AND
                                                                  17                                                                 (B) MODIFYING AUTOMATIC STAY
                                                                                                                                     PURSUANT TO 11 U.S.C. §§361, 362, AND
                                                                  18                                                                 364; MEMORANDUM OF POINTS AND
                                                                                                                                     AUTHORITIES; DECLARATIONS OF
                                                                  19                                                                 ROBERT MOON AND MATTHIAS AYDT IN
                                                                                                                                     SUPPORT THEREOF
                                                                  20
                                                                                                                                     Date:      March 19, 2020
                                                                  21                                                                 Time:      9:30 a.m.
                                                                                                                                     Place:     United States Bankruptcy Court
                                                                  22                                                                            255 E. Temple Street,
                                                                                                                                                Los Angeles, CA 90012
                                                                  23                                                                 Courtroom: 1368
                                                                                                                                     Judge:     Hon. Vincent P. Zurzolo
                                                                  24

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                                                                  28    1
                                                                          The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing
                                                                        address is 91 Marguerite Drive, Rancho Palos Verdes, CA 90275.

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                                                                   1   TO THE HONORABLE VINCENT P. ZURZOLO, UNITED STATES BANKRUPTCY
                                                                       JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, THE DEBTOR’S
                                                                   2   PROPOSED POST-PETITION LENDER, THE OFFICIAL COMMITTEE OF
                                                                       UNSECURED CREDITORS, ALL ENTITIES KNOWN TO ASSERT LIENS IN THE
                                                                   3   DEBTOR’S ASSETS, AND OTHER PARTIES IN INTEREST:

                                                                   4            PLEASE TAKE NOTICE that Yueting Jia, the above-captioned debtor and debtor in

                                                                   5   possession (the “Debtor” or “Borrower”), hereby moves (the “Motion”) this Court for entry of an

                                                                   6   order:

                                                                   7            a.      authorizing the Debtor to obtain post-petition financing from Pacific Technology

                                                                   8   Holding LLC (“PTH” or the “DIP Lender”), consisting of that certain Secured Debtor-In-Possession

                                                                   9   Promissory Note (the “DIP Note”) by and among the DIP Lender and the Borrower in the maximum

                                                                  10   principal amount of $6,400,000.2 Advances to be made available as set forth therein, to be used for

                                                                  11   the payment of Administrative Expenses as described herein and in the DIP Note, on the terms and
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                                                                  12   conditions set forth herein and in the form order (the “Order”) attached hereto as Exhibit “C”;
                                        LOS ANGELES, CALIFORNIA




                                                                  13            b.      authorizing the Debtor to execute and enter into the DIP Note and to perform all such
                                           ATTORNEYS AT LAW




                                                                  14   other and further acts as may be required in connection with the documents relating thereto;

                                                                  15            c.      authorizing the Debtor to use proceeds of the DIP Note solely as expressly permitted

                                                                  16   in the DIP Note and in accordance with the terms of the Order;

                                                                  17            d.      granting to the DIP Lender automatically perfected (i) first priority security interests

                                                                  18   in all of Borrower’s right, title and interest in the Non-China Collateral (as defined in the DIP Note)

                                                                  19   upon which there are either pre-existing permitted senior liens or no pre-existing liens, to the extent

                                                                  20   provided herein, and granting superpriority administrative expense status (as defined below) and (ii)

                                                                  21   junior and subordinated security interests in all of Borrower’s right, title and interest in the China

                                                                  22   Collateral;3

                                                                  23

                                                                  24

                                                                  25   2
                                                                         The DIP lender has placed $1,250,000 in trust with counsel to the Committee for the purpose of paying allowed fees
                                                                       and expenses of Committee professionals pursuant to orders of the court permitting payment of such fees and expenses.
                                                                  26   The Debtor will also place $100,000 into an administrative expense escrow account which will be held in trust by the
                                                                       Debtor’s counsel and receive all proceeds of the DIP Loan contemplated herein.
                                                                  27   3
                                                                         This security grant shall be subject in all respects to the Minute Order entered September 3, 2019 in Case No: 2:18-CV-
                                                                       10255 SJO (MRWx) in the United States District Court for the Central District of California (the “Minute Order”),
                                                                  28   attached to the DIP Note as Exhibit 1 to the extent the Minute Order remains enforceable in light of the chapter 11 case
                                                                       and has not been avoided or disallowed therein.
                                                                                                                                  1
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                                                                   1           e.       authorizing the Debtor to pay the principal, interest, fees, expenses, disbursements,

                                                                   2   and other amounts payable under the DIP N o t e as such amounts become due and payable; and

                                                                   3           f.       vacating and modifying the automatic stay pursuant to Section 362 of the Bankruptcy

                                                                   4   Code to the extent necessary to implement and effectuate the terms and provisions of the Order and

                                                                   5   the DIP Note.

                                                                   6           PLEASE TAKE FURTHER NOTICE that this Motion is made pursuant to sections 105,

                                                                   7   362, and 364 of the Bankruptcy Code and Bankruptcy Rules 2002, 4001 and 9014, and Local

                                                                   8   Bankruptcy Rule 4001-2 (the “Local Bankruptcy Rules”), and is made on the grounds that the

                                                                   9   authorization of the requested financing is within the Debtor’s sound business judgment and in the

                                                                  10   best interest of the Debtor’s estate. Access to the DIP Note proceeds will allow the Debtor to

                                                                  11   maintain his affairs and pay costs of administering his chapter 11 case, thereby maximizing
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                                                                  12   recoveries for creditors.
                                        LOS ANGELES, CALIFORNIA




                                                                  13           PLEASE TAKE FURTHER NOTICE that this Motion is based on this Notice and Motion,
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                                                                  14   the Declaration of Robert Moon (the “Moon Declaration”) and Declaration of Matthias Aydt (the

                                                                  15   “Aydt Declaration”) attached hereto and incorporated herein, and the arguments of counsel and

                                                                  16   other admissible evidence properly brought before the Court at or before the hearing on this Motion.

                                                                  17   In addition, the Debtor requests that the Court take judicial notice of all documents filed with the

                                                                  18   Court in this case.

                                                                  19           PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 9013-1(f),

                                                                  20   if you wish to oppose the Motion, you must file a written response with the Court and serve a copy

                                                                  21   of it upon the undersigned counsel no later than fourteen (14) days prior to the hearing on the

                                                                  22   Motion. The failure to properly file and serve an opposition may be deemed consent to the relief

                                                                  23   requested in the Motion or a waiver of any right to oppose the Motion.

                                                                  24           PLEASE TAKE FURTHER NOTICE that counsel to the Debtor will serve this Notice and

                                                                  25   Motion, the attached Memorandum of Points and Authorities, the Moon Declaration, and the Aydt

                                                                  26   Declaration upon: (a) the Office of the United States Trustee, (b) the Official Committee of

                                                                  27   Unsecured Creditors, (c) counsel to the DIP Lender, and (d) any known parties that assert a lien on

                                                                  28   the Debtor’s assets. A copy of the motion is also available on the Debtor’s case website at

                                                                                                                           2
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                                                                   1   https://dm.epiq11.com/YT1. The Debtor submits that such notice complies with the Federal Rules

                                                                   2   of Bankruptcy Procedure, the Local Rules of Bankruptcy Procedure, the Local Rules of this Court to

                                                                   3   the extent applicable, and is sufficient and that no other or further notice be given.

                                                                   4           WHEREFORE the Debtor respectfully requests that the Court grant the relief requested

                                                                   5   herein and grant such other and further relief as the Court deems just and proper.

                                                                   6   Dated: February 27, 2020                       PACHULSKI STANG ZIEHL & JONES LLP

                                                                   7
                                                                                                                      By: /s/ Jeffrey W. Dulberg
                                                                   8                                                          Richard M. Pachulski
                                                                                                                              Jeffrey W. Dulberg
                                                                   9                                                          Malhar S. Pagay
                                                                  10                                                      Attorneys for Debtor and Debtor in Possession
                                                                  11
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                                                                   1                            MEMORANDUM OF POINTS AND AUTHORITIES

                                                                   2           Yueting Jia, the above-captioned debtor and debtor in possession (the “Debtor” or

                                                                   3   “Borrower”), hereby files this Memorandum of Points and Authorities in support of his Motion For

                                                                   4   Order (A) Authorizing Debtor In Possession To (I) Obtain Post-Petition Financing Pursuant To 11

                                                                   5   U.S.C. §§105, 362, 363, And 364, And (II) Granting Liens And Superpriority Claims To Post-

                                                                   6   petition Lender Pursuant To 11 U.S.C. §364; and (B) Modifying Automatic Stay Pursuant To 11

                                                                   7   U.S.C. §§361, 362, And 364 (the “Motion”),4 and represents as follows:

                                                                   8                                                             I.

                                                                   9                                            GENERAL BACKGROUND

                                                                  10           On October 14, 2019 (the “Petition Date”), the Debtor filed a voluntary petition for relief

                                                                  11   under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States
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                                                                  12   Bankruptcy Court for the District of Delaware. The Debtor continues to operate and manage his
                                        LOS ANGELES, CALIFORNIA




                                                                  13   affairs as a debtor in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No
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                                                                  14   trustee or examiner has been appointed in this chapter 11 case.

                                                                  15           The Debtor commenced this case in order to restructure over $3.7 billion in debt, the

                                                                  16   overwhelming majority of which arose from obligations he guaranteed to support his businesses in

                                                                  17   China and also to support Faraday Future (the “Company” or “FF”),5 a Gardena, California based

                                                                  18   global technology company engaged in the development of next-generation mobility ecosystems.

                                                                  19           On October 25, 2019, the Office of the United States Trustee (“OUST”) appointed the

                                                                  20   Official Committee of Unsecured Creditors (the “Committee”) in this chapter 11 case pursuant to

                                                                  21   section 1102(a)(1) of the Bankruptcy Code [Docket No. 45]. The Committee consists of the

                                                                  22   following members: (i) Ping An Bank., Ltd. Beijing Branch; (ii) China Minsheng Trust Co., Ltd; (iii)

                                                                  23   Shanghai Leyu Chuangye Investment Management Center LP; (iv) Jiangyin Hailan Investment

                                                                  24   Holding Co., Ltd; and (v) Shanghai Qichengyueming Investment Partnership Enterprise.

                                                                  25           On December 18, 2019, the Delaware Bankruptcy Court entered its order [Docket No. 178]

                                                                  26   transferring the case to the Central District of California.

                                                                  27
                                                                       4
                                                                         Capitalized terms not otherwise defined herein have the meaning ascribed to them in the Motion or the DIP Note, as
                                                                  28   applicable.
                                                                       5
                                                                         See https://www.ff.com/
                                                                                                                                 1
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                                                                   1                                                     II.

                                                                   2                   NEGOTIATION OF PLAN TERM SHEET AND DIP FINANCING

                                                                   3           As discussed below, in connection with the mediation ordered by this Court, the Debtor and

                                                                   4   the Committee have reached agreement on the terms of both the debtor-in-possession financing

                                                                   5   sought to be approved in this Motion (the “DIP Financing”) and the terms of a chapter 11 plan of

                                                                   6   reorganization supported by the Committee (the “Consensual Plan”). The terms of the Consensual

                                                                   7   Plan are set forth in the term sheet attached hereto as Exhibit “B”. Both the DIP Financing and the

                                                                   8   Consensual Plan are the result of many weeks of constructive arm’s length diligence and

                                                                   9   negotiations by the Debtor, the Committee, the DIP Lender and their respective professionals.

                                                                  10           Soon after the appointment of the Committee, the Debtor and the Committee began

                                                                  11   discussing the path to a consensual plan of reorganization and potential source of DIP Financing.
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                                                                  12   The Committee repeatedly emphasized to the Debtor that an investigation into potential claims by
                                        LOS ANGELES, CALIFORNIA




                                                                  13   the estate and a financial analysis of FF would require sufficient funding earmarked for the
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                                                                  14   Committee. In fact, the Committee conditioned its willingness to negotiate with respect to a

                                                                  15   consensual plan on evidence that DIP financing would be available. Initially, Pacific Technology

                                                                  16   Holding LLC (“PTH” or the “DIP Lender”) wired $50,000 into a trust account at Lowenstein

                                                                  17   Sandler LLP, counsel for the Committee, to cover expenses that the Committee incurred due to the

                                                                  18   November 2019 visit to FF’s facilities in Gardena, California and to be held in trust pending court

                                                                  19   approval of DIP financing. The use of the funds for reimbursement of the Committee’s expenses

                                                                  20   remains subject to both court approval of such expenses and court approval of the DIP financing.

                                                                  21   On December 2, 2019, PTH placed an additional $450,000 in the trust account on the same terms to

                                                                  22   support the Committee’s due diligence efforts and, more importantly, pursue a consensual plan for

                                                                  23   the benefit of the entire creditor body.

                                                                  24           After the venue transfer, the Debtor continued to negotiate with the Committee. On

                                                                  25   December 20, 2019, PTH placed an additional $750,000, for a total of $1,250,000, into the

                                                                  26   Lowenstein Sandler trust account to facilitate the Committee’s investigation of potential causes of

                                                                  27   action possessed by the estate and diligence regarding the Debtor’s assets including his interests in

                                                                  28   FF. PTH advanced the funds with the understanding that such funds were unconditionally held in

                                                                                                                          2
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                                                                   1   trust and subject to court approval of any fees and expenses, and in good faith, with the intent of

                                                                   2   providing proof of the financing subject only to court approval. Meanwhile, the Debtor agreed to the

                                                                   3   Committee’s desired due diligence process and populated data rooms with documents responding to

                                                                   4   the Committee’s numerous requests.

                                                                   5            In connection with the Committee’s investigation, the Debtor facilitated interviews

                                                                   6   conducted by the Committee’s counsel and financial advisors. In addition, the Debtor participated in

                                                                   7   a two-day confidential deposition by the Committee and an individual member of the Committee,

                                                                   8   where the Debtor provided information regarding, among other things, his involvement in any

                                                                   9   alleged transactions that may be subject to avoidance under Chapter 5 of the Bankruptcy Code.

                                                                  10   Lastly, the Debtor’s advisors met on several occasions with the Committee’s advisors to discuss the

                                                                  11   various transactions in detail.
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                                                                  12           In accordance with the Court’s mediation order, the Debtor, the Committee, and other
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                                                                  13   creditors including Shanghai Lan Cai Asset Management Co., Ltd. and Shanghai Qichengyueming
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                                                                  14   Investment Partnership mediated under the auspices of Judge Mitchel Goldberg (ret.) during the

                                                                  15   week of February 3, 2020. At the end of the mediation sessions, the Debtor and the Committee

                                                                  16   reached an agreement on the material terms of the Consensual Plan. The Committee conditioned its

                                                                  17   agreement to the Consensual Plan on acceptable DIP financing to be provided by PTH. The Debtor

                                                                  18   and the Committee, on one hand, and PTH, on the other, participated in extensive negotiations of

                                                                  19   DIP financing. On February 24, 2020, such negotiations culminated in an agreement on the terms of

                                                                  20   a DIP Note to be funded by PTH, largely through contributions by the FF Global Members, who

                                                                  21   agreed to provide an additional $5.15 million for a total of $6.4 million.

                                                                  22                                                     III.

                                                                  23                                BACKGROUND TO PROPOSED DIP LOAN

                                                                  24           Prior to the Petition Date, the Debtor recognized a need for outside financing and began the

                                                                  25   process of considering potential funding sources. The Debtor, through his advisors, discussed with

                                                                  26   various third parties the opportunity to provide financing to the Debtor, but no alternative funding

                                                                  27   proposals were provided to the Debtor. Separately, the Debtor’s professionals requested the

                                                                  28   Committee’s professionals to ascertain whether an alternative source of financing might be available

                                                                                                                          3
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                                                                   1   on preferable terms. PTH was ultimately found to be the only source of DIP financing available to

                                                                   2   the Debtor.

                                                                   3           Through West Coast LLC (US-DE) (“West Coast”), the Debtor indirectly owns the economic

                                                                   4   rights of 100% of the preferred membership units in PTH that entitles him to a priority distribution

                                                                   5   and thereafter a residual distribution based on his 20% interest in PTH. These economic rights are

                                                                   6   part of the key assets to be contributed to a liquidating trust (the “Trust”) under the consensual plan

                                                                   7   of reorganization (the “Consensual Plan”). FF Global Partners LLC (“FF Global”), the managing

                                                                   8   member of PTH, owns the remaining 80% of PTH. Matthias Aydt, who is also the Senior Vice

                                                                   9   President of Product Definition and Business Development at Faraday & Future Inc. (“FF”), serves

                                                                  10   as FF Global’s President, Secretary, and Treasurer.

                                                                  11           Key executives of the Company formed FF Global in connection with the adoption of the
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                                                                  12   “Partnership Program”—an innovative corporate governance and management retention structure
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                                                                  13   based on the Alibaba model. The implementation of the Partnership Program enabled the Company
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                                                                  14   to attract new senior management, including Dr. Carsten Breitfeld—a BMW AG veteran—as CEO

                                                                  15   and Robert A. Kruse, Jr.—who has over 30 years of experience at General Motors—as senior vice

                                                                  16   president, Product Execution (Engineering and Manufacturing). As a result, the Debtor now serves

                                                                  17   as the Chief Product and User Officer.

                                                                  18           The members of FF Global (the “FF Global Members”) consist of FF’s senior executives

                                                                  19   who have subscribed to the units of FF Global and thus indirectly own equity interests in FF. Hence,

                                                                  20   the members are vested in the success of FF. Many, like Aydt, are long-term members of the FF

                                                                  21   team. But all of the members are inspired by the Debtor’s vision to create a next-generation mobility

                                                                  22   ecosystem and attracted to the opportunity to pursue a truly disruptive technology.

                                                                  23           Although FF has fully developed the FF 91, the first production vehicle and flagship model,

                                                                  24   it cannot go into production and be delivered to end users without successful equity financing. FF

                                                                  25   aims to have an IPO within approximately 12 to 15 months following the conclusion of equity

                                                                  26   financing. But these efforts to obtain equity financing stalled as the Debtor’s financial condition

                                                                  27   worsened and aggressive creditors began to enforce foreign judgments against the Debtor in the US

                                                                  28   and execute those judgments against his US assets—consisting almost exclusively of his interests in

                                                                                                                          4
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                                                                   1   FF. The uncertainty of the Debtor’s continued economic interest in FF and his leadership position

                                                                   2   effectively ended any interest in providing equity financing to FF.

                                                                   3           Because FF’s fate is tied to the success of the Debtor’s chapter 11 case, the FF Global

                                                                   4   Members are eager for the Debtor to emerge from the chapter 11 process so that FF itself can

                                                                   5   procure equity financing, produce the FF 91, and eventually succeed. It is for this reason that the FF

                                                                   6   Global Members, through PTH, provided prepetition secured financing to the Debtor in the amount

                                                                   7   of $2,687,629 and why the FF Global Members have agreed to provide the DIP financing by making

                                                                   8   further capital contributions to PTH. Upon the request from FF Global, the FF Global Members

                                                                   9   have agreed to make capital contributions to FF from their personal funds.

                                                                  10           As noted above, the Committee conditioned its agreement to the term sheet for the

                                                                  11   Consensual Plan on the Debtor obtaining satisfactory DIP Financing from PTH. During mediation
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                                                                  12   and the weeks following, the Debtor and the Committee, on one hand, and PTH, on the other,
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                                                                  13   participated in extensive negotiations of DIP financing. On February 25, 2020, such negotiations
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                                                                  14   culminated in an agreement on the terms of a DIP Note to be funded by PTH, largely through

                                                                  15   contributions by the FF Global Members, who agreed to provide additional advances for a total of

                                                                  16   $6.4 million.

                                                                  17                                                    IV.

                                                                  18                      SPECIFIC NEED FOR FINANCING AND TERMS THEREOF

                                                                  19           As more fully set forth herein and in the Declaration of Robert Moon (the “Moon

                                                                  20   Declaration”) attached hereto, the Debtor requires the DIP Financing in order to permit, among other

                                                                  21   things, the payment of the Debtor’s ongoing administrative obligations as a debtor in possession

                                                                  22   under chapter 11 of the Bankruptcy Code. The Debtor does not have sufficient available

                                                                  23   resources to pay budgeted and anticipated allowed professional expenses of the Debtor or the

                                                                  24   Committee without post-petition financing. The Debtor’s ability to pay these expenses is essential

                                                                  25   to the Debtor’s successful financial restructuring and confirmation of the Consensual Plan.

                                                                  26           Moreover, as set forth in the Declaration of Matthias Aydt (the “Aydt Declaration”) annexed

                                                                  27   hereto, FF’s fate is tied to the success of the Debtor’s chapter 11 case. The FF Global Members –

                                                                  28   made up of highly-seasoned members of FF’s executive team – are eager for the Debtor to emerge

                                                                                                                          5
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                                                                   1   from the chapter 11 process so that FF itself can procure equity financing, produce the FF 91, and

                                                                   2   eventually succeed. It is for this reason that the FF Global Members, through PTH, provided

                                                                   3   prepetition financing to the Debtor in the amount of $2,687,629 and why the FF Global Members

                                                                   4   have agreed to provide, via PTH, the DIP financing. Upon the request from FF Global, the FF

                                                                   5   Global Members have agreed to make capital contributions to FF from their personal funds.

                                                                   6           After a careful review of his financing options, the Debtor concluded that the DIP Lender’s

                                                                   7   proposed terms would allow the Debtor to meet his goals and provide the Debtor with sufficient

                                                                   8   liquidity on the best available economic terms. The Debtor now seeks to move forward with the

                                                                   9   proposed DIP Note on the terms to be finalized in any order of this Court. The DIP Lender is

                                                                  10   unwilling to provide financing to the Debtor on an unsecured or subordinated basis.

                                                                  11           The DIP Financing will be used to (i) pay allowed fees, costs and expenses associated with
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                                                                  12   the DIP Note and by persons and firms retained pursuant to Sections 327, 328, 330, 363 and/or 1103
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                                                                  13   of the Bankruptcy Code by (a) the Debtor, and (b) the Committee; (ii) pay fees due from time to time
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                                                                  14   pursuant to 28 U.S.C. § 1930; (iii) pay expenses listed in the Cash Flow Projections for the 13 Week

                                                                  15   Period: 10/14/2019 through 1/6/2020 filed with the Bankruptcy Court (Docket No. 63) (the “Initial

                                                                  16   Cash Flow”) and estimated fees and expenses to be incurred by the Debtor’s general insolvency and

                                                                  17   special counsel listed in the Debtor’s Chapter 11 Status Report (Docket No. 199) (the “Status

                                                                  18   Report”), and (iv) to otherwise use as operating cash flow for expenses similar to the expenses

                                                                  19   indicated in the Initial Cash Flow and Status Report covering a subsequent period, subject to DIP

                                                                  20   Lender’s consent (with such consent not to be unreasonably withheld). There is no roll-up of the

                                                                  21   pre-petition secured loan made by PTH contemplated hereunder.

                                                                  22           Accordingly, by this Motion, the Debtor seeks the entry of the Order (in the form attached

                                                                  23   hereto as Exhibit “C”), inter alia:

                                                                  24           a.       authorizing the Debtor to obtain post-petition financing from PTH, consisting of that

                                                                  25   certain Secured Debtor-In-Possession Promissory Note (the “DIP Note”), in the form attached hereto

                                                                  26   as Exhibit “A”, by and among the DIP Lender and the Borrower to be used for the payment of

                                                                  27   Administrative Expenses as described herein and in the DIP Note, on the terms and conditions set

                                                                  28   forth in the Order;

                                                                                                                           6
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                                                                   1            b.      authorizing the Debtor to execute and enter into the DIP Note and to perform all such

                                                                   2   other and further acts as may be required in connection with the documents relating thereto;

                                                                   3            c.      authorizing the Debtor to use proceeds of the DIP Note solely as expressly permitted

                                                                   4   in the DIP Note and in accordance with the terms of the Order;

                                                                   5            d.      granting to the DIP Lender automatically perfected (i) first priority security interests

                                                                   6   in all of Borrower’s right, title and interest in the Non-China Collateral (as defined in the DIP Note)

                                                                   7   upon which there are either pre-existing permitted senior liens or no pre-existing liens, to the extent

                                                                   8   provided herein, and granting superpriority administrative expense status (as defined below) and (ii)

                                                                   9   junior and subordinated security interest in all of Borrower’s right, title and interest in the China

                                                                  10   Collateral;6

                                                                  11            e.      authorizing the Debtor to pay the principal, interest, fees, expenses, disbursements,
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                                                                  12   and other amounts payable under the DIP N o t e as such amounts become due and payable;
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                                                                  13            f.      vacating and modifying the automatic stay pursuant to Section 362 of the Bankruptcy
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                                                                  14   Code to the extent necessary to implement and effectuate the terms and provisions of the Order and

                                                                  15   the DIP Note; and

                                                                  16            g.      granting the Debtor such other and further relief as is just and proper.

                                                                  17                                                             V.

                                                                  18                                      MATERIAL TERMS OF FINANCING

                                                                  19            Pursuant to Bankruptcy Rules 4001 (b) and 4001(c), and Local Bankruptcy Rule 4001-2, the

                                                                  20   relevant provisions of the DIP Financing Agreement are as follows:7

                                                                  21
                                                                                      Term                                                   Description
                                                                  22       DIP Lender                      Pacific Technology Holding LLC. DIP Note, p. 1
                                                                           Borrower                        Debtor
                                                                  23
                                                                           DIP Loan                        The Debtor seeks authorization for a loan amount of $6,400,000 (the “DIP
                                                                  24                                       Note”). DIP Note, p. 1.

                                                                  25
                                                                       6
                                                                         This security grant shall be subject in all respects to the Minute Order entered September 3, 2019 in Case No: 2:18-CV-
                                                                  26   10255 SJO (MRWx) in the United States District Court for the Central District of California (the “Minute Order”),
                                                                       attached to the DIP Note as Exhibit 1 to the extent the Minute Order remains enforceable in light of the Chapter 11 Case
                                                                  27   and has not been avoided or disallowed therein.
                                                                       7
                                                                          The following chart summarizes the material terms and conditions of the DIP Note. In the event of any inconsistency
                                                                  28   with the DIP Note, the terms and conditions of the DIP Note shall control.
                                                                                                                                  7
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                                                                   1
                                                                                    Term                                               Description
                                                                   2    Use of Proceeds                The proceeds of the DIP Note shall be used to (a) pay allowed fees, costs
                                                                                                       and expenses associated with the DIP Note and by and by persons and
                                                                   3                                   firms retained pursuant to Sections 327, 328, 330, 363 and/or 1103 of the
                                                                                                       Bankruptcy Code by (i) Borrower and (ii) the Committee; (b) pay fees, cost
                                                                   4                                   and expenses from time to time pursuant to 28 U.S.C. § 1930; (c) pay
                                                                                                       expenses listed in the Cash Flow Projections for the 13 Week Period:
                                                                   5                                   10/14/2019 through 1/6/2020 filed with the Bankruptcy Court (Dkt No. 63)
                                                                                                       (the “Initial Cash Flow”) and the Debtor’s Chapter 11 Status Report (Dkt
                                                                   6
                                                                                                       No. 199); and (d) to otherwise use as operating cash flow for expenses
                                                                   7                                   similar to the expenses indicated in the Initial Cash Flow covering a
                                                                                                       subsequent period, subject to Lender’s consent (such consent not to be
                                                                   8                                   unreasonably withheld). Nothing herein shall in any way prejudice or
                                                                                                       prevent Lender from objecting to any request, motion or application in the
                                                                   9                                   Chapter 11 Case, including applications for compensation for services
                                                                                                       rendered or reimbursement of expenses. DIP Note, pp. 5-6.
                                                                  10    Interest Rate                  Simple interest at 8.75% per annum, paid-in-kind. No fees. DIP Note p. 2.
                                                                        Default Interest               N/A
                                                                  11    Security                       A valid, continuing first priority security interest in all of Borrower’s right,
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                                                                                                       title and interest in the Non-China Collateral (as defined below) in each
                                                                  12                                   case whether now or hereafter existing, whether tangible or intangible,
                                                                                                       whether now owned or hereafter acquired and wherever the same may be
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                                                                  13
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                                                                                                       located, in order to secure prompt, full, faithful and timely payment and
                                                                                                       performance of the obligations under the DIP Note, including without
                                                                  14
                                                                                                       limitation all accrued and unpaid interest owing hereunder and any other
                                                                  15                                   obligations arising hereunder (including interest and other amounts that, but
                                                                                                       for the filing of a petition in bankruptcy with respect to Borrower, would
                                                                  16                                   accrue on such obligations, whether or not a claim is allowed against
                                                                                                       Borrower for such amounts in the related bankruptcy proceeding)
                                                                  17                                   (collectively, the “Obligations”), whether at stated maturity, acceleration or
                                                                                                       otherwise, together with all extensions or renewals thereof, whether
                                                                  18                                   voluntary or involuntary, direct or indirect, absolute or contingent,
                                                                                                       liquidated or unliquidated, whether or not jointly owned with others, and
                                                                  19                                   whether or not such Obligations under the DIP Note are from time to time
                                                                                                       decreased or extinguished and later increased, created or incurred, and all
                                                                  20                                   or any portion of such Obligations that are paid, to the extent all or any
                                                                                                       party of such payment is avoided or recovered directly or indirectly from
                                                                  21                                   DIP Lender as a preference, fraudulent transfer or otherwise. “Collateral”
                                                                                                       shall include all of Borrower’s interests in all of the following types of
                                                                  22                                   personal property, wherever located and whether now owned or hereafter
                                                                                                       acquired, including any assets or obligations originating or relating to any
                                                                  23                                   property or entity (the “Collateral”) and such Collateral located or
                                                                                                       domiciled in the United States, the Cayman Islands, or any place else in the
                                                                  24
                                                                                                       world other than China (collectively, the “Non-China Collateral”):
                                                                  25
                                                                                                       (i)     all Accounts;
                                                                  26
                                                                                                       (ii)    all Chattel Paper;
                                                                  27
                                                                                                       (iii)   all Money and all Deposit Accounts, together with all amounts on
                                                                  28                                   deposit from time to time in such Deposit Accounts;

                                                                                                                               8
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                                                                   1
                                                                                    Term                                               Description
                                                                   2
                                                                                                       (iv)     all Documents;
                                                                   3
                                                                                                       (v)      all General Intangibles (including membership interests and rights,
                                                                   4                                   whether owned directly or indirectly, whether such interests are deemed a
                                                                                                       General Intangible or a Security, and whether held in a domestic or foreign
                                                                   5                                   corporation, a domestic or foreign limited liability company, a domestic or
                                                                                                       foreign Ltd. including as recognized in the Cayman Islands (each such form
                                                                   6                                   of organization, an “Entity”), consisting of (a) all economic rights,
                                                                                                       including without limitation, all rights to share in the profits and losses of
                                                                   7
                                                                                                       the Entity, and all rights to receive distributions of the assets of the Entity;
                                                                   8                                   and (b) governance rights, including without limitation, all rights to vote,
                                                                                                       consent to action and otherwise participate in management and direction of
                                                                   9                                   the Entity), Payment Intangibles and Software (for the avoidance of doubt,
                                                                                                       to the extent such General Intangibles are located or domiciled any place in
                                                                  10                                   the world other than China, such General Intangibles shall be considered
                                                                                                       “Non-China Collateral” and to the extent such General Intangibles are
                                                                  11                                   located or domiciled in China, such General Intangibles shall be considered
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                                                                                                       “China Collateral” (as further defined below));
                                                                  12
                                                                                                       (vi)     all Goods, including Inventory, Equipment and Fixtures;
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                                                                  13
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                                                                                                       (vii)    all Instruments;
                                                                  14
                                                                                                       (viii)   all Investment Property;
                                                                  15
                                                                                                       (ix)     all Letter-of-Credit Rights and other Supporting Obligations;
                                                                  16
                                                                                                       (x)      all Records;
                                                                  17
                                                                                                       (xi)     all Commercial Tort Claims; and
                                                                  18
                                                                                                       (xii)   all Proceeds and Accessions with respect to any of the foregoing
                                                                  19                                   Collateral.
                                                                  20                                   Terms used, but not otherwise defined herein shall have the meaning set
                                                                                                       forth in Division 9 of the California Uniform Commercial Code in effect on
                                                                  21
                                                                                                       the date hereof (the “UCC”).
                                                                  22
                                                                                                       This security grant is subject in all respects to the Minute Order entered
                                                                  23                                   September 3, 2019 in Case No: 2:18-CV-10255 SJO (MRWx) in the United
                                                                                                       States District Court for the Central District of California (the “Minute
                                                                  24                                   Order”), attached to the DIP Note as Exhibit 1 to the extent the Minute
                                                                                                       Order remains enforceable in light of the Chapter 11 Case and has not been
                                                                  25                                   avoided or disallowed therein.
                                                                        Carve-Out                      Not Applicable
                                                                  26    Events of Default              Customary events of default set forth in the DIP Note.
                                                                        Remedies                       Customary remedies set forth in the DIP Note not including relief from the
                                                                  27                                   automatic stay
                                                                        Waivers                        Customary waivers, including the modification of the automatic stay in
                                                                  28                                   connection with the DIP Lender’s enforcement of remedies following an
                                                                                                                               9
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                                                                   1
                                                                                    Term                                                Description
                                                                   2                                    Event of Default, limited to the Debtor’s consent to an Application to
                                                                                                        Shorten Notice for a Motion for Relief from Stay
                                                                   3    Governing Law                   California and as to potential international law, the laws of the United
                                                                                                        States of America.
                                                                   4
                                                                                                                            VI.
                                                                   5
                                                                                     STATEMENT PURSUANT TO LOCAL BANKRUPTCY RULE 4001-2
                                                                   6
                                                                               Pursuant to Bankruptcy Rule 4001(c) and Local Bankruptcy Rule 4001-2(a), the Debtor is
                                                                   7
                                                                       concurrently herewith filing the mandatory form 4001-2 for cash collateral and/or debtor-in-
                                                                   8
                                                                       possession financing motions or stipulations.
                                                                   9
                                                                                                                            VII.
                                                                  10
                                                                                                                 BASIS FOR RELIEF
                                                                  11
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                                                                       A.      The Debtor Should be Permitted to Obtain Post-Petition Financing Pursuant to Section
                                                                  12
                                                                               364(c) of the Bankruptcy Code
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                                                                  13
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                                                                               Section 364(c) of the Bankruptcy Code requires a finding, made after notice and a hearing,
                                                                  14
                                                                       that debtors seeking post-petition financing on a secured basis cannot “obtain unsecured credit
                                                                  15
                                                                       allowable under section 503(b)(l) of [the Bankruptcy Code] as an administrative expense.” 11
                                                                  16
                                                                       U.S.C. § 364(c).
                                                                  17
                                                                               In evaluating proposed post-petition financing under section 364(c) of the Bankruptcy Code,
                                                                  18
                                                                       courts perform a qualitative analysis and generally consider similar factors, including whether:
                                                                  19
                                                                               a.       unencumbered credit or alternative financing without superpriority status is available
                                                                  20
                                                                       to the debtor;
                                                                  21
                                                                               b.       the credit transactions are necessary to preserve assets of the estate;
                                                                  22
                                                                               c.       the terms of the credit agreement are fair, reasonable, and adequate;
                                                                  23
                                                                               d.       the proposed financing agreement was negotiated in good faith and at arm’s-length
                                                                  24
                                                                       and entry thereto is an exercise of sound and reasonable business judgment and in the best interest of
                                                                  25
                                                                       the debtors’ estate and its creditors; and
                                                                  26
                                                                               e.       the proposed financing agreement adequately protects the pre-petition secured parties.
                                                                  27

                                                                  28

                                                                                                                             10
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                                                                   1   See, e.g., In re Aqua Assoc., 123 B.R. 192 (Bankr. E.D. Pa. 1991) (applying the first three factors in

                                                                   2   making a determination under section 364(c)).

                                                                   3           For the reasons discussed below, the Debtor satisfies the standards required to obtain post-

                                                                   4   petition financing in this case on a secured basis as to the Collateral under sections 364(c) (2), and

                                                                   5   (3) of the Bankruptcy Code.

                                                                   6   B.      The DIP Lender is an Affiliate of the Debtor

                                                                   7           PTH is a Delaware limited liability company. As noted above, through West Coast, the

                                                                   8   Debtor indirectly owns the economic rights of 100% of the preferred membership units in PTH that

                                                                   9   entitles him to a priority distribution and thereafter a residual distribution based on his 20% interest

                                                                  10   in PTH. As discussed above, the FF Global Members and the managing members of PTH are

                                                                  11   funding the DIP financing to support the Debtor’s chapter 11 case.
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                                                                  12   C.      The Debtor Was Unable to Obtain Financing on More Favorable Terms
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                                                                  13           Under current circumstances, the Debtor is not able to obtain alternative financing from
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                                                                  14   outside parties on an unsecured or junior secured basis.

                                                                  15           The DIP Lender offered the best – indeed the only – available economic proposal under the

                                                                  16   circumstances. Notwithstanding PTH’s interest in seeing the Debtor successfully reorganize, the

                                                                  17   DIP Lender is unwilling to lend to the Debtor except on a fully secured and first priority basis as to

                                                                  18   the Collateral.

                                                                  19           The Debtor respectfully submits that his efforts to obtain post-petition financing therefore

                                                                  20   satisfy the standard required under section 364(c) of the Bankruptcy Code. See, e.g., In re Sky

                                                                  21   Valley, Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga. 1988) (where few lenders can or will extend the

                                                                  22   necessary credit to a debtor, “it would be unrealistic and unnecessary to require [the debtor] to

                                                                  23   conduct such an exhaustive search for financing”).

                                                                  24   D.      The Proposed Financing is Necessary to both Preserve and Maximize the Value of the

                                                                  25           Debtor’s Estate

                                                                  26           The Debtor seeks to use the proceeds of the DIP Loan in order to allow the Debtor to

                                                                  27   complete a restructuring via the Consensual Plan. The DIP Loan represents the best and only known

                                                                  28   source of funding to support this chapter 11 case. The Debtor requires the DIP Financing in order to

                                                                                                                          11
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                                                                   1   permit, among other things, the payment of the Debtor’s ongoing administrative obligations as a

                                                                   2   debtor in possession under chapter 11 of the Bankruptcy Code, a critical element required for

                                                                   3   demonstrating the feasibility of the proposed Consensual Plan.

                                                                   4             Without access to the DIP Loan, the Debtor will face irreparable damage to the Debtor’s

                                                                   5   efforts to maximize the value of his estate for the benefit of all constituents. Accordingly, the

                                                                   6   Debtor strongly urges the Court to authorize the DIP Loan on the terms contemplated herein.

                                                                   7   E.        The Terms of the Proposed Financing are Fair, Reasonable, and Appropriate

                                                                   8             In considering whether the terms of post-petition financing are fair and reasonable, courts

                                                                   9   consider the terms in light of the relative circumstances of both the debtor and the potential lender.

                                                                  10   In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 2003); see also Unsecured

                                                                  11   Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Trust Co. (In re Ellingsen MacLean Oil
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                                                                  12   Co.), 65 B.R. 358, 365 (W.D. Mich. 1986) (a debtor may have to enter into hard bargains to acquire
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                                                                  13   funds).
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                                                                  14             The Consensual Plan, which is only made possible by the DIP Loan, will result in an

                                                                  15   agreement that is designed to permit the Debtor to maximize the value of his assets and to effectuate

                                                                  16   an orderly restructuring process. The terms of the borrowing itself are non-controversial and provide

                                                                  17   PTH with standard rights and remedies for DIP financing of this nature. The Debtor submits that the

                                                                  18   proposed terms of the DIP Loan are fair, reasonable, and appropriate under the circumstances. See,

                                                                  19   e.g., Bray v. Shenandoah Fed. Sav. and Loan Ass’n (In re Snowshoe Co.), 789 F.2d 1085, 1088 (4th

                                                                  20   Cir. 1986) (stating that section 364(d) of the Bankruptcy Code imposes no duty to seek credit from

                                                                  21   every possible lender); In re Western Pacific Airlines, Inc., 223 B.R. 567 (Bankr. D. Colo. 1997)

                                                                  22   (authorizing post-petition financing that would preserve the value of the debtor’s assets).

                                                                  23   F.        Entry Into the Proposed Financing Reflects the Debtor’s Sound Business Judgment

                                                                  24             A debtor’s decision to enter into a post-petition lending facility under section 364 of the

                                                                  25   Bankruptcy Code is governed by the business judgment standard. See, e.g., Trans World Airlines,

                                                                  26   Inc. v. Travelers Int’l AG (In re Trans World Airlines, Inc.), 163 B.R. 964, 974 (Bankr. D. Del.

                                                                  27   1994) (approving post-petition credit facility because such facility “reflect[ed] sound and prudent

                                                                  28   business judgment”); In re Ames Dep’t Stores, Inc., 115 B.R. 34, 38 (Bankr. S.D.N.Y. 1990)

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                                                                   1   (financing decisions under section 364 of the Bankruptcy Code must reflect a debtor’s business

                                                                   2   judgment).

                                                                   3           Bankruptcy courts routinely accept a debtor’s business judgment on many business decisions,

                                                                   4   including the decision to borrow money. See, e.g., Group of Inst. Investors v. Chicago, Mil., St. P.

                                                                   5   & Pac., 318 U.S. 523, 550 (1943) (holding that decisions regarding assumption or rejection of

                                                                   6   leases are left to the business judgment of the debtor); In re Simasko Prod. Co., 47 B.R. 444, 449

                                                                   7   (D. Colo. 1985) (“[b]usiness judgments should be left to the board room and not to this Court”).

                                                                   8   Further, one court has noted that “[m]ore exacting scrutiny [of the debtors’ business decisions]

                                                                   9   would slow the administration of the debtor’s estate and increase its cost, interfere with the

                                                                  10   Bankruptcy Code’s provision for private control of administration of the estate, and threaten the

                                                                  11   court’s ability to control a case impartially.” Richmond Leasing Co. v. Capital Bank, N.A., 762 F.2d
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                                                                  12   1303, 1311 (5th Cir. 1985).
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                                                                  13           Bankruptcy courts generally will defer to a debtor in possession’s business judgment
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                                                                  14   regarding the need for and the proposed use of funds, unless such decision is arbitrary and

                                                                  15   capricious, In re Curlew Valley Assocs., 14 B.R. 506, 511-13 (Bankr. D. Utah 1981); see also Trans

                                                                  16   World Airlines, Inc., 163 B.R. at 974 (approving interim loan, receivables facility and asset-based

                                                                  17   facility based upon prudent business judgment of the debtor), and generally will not second-guess a

                                                                  18   debtor in possession’s business decisions involving “a business judgment made in good faith, upon a

                                                                  19   reasonable basis, and within the scope of his authority under the Code.” Curlew Valley, 14 B.R. at

                                                                  20   513-14 (footnotes omitted).

                                                                  21           Here, the Debtor has not been able to identify any party willing to lend to the Debtor and

                                                                  22   certainly not on terms as favorable as those offered by PTH. It is undeniable that the Debtor’s business

                                                                  23   judgement to enter into the DIP Loan should be approved under these difficult circumstances where no

                                                                  24   comparable fund source exists.

                                                                  25           For the reasons set forth above, the Debtor’s sound business judgment clearly supports

                                                                  26   approval of the DIP Loan in order to allow the Debtor to gain access to needed financing and thereby

                                                                  27   maximize value for all constituents through this restructuring process.

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                                                                   1   G.         PTH is Entitled to a Finding of that it has Extended Credit to the Debtor in Good Faith

                                                                   2              Pursuant to Bankruptcy Code Section 364(e).

                                                                   3              While PTH is an affiliate of the Debtor based on the indirect and minority 20% interest held

                                                                   4   by the Debtor’s nominee, PTH is nonetheless entitled to a good faith finding. All parties to the case

                                                                   5   have negotiated with the Debtor, through the Debtor’s professionals, since the Petition Date (on in

                                                                   6   the case of the Committee, since its appointment) knowing that the only source of financing for the

                                                                   7   chapter 11case would be from PTH. This was disclosed and stated in filings as early as November

                                                                   8   15, 2019, including in the Debtor’s “Amended Disclosure Statement with Respect to Debtor’s Plan

                                                                   9   of Reorganization Under Chapter 11 of the Bankruptcy Code.” See Dkt. 94, p. 34. Indeed,

                                                                  10   $1,250,000 of the proposed DIP Loan was advanced by PTH as follows: (i) initially $50,000 was

                                                                  11   wired into a trust account at Lowenstein Sandler LLP, counsel for the Committee, to cover expenses
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                                                                  12   that the Committee incurred due to the November 2019 visit to FF’s facilities in Gardena, California;
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                                                                  13   (ii) $450,000 was wired into the same trust account on December 2, 2019, to support the
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                                                                  14   Committee’s due diligence efforts and, (iii) $750,000 was wired into the same trust account on

                                                                  15   December 20, 2019, to support the Committee’s further investigation of the Debtor’s financial

                                                                  16   affairs.

                                                                  17              At all material times, the Committee has been aware that the financing for the case would be

                                                                  18   advanced by PTH, and the terms on which it would be advanced, which is reflected in the DIP Note.

                                                                  19   The DIP Note is not over-reaching. The interest rate is not excessive (8.75%).       It does not provide

                                                                  20   for automatic relief from stay upon a Default (as defined in the Note), but rather only consent by the

                                                                  21   Debtor (and not by the Committee) to a hearing on shortened notice with respect to a motion for

                                                                  22   relief from stay.

                                                                  23              Transactions between a debtor in possession and an affiliate are subject to a heightened

                                                                  24   “inherent fairness” standard of review. See Citicorp Venture Capital, Ltd. v. Comm. of Creditors

                                                                  25   Holding Unsecured Claims (In re Papercraft Corp.), 211 B.R. 813, 823 (W.D. Pa. 1997) (“[I]nsider

                                                                  26   transactions are subjected to rigorous scrutiny and when challenged, the burden is on the insider not

                                                                  27   only to prove the good faith of a transaction but also to show the inherent fairness from the

                                                                  28   viewpoint of the corporation and those with interests therein.”); see also Official Comm. of

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                                                                   1   Unsecured Creditors of Enron Corp. v. Enron Corp (In re Enron Corp.), 335 B.R. 22, 28 (S.D.N.Y.

                                                                   2   2005) (“Courts have held that transactions that benefit insiders must withstand heightened scrutiny

                                                                   3   before they can be approved under § 363(b).”); Gavin v. Tousignant (In re Ultimate Escapes

                                                                   4   Holdings, LLC), No. 12-50849 (BLS), 2014 WL 5861765, at *9 (Bankr. D. Del. Nov. 12, 2014)

                                                                   5   (entire fairness must be proven where independence of decision making is at risk due to “extraneous

                                                                   6   considerations or influences).    Here, given the need for the financing, and its expected treatment

                                                                   7   under the Consensual Plan, the DIP Loan satisfies the inherent fairness standard.

                                                                   8                                                    VIII.

                                                                   9                                                  NOTICE

                                                                  10           The Debtor has provided notice of this Motion to the following parties, or their counsel, if

                                                                  11   known: the Office of the United States Trustee; counsel for the DIP Lender; counsel for the
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                                                                  12   Committee; any party of record that has asserted a lien in the Debtor’s assets; and all parties who
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                                                                  13   have filed a notice of appearance and request for service of papers pursuant to Bankruptcy Rule
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                                                                  14   2002. A copy of the motion is also available on the Debtor’s case website at

                                                                  15   https://dm.epiq11.com/YT1. The Debtor submits that, in light of the nature of the relief requested, no

                                                                  16   other or further notice need be given.

                                                                  17                                                     IX.

                                                                  18                                               CONCLUSION

                                                                  19           The Debtor requires access to the DIP Note proceeds in order for the Debtor to have

                                                                  20   sufficient liquidity to conduct his chapter 11 case, pay budgeted expenses and provide funding for

                                                                  21   estate professionals and establish, in part, the ability to confirm the Consensual Plan by satisfying

                                                                  22   allowed administrative priority claims. Accordingly, the Debtor strongly urges the Court to

                                                                  23   authorize the Debtor to borrow pursuant to the DIP Note on the terms contemplated herein and the

                                                                  24   accompanying Order.

                                                                  25           Based upon the foregoing, the Debtor requests entry of the Order under sections 105, 362,

                                                                  26   363, 364 and 507 of the Bankruptcy Code, Bankruptcy Rule 4001 and Local Bankruptcy Rule 4001-

                                                                  27   2: (a) authorizing the Debtor to incur post-petition debt and enter into the DIP Note, (b) granting

                                                                  28   liens and superpriority claims in favor of the DIP Lender, (c) authorizing the Debtor to pay the

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                                                                   1   principal, interest, fees, expenses, disbursements, and other amounts payable under the DIP N o t e

                                                                   2   as such amounts become due and payable, (d) modifying the automatic stay, (e) making a finding of

                                                                   3   good faith pursuant to Section 364(e), and (f) granting related relief.

                                                                   4   Dated: February 27, 2020                      PACHULSKI STANG ZIEHL & JONES LLP

                                                                   5
                                                                                                                     By: /s/ Jeffrey W. Dulberg
                                                                   6                                                         Richard M. Pachulski
                                                                                                                             Jeffrey W. Dulberg
                                                                   7                                                         Malhar S. Pagay
                                                                   8                                                      Attorneys for Debtor and
                                                                                                                          Debtor in Possession
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                                                                   1                                   DECLARATION OF ROBERT MOON

                                                                   2           I, Robert Moon, under penalty of perjury, declare as follows:

                                                                   3                    I am the managing member of PQBDN, the financial advisor for debtor, Yueting Jia.

                                                                   4   I submit this Declaration (the “Declaration”) in support of the Motion For Order (A) Authorizing

                                                                   5   Debtor In Possession to (I) Obtain Post-Petition Financing Pursuant to 11 U.S.C. §§105, 362, 363,

                                                                   6   and 364, and (II) Granting Liens and Superpriority Claims to Post-petition Lender Pursuant to 11

                                                                   7   U.S.C. §364; and (B) Modifying Automatic Stay Pursuant to 11 U.S.C. §§361, 362, 363, and 364

                                                                   8   (the “DIP Motion”). Except as otherwise indicated, all statements in this Declaration are based upon

                                                                   9   my personal knowledge, my review of the Debtor’s books and records, relevant documents and other

                                                                  10   information prepared or collected by the Debtor, or my opinion based on my experience with the

                                                                  11   Debtor’s operations and financial condition. In making my statements based on my review of the
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                                                                  12   Debtor’s books and records, relevant documents and other information prepared or collected by the
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                                                                  13   Debtor, I have relied upon these employees accurately recording, preparing, or collecting such
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                                                                  14   documentation and other information.

                                                                  15                    The Debtor commenced this case in order to restructure over $3.7 billion in debt, the

                                                                  16   overwhelming majority of which arose from obligations he guaranteed to support his businesses,

                                                                  17   including Faraday Future (the “Company” or “FF”), a global technology company engaged in the

                                                                  18   development of next-generation mobility ecosystems. To that end, he is pursuing court approval of a

                                                                  19   plan of reorganization (“Consensual Plan”) that will allow him both to address creditors’ claims and

                                                                  20   eliminate uncertainty about the ownership of the Company with the goal of placing the company in a

                                                                  21   stronger position to obtain financing for future competitive and strategic initiatives.

                                                                  22                    Attached hereto as Exhibit “A” is a true and correct copy of the DIP Note. The

                                                                  23   Debtor requires the proceeds of the DIP Note to permit, among other things, the payment of the

                                                                  24   Debtor’s ongoing administrative obligations as a debtor in possession under chapter 11 of the

                                                                  25   Bankruptcy Code. The Debtor does not have sufficient available resources to pay budgeted

                                                                  26   and anticipated allowed professional expenses without post-petition financing. The Debtor’s ability

                                                                  27   to pay these expenses and others in accordance with his budget is essential to the Debtor’s successful

                                                                  28   financial restructuring and confirmation of his proposed Consensual Plan. The DIP Note presents

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                                                                   1   the estate with the best economic terms available and provides the Debtor with adequate liquidity to

                                                                   2   satisfy ongoing administrative expenses associated with this chapter 11 case.

                                                                   3                    The DIP Note proceeds will be used to (i) pay allowed fees, costs and expenses

                                                                   4   associated with the DIP Note and by and by persons and firms retained pursuant to Sections 327,

                                                                   5   328, 330, 363 and/or 1103 of the Bankruptcy Code by (a) the Debtor, and (b) the Committee; (ii) pay

                                                                   6   fees due from time to time pursuant to 28 U.S.C. § 1930; (iii) pay expenses listed in the Cash Flow

                                                                   7   Projections for the 13 Week Period: 10/14/2019 through 1/6/2020 filed with the Bankruptcy Court

                                                                   8   (Docket No. 63) (the “Initial Cash Flow”) and estimated fees and expenses to be incurred by the

                                                                   9   Debtor’s general insolvency and special counsel listed in the Debtor’s Chapter 11 Status Report

                                                                  10   (Docket No. 199) (the “Status Report”), and (iv) to otherwise use as operating cash flow for

                                                                  11   expenses similar to the expenses indicated in the Initial Cash Flow and Status Report covering a
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                                                                  12   subsequent period, subject to DIP Lender’s consent (with such consent not to be unreasonably
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                                                                  13   withheld). There is no roll-up of the pre-petition secured loan made by the DIP Lender (as defined
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                                                                  14   below) contemplated hereunder.

                                                                  15                    Faced with approximately $3.7 billion in debt claims and competing lawsuits from

                                                                  16   creditors in the Peoples’ Republic of China (“China”) and the United States, the Debtor commenced

                                                                  17   an out-of-court exchange offer, backed by a prepackaged plan of reorganization (the “Plan”), which

                                                                  18   offered to exchange any and all rights related to the debt claims for a number of interests in a

                                                                  19   liquidating trust that will hold all of Debtor’s legally recognized personal assets (other than those

                                                                  20   assets that have been frozen or seized in China), including his interests in the Company. Due to

                                                                  21   increased pressure by a tiny minority of the Debtor’s creditors, and to avoid a race to the courthouse,

                                                                  22   the Debtor determined it was in the best interests of all his creditors to terminate the exchange offer

                                                                  23   and file the chapter 11 case to implement the restructuring through the Plan. The Debtor

                                                                  24   subsequently reset hearings related to confirmation of the Plan and intends to seek confirmation of a

                                                                  25   the Consensual Plan following negotiations with the Committee.

                                                                  26                    Prior to the Petition Date, the Debtor recognized a need for outside financing and

                                                                  27   began the process of considering potential funding sources. The Debtor, through his advisors,

                                                                  28   discussed with various third parties the opportunity to provide financing to the Debtor, but no

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                                                                   1   alternative funding proposals were provided to the Debtor. Separately, the Debtor’s professionals

                                                                   2   requested the Committee’s professionals to ascertain whether an alternative source of financing

                                                                   3   might be available on preferable terms. PTH was ultimately found to be the only source of DIP

                                                                   4   financing available to the Debtor.

                                                                   5                    After a careful review of his financing options, the Debtor concluded that the DIP

                                                                   6   Lender’s proposed terms would allow the Debtor to meet his goals and provide the Debtor with

                                                                   7   sufficient liquidity on the best available economic terms. The Debtor now seeks to move forward

                                                                   8   with the proposed DIP Note on the terms to be finalized in any order of this Court. The DIP Lender

                                                                   9   is unwilling to provide financing to the Debtor on an unsecured or subordinated basis.

                                                                  10                    PTH is a Delaware limited liability company. I am informed and believe that through

                                                                  11   West Coast, the Debtor indirectly owns the economic rights of 100% of the preferred membership
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                                                                  12   units in PTH that entitles him to a priority distribution and thereafter a residual distribution based on
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                                                                  13   his 20% interest in PTH. As discussed above, the FF Global Members and the managing members
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                                                                  14   of PTH are funding the DIP financing to support the Debtor’s chapter 11 case.

                                                                  15                    In connection with the mediation ordered by this Court, the Debtor and the

                                                                  16   Committee reached agreement on the terms of both the DIP financing sought to be approved in this

                                                                  17   Motion (the “DIP Financing”) and the terms of a chapter 11 plan of reorganization supported by the

                                                                  18   Committee (the “Consensual Plan”). A true and correct copy of the Consensual Plan terms sheet

                                                                  19   containing the key terms of the Consensual Plan is attached hereto as Exhibit “B”. Both the DIP

                                                                  20   Financing and the Consensual Plan are the result of many weeks of constructive arm’s length

                                                                  21   diligence and negotiations by the Debtor, the Committee, and their respective professionals.

                                                                  22                    Soon after the appointment of the Committee, the Debtor and the Committee began

                                                                  23   discussing the path to a consensual plan of reorganization and a potential source of DIP Financing.

                                                                  24   The Committee repeatedly emphasized to the Debtor that an investigation into potential claims by

                                                                  25   the estate and a financial analysis of FF require sufficient funding earmarked for the Committee. In

                                                                  26   fact, the Committee conditioned its willingness to negotiate a consensual plan upon receiving such

                                                                  27   funding in an escrow account. Initially, PTH wired $50,000 into a trust account at Lowenstein

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                                                                   1   Sandler, counsel for the Committee, to cover expenses that it incurred in the November 2019 visit to

                                                                   2   FF’s facilities in Gardena, California.

                                                                   3                    On December 2, 2019, PTH placed an additional $450,000 in the trust account on the

                                                                   4   same terms to support the Committee’s due diligence efforts and, more importantly, to pursue a

                                                                   5   consensual plan for the benefit of the entire creditor body

                                                                   6                    The Debtor and the Committee continued intense negotiations over these issues and,

                                                                   7   prior to the January 23, 2020 status conference, the Debtor agreed to the Committee’s desired due

                                                                   8   diligence process and populated data rooms with documents responding to the Committee’s

                                                                   9   numerous requests. PTH also placed an additional $750,000 into the same trust account to facilitate

                                                                  10   the Committee’s understanding of the chapter 11 case and an investigation of potential causes of

                                                                  11   action controlled by the estate. In connection with the Committee’s investigation, the Debtor
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                                                                  12   facilitated a series of interviews by Lowenstein and Alvarez & Marsal (the Committee’s financial
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                                                                  13   advisor) of management members of the FF Group. In addition, the Debtor participated in a two-day
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                                                                  14   confidential deposition by the Committee and an individual member of the Committee, where he

                                                                  15   provided information regarding, among other things, his involvement in any alleged transactions that

                                                                  16   may be subject to chapter 5 actions. Lastly, the Debtor’s advisors met on several occasions with the

                                                                  17   Committee’s advisors to discuss the various transactions in detail.

                                                                  18                    As reflected in the Committee’s Reservation of Rights filed prior to the January 23,

                                                                  19   2020, status conference, the Debtor and the Committee had resolved most of their differences, with

                                                                  20   only a handful of potential issues remaining. In accordance with the Court’s mediation order, the

                                                                  21   Debtor, the Committee, and other creditors including Shanghai Lan Cai Asset Management Co.,

                                                                  22   Ltd.) and Shanghai Qichengyueming Investment Partnership mediated before Judge Mitchel

                                                                  23   Goldberg (ret.) during the week of February 3, 2020. At the end of the mediation sessions, the

                                                                  24   Debtor and the Committee reached an agreement on the material terms of the Consensual Plan. The

                                                                  25   Committee conditioned its agreement to the Consensual Plan on the implementation of DIP

                                                                  26   financing to be provided by PTH. The Debtor and the Committee, on one hand, and PTH, on the

                                                                  27   other, participated in extensive negotiations of DIP financing. On February 24, 2020, such

                                                                  28   negotiations culminated in an agreement on the terms of a DIP Note to be funded by PTH, largely

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                                                                   1   through contributions by the FF Global Members, who agreed to provide an additional $5.15 million

                                                                   2   for a total of $6.4 million.

                                                                   3                    While PTH an affiliate of the Debtor, based on the indirect, and minority 20% interest

                                                                   4   held by the Debtor’s nominee, PTH is nonetheless entitled to a good faith finding. All parties to the

                                                                   5   case have negotiated with the Debtor, through its professionals since the Petition Date (on in the case

                                                                   6   of the Committee, since its appointment) knowing that the only source of financing for the chapter

                                                                   7   11 case would be from PTH. Indeed, $1,250,000 of the proposed DIP Loan was advanced by PTH

                                                                   8   as follows: $500,000 on December 2, 2019, and $750,000 on December 20, 2019, and has been held

                                                                   9   in the client trust account of Lowenstein Sandler, LLP, counsel to the Official Unsecured Creditors

                                                                  10   Committee (the “Committee”). At all material times, the Committee has been aware that the

                                                                  11   financing for the case would be advanced by PTH, and the terms on which it would be advanced,
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                                                                  12   which is reflected in the DIP Note. The DIP Note is not over-reaching. The interest rate is not
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                                                                  13   excessive (8.75%). It does not provide for automatic relief from stay upon a Default (as defined in
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                                                                  14   the Note), but rather only consent by the Debtor (and not by the Committee) to a hearing on

                                                                  15   shortened notice with respect to a motion for relief from stay.

                                                                  16                    Under current circumstances, the Debtor is not able to obtain alternative financing

                                                                  17   from outside parties on an unsecured or junior secured basis.

                                                                  18                    The DIP Lender offered the best – indeed the only – available economic proposal

                                                                  19   under the circumstances. The DIP Lender is unwilling to lend to the Debtor except on a fully

                                                                  20   secured and first priority basis as to the Collateral.

                                                                  21                    The Debtor seeks to use the proceeds of the DIP Loan in order to allow the Debtor to

                                                                  22   complete a restructuring via the Consensual Plan. The DIP Loan represents the best and only known

                                                                  23   source of funding to support this chapter 11 case.

                                                                  24                    Without access to the DIP Loan, the Debtor will face irreparable damage to the

                                                                  25   Debtor’s efforts to maximize the value of his estate for the benefit of all constituents. Accordingly,

                                                                  26   the Debtor strongly urges the Court to authorize the DIP Loan on the terms contemplated herein.

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               1               I declare, pursuant to 28 U.S.C. § 1746, under penalty of perj   , that the foregoing is true

               2      and correct to the best of my information, knowledge and

               3      Dated: February'Uo, 2020

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                                                                   1                                  DECLARATION OF MATTHIAS AYDT
                                                                   2           I, Matthias Aydt, under penalty of perjury, declare as follows:

                                                                   3                    I am the Senior Vice President of Product Definition and Business Development at

                                                                   4   Faraday Future (the “Company” or “FF”), and I serve as President, Secretary, and Treasurer of FF

                                                                   5   Global Partners LLC (“FF Global”).

                                                                   6                    I submit this Declaration (the “Declaration”) in support of the Motion For Order (A)

                                                                   7   Authorizing Debtor In Possession to (I) Obtain Post-Petition Financing Pursuant to 11 U.S.C.

                                                                   8   §§105, 362, 363, and 364, and (II) Granting Liens and Superpriority Claims to Post-petition Lender

                                                                   9   Pursuant to 11 U.S.C. §364; and (B) Modifying Automatic Stay Pursuant to 11 U.S.C. §§361, 362,

                                                                  10   363, and 364 (the “DIP Motion”). Except as otherwise indicated, all statements in this Declaration

                                                                  11   are based upon my personal knowledge, my review of the Debtor’s books and records, relevant
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                                                                  12   documents and other information prepared or collected by the Debtor, or my opinion based on my
                                        LOS ANGELES, CALIFORNIA




                                                                  13   experience with the Debtor’s operations and financial condition. In making my statements based on
                                           ATTORNEYS AT LAW




                                                                  14   my review of the Debtor’s books and records, relevant documents and other information prepared or

                                                                  15   collected by the Debtor, I have relied upon these employees accurately recording, preparing, or

                                                                  16   collecting such documentation and other information.

                                                                  17                    Through West Coast LLC, a Delaware limited liability company (“West Coast”), the

                                                                  18   Debtor indirectly owns the economic rights of 100% of the preferred membership units in Pacific

                                                                  19   Technology Holding LLC (“PTH” or the “DIP Lender”) that entitles him to a priority distribution

                                                                  20   and thereafter a residual distribution based on his 20% interest in PTH. These economic rights are

                                                                  21   part of the key assets to be contributed to a liquidating trust (the “Trust”) under the Debtor’s

                                                                  22   consensual plan of reorganization (the “Consensual Plan”). FF Global Partners LLC (“FF Global”),

                                                                  23   the managing member of PTH, owns the remaining 80% of PTH.

                                                                  24                    Key executives of the Company formed FF Global in connection with the adoption of

                                                                  25   the “Partnership Program”—an innovative corporate governance and management retention

                                                                  26   structure based on the Alibaba model. The implementation of the Partnership Program enabled the

                                                                  27   Company to attract new senior management, including Dr. Carsten Breitfeld—a BMW AG

                                                                  28   veteran—as CEO and Robert A. Kruse, Jr.—who has over 30 years of experience at General

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                                                                   1   Motors—as Senior Vice President, Product Execution (Engineering and Manufacturing). As a result,

                                                                   2   the Debtor now serves as FF’s Chief Product and User Officer.

                                                                   3                    The members of FF Global (the “FF Global Members”) consist of FF’s senior

                                                                   4   executives who have subscribed to the units of FF Global and thus indirectly own equity interests in

                                                                   5   FF. Hence, the members are vested in the success of FF. Many, like myself, are long-term members

                                                                   6   of the FF team. All of the members are inspired by the Debtor’s vision to create a next-generation

                                                                   7   mobility ecosystem and attracted to the opportunity to pursue a truly disruptive technology.

                                                                   8                    Although FF has fully developed the FF 91, the first production vehicle and flagship

                                                                   9   model,8 it cannot go into production and be delivered to end users without its own successful equity

                                                                  10   financing. FF aims to have an IPO within approximately 12 to 15 months following the conclusion

                                                                  11   of equity financing. But these efforts to obtain equity financing stalled as the Debtor’s financial
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                                                                  12   condition worsened and aggressive creditors began to enforce foreign judgments against the Debtor
                                        LOS ANGELES, CALIFORNIA




                                                                  13   in the US and execute those judgments against his US assets—consisting almost exclusively of his
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                                                                  14   interests in FF. The uncertainty of the Debtor’s continued economic interest in FF and his leadership

                                                                  15   position effectively ended any interest in providing equity financing to FF.

                                                                  16                    Because FF’s fate is tied to the success of the Debtor’s chapter 11 case, the FF Global

                                                                  17   Members are eager for the Debtor to emerge from the chapter 11 process so that FF itself can

                                                                  18   procure equity financing, produce the FF 91, and eventually succeed. It is for this reason that the FF

                                                                  19   Global Members, through PTH, provided prepetition financing to the Debtor in the amount of

                                                                  20   $2,687,629 and why the FF Global Members have agreed to provide the DIP financing. Upon the

                                                                  21   request from FF Global, the FF Global Members have agreed to make capital contributions to FF

                                                                  22   from their personal funds.

                                                                  23                    As noted above, the Debtor is pursuing his reorganization in order to revive FF’s

                                                                  24   efforts to obtain financing. After he filed for bankruptcy protection, some of the potential financing

                                                                  25   sources perceived his chapter 11 case as a positive development, but others who are less familiar

                                                                  26   with the chapter 11 process did not. Even those who viewed it positively have taken a “wait and see”

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                                                                         Digital Trends named the FF 91 as one of the best vehicles at the 2020 Consumer Electronics Show. See
                                                                  28   https://www.digitaltrends.com/cars/faraday-future-ff91-electric-vehicle-first-drive-features-price-photos-video-release-
                                                                       date-ces-2020/
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                                                                   1   approach. Despite the Debtor and FF’s management’s continued assurance of transparency and

                                                                   2   progress, unanticipated delay in the reorganization process, and unsubstantiated allegations in certain

                                                                   3   pleadings by the Debtor’s judgment creditors have created confusion and made it increasingly

                                                                   4   difficult for the potential financing sources to commit to any equity financing. Furthermore, FF itself

                                                                   5   is increasingly struggling with liquidity due to the lack of financing.

                                                                   6                    At this time, leading bankers for the electric vehicle industry are awaiting the

                                                                   7   announcement of the Consensual Plan before commencing their internal process to evaluate equity

                                                                   8   financing for FF. Following the announcement, it is urgent that the Debtor moves forward in the plan

                                                                   9   confirmation process as expeditiously as possible. Potential investors are reluctant to expend

                                                                  10   resources on due diligence or structuring of the financing until they are relatively confident that the

                                                                  11   Debtor will successfully emerge from the chapter 11 process.
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                                                                  12                    FF has been struggling with liquidity issues for the past two years, resulting from
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Evergrande’s withdrawal of its commitment to provide the full $2 billion investment— originally
                                           ATTORNEYS AT LAW




                                                                  14   intended for moving the FF 91 to the production stage. FF has been subsisting on bridge financing

                                                                  15   and cost-cutting measures, including a company-wide 20% payroll reduction in 2018. While

                                                                  16   continued delay has exacerbated FF’s liquidity crisis, FF has looked to FF Global for support to fund

                                                                  17   FF’s payroll. The FF Global Members, who have provided crucial funding support and are currently

                                                                  18   providing the DIP financing, are not deep-pocketed and only have limited resources. If FF has to

                                                                  19   close down due to the delay in confirming the Consensual Plan, the loss of extraordinarily talented

                                                                  20   executives would be inevitable and the financing sources would have to fund any effort to attract

                                                                  21   new talents. As a result, it would become impracticable, if not impossible, to convince the various

                                                                  22   interested parties to provide the equity financing to FF.

                                                                  23                    Because potential financing sources are unwilling to invest in the diligence process

                                                                  24   without witnessing further progress in the chapter 11 case, the announcement of the Consensual Plan

                                                                  25   is the first step for FF to obtain financing. By establishing the Trust and demonstrating the Debtor’s

                                                                  26   continued commitment to and alignment with the success of FF, the Consensual Plan will restore

                                                                  27   stability to FF’s capital structure. But if the Consensual Plan cannot become effective by the end of

                                                                  28   May, it is unclear whether FF will be able to manage its liquidity or find bridge financing to continue

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                1   its own operations so that it can be in a position to pursue the equity financing needed for the launch

                2   of the FF 91.

                3             12.      While PTH is an affiliate of the Debtor based on the indirect and minority 20%

                4   interest held by the Debtor's nominee, PTH is nonetheless entitled to a good faith finding. All

                5   parties to the case have negotiated with the Debtor, through the Debtor' s professionals, since the

                6   Petition Date (on in the case of the Committee, since its appointment) knowing that the only source

                7   of financing for the chapter 1 lcase would be from PTH. Indeed, $1,250,000 of the proposed DIP

                8   Loan was advanced by PTH as follows: (i) initially $50,000 was wired into a trust account at

                9   Lowenstein Sandler LLP, counsel for the Committee, to cover expenses that the Committee incurred

               10   due to the November 2019 visit to FF's facilities in Gardena, California; (ii) $450,000 was wired

               11   into the same trust account on December 2, 2019, to support the Committee' s due diligence efforts
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 "'            12   and, (iii) $750,000 was wired into the same trust account on December 20, 2019, to support the
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               13   Committee' s further investigation of the Debtor's financial affairs. At all material times, the
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               14   Committee has been aware that the financing for the case would be advanced by PTH, and the terms
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 ;;            15   on which it would be advanced, which is reflected in the DIP Note. The DIP Note is not over-
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 u             16   reaching. The interest rate is not excessive (8.75%).     It does not provide for automatic relief from
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               17   stay upon a Default (as defined in the Note), but rather only consent by the Debtor (and not by the

               18   Committee) to a hearing on shortened notice with respect to a motion for relief from stay.

               19            I declare, pursuant to 28 U.S.C. § 1746, under penalty of p ·ury, that the foregoing is true

               20   and correct to the best of my information, knowledge and belie .

               21   Dated: February _27, 2020

               22                                                  Matthias Aydt
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                        EXHIBIT A
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                  SECURED DEBTOR IN POSSESSION PROMISSORY NOTE


 $6,400,000.00                                                                 February 27, 2020

         FOR VALUE RECEIVED, the undersigned, Yueting Jia, an individual and resident of
California (“Borrower”), as debtor and debtor-in-possession in the Chapter 11 Case (as defined
below) hereby promises to pay to the order of Pacific Technology Holding LLC, a Delaware limited
liability company (“Lender”), the principal amount equal to the aggregate amount of the Advances
(as defined below) made by Lender to Borrower from time to time together with interest accrued on
the unpaid principal amount of this secured promissory note (this “Note”), payable as provided
herein. This Note is issued in connection with the filing by Borrower on October 14, 2019 (the
“Petition Date”) of a voluntary petition for relief, under 11 U.S.C. §§ 101 et seq. (as now and
hereafter in effect, or any successor statute, the “Bankruptcy Code”) with the United States
Bankruptcy Court for the Central District of California (the “Bankruptcy Court”) (such proceeding
being administered under Case No. 19-24804 is hereinafter referred to as the “Chapter 11 Case”).
Borrower continues to manage his estate and assets as a debtor-in-possession pursuant to Sections
1107 and 1108 of the Bankruptcy Code.

        To evidence Borrower’s obligation to repay the Advances (as defined below), Borrower has
authorized the issuance of this Note in the aggregate principal amount of the Advances. Provided
that no Event of Default (as defined below) has occurred and is continuing, Lender agrees to loan to
Borrower advances under this Note (the “Advances” and each, an “Advance”) in accordance with
the following schedule (the “Advance Schedule”):

              Entry of the Borrowing Order (as $              $1,400,000
              defined below) (such Advance, the
              “Initial Advance”)

              Five (5) business days after entry of the $     $1,250,000
              Borrowing Order

              Earlier of five (5) business days after $       $1,750,000
              approval of a disclosure statement for
              the Chapter 11 Plan (as defined below)
              for Borrower and March 31, 2020

              Earlier of nine (9) days prior to the $         $1,500,000
              hearing confirming the Chapter 11 Plan
              and April 30, 2020

              Two (2) days after entry of the order $         $500,000
              confirming the Chapter 11 Plan

        With respect to the Initial Advance, Lender’s obligation to make $1,250,000 of such Initial
Advance shall be satisfied directly by Lender’s funds in the amount of $1,250,000 currently held in
the client trust account of Lowenstein Sandler LLP, which funds shall constitute an Advance

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hereunder upon entry of the Borrowing Order and shall be automatically authorized to be released
from time to time solely for the payment of allowed fees and expenses of the professionals retained
by the Official Committee of Unsecured Creditors appointed in the Chapter 11 Case. With respect
to each other Advance, Lender shall wire such Advance to the client trust account of Pachulski Stang
Ziehl & Jones LLP and such funds shall be automatically authorized to be released from time to time
in accordance with the Borrowing Order.

                                          ARTICLE I
                                      TERMS OF PAYMENT

                 SECTION 1.01. Payments. Payment of the principal amount of this Note or, if less,
the aggregate outstanding and unpaid principal amount of this Note and any other outstanding
Obligations required to be paid hereunder shall be made on the earlier of (a) July 1, 2020 and (b) the
effective date (the “Effective Date”) of the Borrower’s plan of reorganization under Chapter 11 of
the Bankruptcy Code (the “Chapter 11 Plan”) that is confirmed pursuant to an order entered by the
Bankruptcy Court (the “Maturity Date”); provided that in the event any unpaid principal or other
Obligations (as defined in Section 4.01) under this Note are not repaid on the Effective Date, the
Maturity Date (solely with respect to such unpaid principal or other Obligations) shall automatically
be extended for one year from the Effective Date (the “Extension Term”) so long as (i) all liens
securing such loans remain perfected first priority liens on the Collateral, subject only to the liens
securing the Trust Financing (as defined below) (ii) all Obligations continue to be obligations of the
entity to which the Collateral is transferred, including the creditors’ trust formed pursuant to the
Chapter 11 Plan (the “Creditors’ Trust”) and (iii) the interest rate per annum shall be increased to
twelve percent (12%) per annum. For the avoidance of doubt, all Available Funds (as defined below)
shall be used to repay the unpaid principal or other Obligations under this Note on the Maturity Date
and the unpaid principal or other Obligations remaining after such repayment shall be due and
payable during the Extension Term. The principal on this Note is payable in lawful money of the
United States in immediately available funds at such place as Lender may from time to time designate
in writing to Borrower. Whenever any payment hereunder shall be stated to be due on a day other
than a business day, such payment shall be made on the next succeeding business day, and such
extension of time shall in such case be included in the computation of payment of interest.

                SECTION 1.02. Prepayments.

                (a) Commencing on the Effective Date, this Note is subject to mandatory prepayment
 pursuant to Section 1.02(b). The Creditor’s Trust may, on any business day, prepay the then
 outstanding principal amount of this Note in whole or in part, together with accrued interest to the
 date of such prepayment on the principal amount prepaid without premium or penalty.

                 (b) The Creditors’ Trust shall prepay the aggregate outstanding unpaid principal
 amount of this Note, in whole or in part, solely with any proceeds of the financing for the Creditors’
 Trust, whether obtained on the Effective Date or during the Extension Term, in excess of (1)
 $1,500,000 required to fund the Creditors’ Trust (the “Trust Financing”) and (2) the amount
 necessary to make payments required to be made in connection with the Chapter 11 Plan (such
 excess amount, the “Available Funds”). For the avoidance of doubt, neither the $1,500,000 of the
 Trust Financing nor any of the amounts due and/or actually paid from Wei Gan to the Creditor Trust
 pursuant to the Plan shall constitute Collateral or be used to pay any amounts owing under this Note.

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                  SECTION 1.03. Interest. Interest shall accrue on the outstanding principal amount of
 this Note at a rate per annum equal to 8.75%. Interest shall be payable in arrears on the first business
 day of each calendar month commencing on the first such date to occur after the first Advance has
 been made by increasing the then aggregate principal amount of the Advances outstanding on such
 date by the amount of such accrued interest.

                 SECTION 1.04. Computations. All computations of interest shall be made on the
 basis of a year of 365 or 366 days, as the case may be, for the actual number of days (including the
 first day but excluding the last day) occurring in the period for which such interest is payable.

              SECTION 1.05. Super Priority Administrative Nature of Obligations. All Obligations
 under this Note shall constitute allowed super-priority administrative expense claims in the Chapter
 11 Case against Borrower; provided that such super-priority administrative expense claims shall
 not be payable from proceeds of any causes of action arising under Chapter 5 of the Bankruptcy
 Code or other similar state law. Except as expressly provided herein, all Obligations under this
 Note shall be secured by, and Borrower hereby grants, pursuant to Section 364(d)(1) of the
 Bankruptcy Code, priming liens on the Collateral (as defined below) of Borrower as of the Petition
 Date pursuant to this Note and any order of the Bankruptcy Court entered in the Chapter 11 Case
 after the hearing under Bankruptcy Rule 4001(e)(2) with any modifications thereto reasonably
 acceptable to Lender, as the same may be amended, supplemented or otherwise modified from time
 to time with the express written consent or joinder of Lender (the “Borrowing Order”). All liens
 granted hereunder and under the Borrowing Order shall be deemed validly perfected against
 Borrower, Borrower’s bankruptcy estate, any trustee appointed in the Chapter 11 Case (including
 any trustee appointed upon conversion of the Chapter 11 Case to a case under Chapter 7 of the
 Bankruptcy Code), Borrower’s successors and assigns and all creditors and parties in interest in the
 Chapter 11 Case, notwithstanding the discharge of Borrower pursuant to Section 1141 of the
 Bankruptcy Code, the conversion of the Chapter 11 Case to a case under Chapter 7 of the
 Bankruptcy Code, the dismissal of the Chapter 11 Case or any subsequent Chapter 7 case or the
 release of any Collateral. The liens created in this Note shall remain valid and perfected without
 the necessity that Lender file financing statements, make recordings on real property records or
 otherwise perfect its liens under applicable law. Notwithstanding the foregoing, Lender may file
 financing statements and make recordings on real property records to evidence the liens granted
 hereunder, and Borrower shall cooperate with Lender in signing such documents as Lender may
 reasonably require to make such filings.

                                          ARTICLE II
                                      EVENTS OF DEFAULT

               SECTION 2.01.         Events of Default. If any of the following events (“Events of
Default”) shall occur and be continuing:

                       (a)     Borrower shall fail to pay all or any part of the principal when due, or
       shall fail to pay any installment of interest or other amount payable hereunder within three
       (3) business days of the date when due; or



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                     (b)    Borrower shall fail to perform or observe any other term, covenant or
     agreement contained in this Note other than any such term referred to in any other subsection
     of this Section 2.01 on his part to be performed or observed and such default shall not have
     been remedied or waived within ten (10) days after the occurrence thereof;

                    (c)      any representation or warranty made by Borrower in this Note shall be
     false or misleading; or

                     (d)     (i) the entry of an order which has not been withdrawn, dismissed or
     reversed (A) authorizing Borrower in the Chapter 11 Case to obtain additional financing
     under Section 364(c) or (d) of the Bankruptcy Code, or authorizing any person to recover
     from any portions of the Collateral any costs or expenses of preserving or disposing of such
     Collateral under Section 506(c) of the Bankruptcy Code, or (except as provided in any
     Borrowing Order) authorizing the use of cash collateral without Lender’s prior written
     consent under Section 363(c) of the Bankruptcy Code; (B) appointing an interim or permanent
     trustee in the Chapter 11 Case or the appointment of an examiner in the Chapter 11 Case; (C)
     without the prior written consent of Lender, dismissing the Chapter 11 Case or converting the
     Chapter 11 Case to a case under Chapter 7 of the Bankruptcy Code; (D) the entry of an order
     granting relief from or modifying the automatic stay of Section 362 of the Bankruptcy Code
     (1) to allow any creditor to execute upon or enforce a lien on any portion of the Collateral or
     on any other property or assets of Borrower having a fair market value in excess of $5,000,000
     or (2) with respect to any lien of, or the granting of any lien on any Collateral or any other
     property or assets of Borrower to, any State or local environmental or regulatory agency or
     authority; (E) amending, supplementing, staying, reversing, vacating or otherwise modifying
     any Borrowing Order, this Note or Lender’s rights, benefits, privileges or remedies under any
     Borrowing Order or this Note; (F) without the prior written consent of Lender, filing the
     Chapter 11 Plan for Borrower or any modification thereto; (G) consolidating or combining
     Borrower with any other person except pursuant to a confirmed plan of reorganization with
     the prior written consent of Lender as contemplated in the plan of reorganization; (H)
     approving, or there shall arise, any other super-priority administrative expense claim (other
     than those specifically referred to in Section 1.05) having any priority over the super-priority
     administrative expense priority of the Obligations in respect of the Chapter 11 Case; or (I)
     confirming the Chapter 11 Plan for Borrower that does not provide for the payment in full in
     cash of the Obligations on the effective date of such plan; or (ii) the filing by Borrower of a
     motion, application or other petition to effect or consent to any order referred to in the
     foregoing clause (i); or

                     (e)     (i) one or more judgments or orders as to post-Petition Date liability
     or indebtedness in excess of $50,000 shall be entered against Borrower not adequately
     covered by insurance as to which a solvent and unaffiliated insurance company has
     acknowledged coverage and either (A) enforcement proceedings shall have been commenced
     and shall be continuing by any creditor upon such judgment or orders or (B) there shall be
     any period of ten (10) consecutive days during which a stay of enforcement of such judgments
     or orders, by reason of a pending appeal or otherwise, shall not be in effect; or (ii) any non-
     monetary judgment or order with respect to a post-Petition Date event shall be rendered
     against Borrower which could reasonably be expected to result in a material adverse effect
     and there shall be any period of ten (10) consecutive days during which a stay of enforcement

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       of such judgment or order, by reason of a pending appeal or otherwise, shall not be in effect;
       or

                        (f)     at any time after the execution and delivery thereof; (i) this Note, for
       any reason other than the satisfaction in full of all Obligations, shall cease to be in full force
       and effect (other than in accordance with its terms) or shall be declared to be null and void,
       (ii) Lender shall not have or shall cease to have a valid and perfected and unavoidable lien
       prior to all other perfected and unavoidable liens in any Collateral purported to be covered by
       this Note in either case for any reason other than the failure of Lender to take any action
       within its control, or (iii) Borrower shall contest the validity or enforceability of this Note or
       any provision thereof in writing or deny in writing that it has any further liability, including
       with respect to future advances by Lender, under this Note or any provision thereof to which
       it is a party;

        THEN upon the occurrence and during the continuance of any Event of Default, Lender may
declare (i) the unpaid principal amount of and accrued interest on this Note and (ii) all other
Obligations immediately due and payable, without presentment, demand, protest or other
requirements of any kind, all of which are hereby expressly waived by Borrower, and the same shall
forthwith become, immediately due and payable, and any obligation of Lender to make this Note
shall thereupon terminate.

        Further upon the occurrence and during the continuance of any Event of Default, Borrower
consents to and shall not object to Lender seeking a hearing on shortened notice for relief from the
automatic stay and upon such relief, Lender may (i) exercise all rights and remedies of Lender set
forth in this combined Note with grant of security interest, in addition to all rights and remedies
allowed by, the United States and of any state thereof, including, but not limited to, the UCC. The
enumeration of the foregoing rights and remedies is not intended to be exhaustive and the exercise
of any right or remedy shall not preclude the exercise of any other rights or remedies, all of which
shall be cumulative and not alternative.

         Borrower waives, (i) presentment, demand and protest and notice of presentment, dishonor,
notice of intent to accelerate, notice of acceleration, protest, default, nonpayment, maturity, release,
compromise, settlement, extension or renewal of any or all commercial paper, accounts, contract
rights, documents, instruments, chattel paper and guaranties or other property at any time held by
Lender on which Borrower may in any way be liable and hereby ratify and confirm whatever Lender
may lawfully do in this regard, (ii) subject to the notice and relief from stay provisions of the
preceding paragraph, all rights to notice and hearing prior to Lender’s taking possession or control
of, or to Lender reply, attachment or levy upon, the Collateral, or any bond or security which might
be required by any court prior to allowing Lender to exercise any of its remedies, and (iii) the benefit
of all valuation, appraisal and exemption laws. Borrower acknowledges it has been advised by
counsel of his choice with respect to the effect of the foregoing waivers and this Note and the
transactions evidenced by this Note.

                                           ARTICLE III
                                        USE OF PROCEEDS

              SECTION 3.01. The proceeds of this Note shall be used to (a) pay allowed fees, costs
and expenses associated with this Note and by and by persons and firms retained pursuant to Sections

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327, 328, 330, 363 and/or 1103 of the Bankruptcy Code by (i) Borrower and (ii) the Official
Committee of Unsecured Creditors appointed by the United States Trustee in the Chapter 11 Case;
(b) pay fees, cost and expenses from time to time pursuant to 28 U.S.C. § 1930; (c) pay expenses
listed in the Cash Flow Projections for the 13 Week Period: 10/14/2019 through 1/6/2020 filed with
the Bankruptcy Court (Dkt No. 63) (the “Initial Cash Flow”) and the Debtor’s Chapter 11 Status
Report (Dkt No. 199); and (d) to otherwise use as operating cash flow for expenses similar to the
expenses indicated in the Initial Cash Flow covering a subsequent period, subject to Lender’s consent
(such consent not to be unreasonably withheld). Nothing herein shall in any way prejudice or prevent
Lender from objecting to any request, motion or application in the Chapter 11 Case, including
applications for compensation for services rendered or reimbursement of expenses.

                                           ARTICLE IV
                                        SECURITY GRANT

                    SECTION 4.01.           Borrower hereby grants, pledges, assigns, transfers,
hypothecates and sets over to Lender a valid, continuing first priority security interest in all of
Borrower’s right, title and interest in the Non-China Collateral (as defined below) in each case
whether now or hereafter existing, whether tangible or intangible, whether now owned or hereafter
acquired and wherever the same may be located, in order to secure prompt, full, faithful and timely
payment and performance of the obligations under this Note, including without limitation all accrued
and unpaid interest owing hereunder and any other obligations arising hereunder (including interest
and other amounts that, but for the filing of a petition in bankruptcy with respect to Borrower, would
accrue on such obligations, whether or not a claim is allowed against Borrower for such amounts in
the related bankruptcy proceeding) (collectively, the “Obligations”), whether at stated maturity,
acceleration or otherwise, together with all extensions or renewals thereof, whether voluntary or
involuntary, direct or indirect, absolute or contingent, liquidated or unliquidated, whether or not
jointly owned with others, and whether or not such Obligations under the Note are from time to time
decreased or extinguished and later increased, created or incurred, and all or any portion of such
Obligations that are paid, to the extent all or any party of such payment is avoided or recovered
directly or indirectly from Lender as a preference, fraudulent transfer or otherwise. “Collateral” shall
include all of Borrower’s interests in all of the following types of personal property, wherever located
and whether now owned or hereafter acquired, including any assets or obligations originating or
relating to any property or entity (the “Collateral”) and such Collateral located or domiciled in the
United States, the Cayman Islands, or any place else in the world other than China (collectively, the
“Non-China Collateral”):

                        (i)    all Accounts;

                        (ii)   all Chattel Paper;

                      (iii) all Money and all Deposit Accounts, together with all amounts on
       deposit from time to time in such Deposit Accounts;

                       (iv)    all Documents;

                       (v) all General Intangibles (including membership interests and rights,
       whether owned directly or indirectly, whether such interests are deemed a General Intangible
       or a Security, and whether held in a domestic or foreign corporation, a domestic or foreign

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       limited liability company, a domestic or foreign Ltd. including as recognized in the Cayman
       Islands (each such form of organization, an “Entity”), consisting of (a) all economic rights,
       including without limitation, all rights to share in the profits and losses of the Entity, and all
       rights to receive distributions of the assets of the Entity; and (b) governance rights, including
       without limitation, all rights to vote, consent to action and otherwise participate in
       management and direction of the Entity), Payment Intangibles and Software (for the
       avoidance of doubt, to the extent such General Intangibles are located or domiciled any place
       in the world other than China, such General Intangibles shall be considered “Non-China
       Collateral” and to the extent such General Intangibles are located or domiciled in China, such
       General Intangibles shall be considered “China Collateral” (as further defined below));

                       (vi)    all Goods, including Inventory, Equipment and Fixtures;

                       (vii)   all Instruments;

                      (viii)   all Investment Property;

                       (ix)    all Letter-of-Credit Rights and other Supporting Obligations;

                        (x)    all Records;

                       (xi)    all Commercial Tort Claims; and

                       (xii)   all Proceeds and Accessions with respect to any of the foregoing
       Collateral.

               Terms used, but not otherwise defined herein shall have the meaning set forth in
Division 9 of the California Uniform Commercial Code in effect on the date hereof (the “UCC”).
This security grant is subject in all respects to the Minute Order entered September 3, 2019 in
Case No: 2:18-CV-10255 SJO (MRWx) in the United States District Court for the Central
District of California (the “Minute Order”), attached hereto and incorporated herein as
Exhibit B to the extent the Minute Order remains enforceable in light of the Chapter 11 Case
and has not been avoided or disallowed therein.

                SECTION 4.02.          To the maximum extent permitted by applicable law, Borrower
hereby grants, pledges, assigns, transfers, hypothecates and sets over to Lender a valid, continuing
junior and subordinated security interest in all of Borrower’s right, title and interest in the Collateral
located in China (the “China Collateral”) in each case whether now or hereafter existing, whether
tangible or intangible, whether now owned or hereafter acquired and wherever the same may be
located, in order to secure the Obligations, whether at stated maturity, acceleration or otherwise,
together with all extensions or renewals thereof, whether voluntary or involuntary, direct or indirect,
absolute or contingent, liquidated or unliquidated, whether or not jointly owned with others, and
whether or not such Obligations under this Note are from time to time decreased or extinguished and
later increased, created or incurred, and all or any portion of such Obligations that are paid, to the
extent all or any party of such payment is avoided or recovered directly or indirectly from Lender as
a preference, fraudulent transfer or otherwise. This security grant is subject in all respects to the
Minute Order, attached hereto and incorporated herein as Exhibit 1 to the extent the Minute
Order remains enforceable in light of the Chapter 11 Case and has not been avoided or

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disallowed therein.

                SECTION 4.03.          Borrower agrees that from time to time, at the expense of
Borrower and solely with respect to the Non-China Collateral, Borrower will promptly execute and
deliver all further instruments and documents, and take all further action, that may be necessary or
desirable, or that Lender may request, in order to perfect any security interest granted or purported
to be granted hereby or to enable Lender to exercise and enforce its rights and remedies hereunder
with respect to any Collateral. Without limiting the generality of the foregoing, Borrower will, solely
with respect to the Non-China Collateral: (a) execute (if necessary) and file such financing or
continuation statements, or amendments thereto, (b) execute and deliver, and cause to be executed
and delivered, agreements establishing that Lender has control of the Investment Property of
Borrower, and (c) execute and deliver such further instruments and take such further action as Lender
may reasonably request to effect the intent and purposes hereof, to perfect and continue perfected
Lender’s security interests in the Collateral. Borrower hereby authorizes Lender to file one or more
financing or continuation statements, and amendments thereto, relative to all or any part of the Non-
China Collateral.

                 SECTION 4.04.       Solely with respect to the Non-China Collateral, Borrower
hereby irrevocably appoints Lender as Borrower’s attorney-in-fact, effective upon the occurrence
and during the continuance of an Event of Default hereunder, with full authority in the place and
stead of Borrower and in the name of Borrower, Lender or otherwise, from time to time in Lender’s
discretion, to take any action and to execute any instrument that Lender may deem necessary or
advisable to accomplish the purposes of this Note, including, without limitation:

                         (i)    to obtain and adjust insurance required to be maintained by Borrower;

                        (ii) to ask for, demand, collect, sue for, recover, compound, receive and
       give acquittance and receipts for moneys due and to become due under or in respect of any
       of the Collateral;

                    (iii) to receive, endorse and collect any drafts or other Instruments,
       Documents, Chattel Paper and other documents in connection with clauses (i) and (ii) above;

                       (iv) to file any claims or take any action or institute any proceedings that
       Lender may deem necessary for the collection of any of the Non-China Collateral or otherwise
       to enforce or protect the rights of Lender with respect to any of the Non-China Collateral;

                        (v) to pay or discharge liens levied or placed upon the Non-China
       Collateral, the legality or validity thereof and the amounts necessary to discharge the same to
       be determined by Lender in its reasonable discretion, any such payments made by Lender to
       become obligations of Borrower to Lender, due and payable immediately without demand;

                         (vi)   to sign and endorse any documents relating to the Non-China
       Collateral; and

                         (vii) sell the Non-China Collateral at one or more public or private sales.

                SECTION 4.05.          The powers conferred on Lender hereunder are solely to protect

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its interest in the Collateral and shall not impose any duty upon it to exercise any such powers. Except
for the exercise of reasonable care in the custody of any Collateral in its possession and the
accounting for moneys actually received by it hereunder, Lender shall have no duty as to any
Collateral or as to the taking of any necessary steps to preserve rights against prior parties or any
other rights pertaining to any Collateral. Lender shall be deemed to have exercised reasonable care
in the custody and preservation of Collateral in its possession if such Collateral is accorded treatment
substantially equal to that which Lender accords its own property.

                 SECTION 4.06.          In addition to all other rights and remedies provided for herein
or otherwise available to it and subject to the provisions set forth above in Section 2.01, including
with respect to the automatic stay, Lender may exercise, solely in respect of the Non-China Collateral,
all the rights and remedies of a secured party on default under the UCC (whether or not the UCC
applies to the affected Non-China Collateral), and also may, to the extent applicable, (a) require
Borrower to, and Borrower hereby agrees that he will at his expense and upon request of Lender
forthwith, assemble all or part of the Non-China Collateral as directed by Lender and make it
available to Lender at a place to be designated by Lender that is reasonably convenient to both parties,
(b) subject to the rights of third parties, enter onto the property where any Non-China Collateral is
located and take possession thereof with or without judicial process, (c) prior to the disposition of
the Non-China Collateral, store, process, repair or recondition the Non-China Collateral or otherwise
prepare the Non-China Collateral for disposition in any manner to the extent Lender deems
appropriate, (d) subject to the rights of third parties, take possession of Borrower’s premises or place
custodians in exclusive control thereof, remain on such premises and use the same and any of
Borrower’s equipment for the purpose of completing any work in process, taking any actions
described in the preceding clause (c) and collecting any Obligation, (e) sell the Non-China Collateral
or any part thereof in one or more parcels at public or private sale, at any of Lender’s offices or
elsewhere, for cash, on credit or for future delivery, at such time or times and at such price or prices
and upon such other terms as Lender may deem commercially reasonable, (f) exercise dominion and
control over and refuse to permit further withdrawals from any Deposit Account maintained with
Lender and provide instructions directing the disposition of funds in Deposit Accounts not
maintained with Lender, and (g) provide entitlement orders with respect to security entitlements and
other Investment Property constituting a part of the Non-China Collateral and, without notice to
Borrower, transfer to or register in the name of Lender or any of its nominees any or all of the Non-
China Collateral constituting Investment Property. Lender may be the purchaser of any or all of the
Collateral at any such sale and Lender, shall be entitled, for the purpose of bidding and making
settlement or payment of the purchase price for all or any portion of the Non-China Collateral sold
at any such public sale, to use and apply any of the Obligations as a credit on account of the purchase
price for any Non-China Collateral payable by Lender at such sale. Borrower hereby waives any
claims against Lender arising by reason of the fact that the price at which any Non-China Collateral
may have been sold at such a private sale was less than the price which might have been obtained at
a public sale, even if Lender accepts the first offer received and does not offer such Non-China
Collateral to more than one offeree. If the proceeds of any sale or other disposition of the Non-China
Collateral are insufficient to pay all the Obligations, Borrower shall be liable for the deficiency and
the reasonable fees of any attorneys employed by Lender to collect such deficiency.

                SECTION 4.07.         Upon the unconditional satisfaction of the Obligations in full,
(a) the security interest in the Collateral in favor of Lender granted hereby shall automatically
terminate without any further action on the part of Borrower or Lender, and (b) Borrower and his

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designees shall be authorized to file such terminations of such security interest as Borrower
reasonably deems necessary, and Lender shall execute and deliver, at Borrower’s expense, such
further evidence of the termination or release of such security interest as Borrower may reasonably
request.

                                           ARTICLE V
                                      REPRESENTATIONS AND
                                          WARRANTIES

                 SECTION 5.01.         Borrower hereby represents and warrants to Lender that the
following are true and accurate as of the date hereof and that each will be true and accurate as of each
applicable date that any Advance is disbursed, in each case subject to, and upon entry of the
Borrowing Order:

                 (a) He has all requisite power, and legal capacity to execute and deliver this Note
and to carry out and perform his obligations hereunder.

                  (b) This Note, together with other related documents and filings, constitutes his
legal, valid and binding obligations in accordance with its terms.

                   (c) The execution, delivery and performance by Borrower of this Note, and the
creation or perfection of the security interest in favor of Lender hereunder (i) does not and will not
contravene, breach or violate any terms of any agreement, document, instrument or applicable
Borrowing Order to which Borrower is a party or by which assets or properties of Borrower are
bound, (ii) is not in violation or in default of any provision of national, federal or state statute, rule or
regulation applicable to Borrower, or (iii) is not in violation or in default of any judgment, order, writ
or decree (including, without limitation, the Bankruptcy Court). The execution, delivery and
performance of this Note by Borrower and the creation or perfection of the security interest in favor
of Lender hereunder do not require any consent, waiver or approval under or give rise to any right of
termination, amendment, acceleration or cancellation of any agreement, document or instrument to
which Borrower is a party, except for the Bankruptcy Court.

                  (d) This Note and the Borrowing Order are effective to create in favor of Lender, a
legal, valid and enforceable security interest in the Collateral and proceeds thereof, which shall
constitute a fully perfected lien on, and security interest in, all right, title and interest of Lender in
such Collateral and the proceeds thereof, as security for the Obligations, in each case prior and
superior in right to any other person. Without limiting the foregoing, neither the filing of any UCC-
1 financing statement nor the obtaining of “control” (as defined in the UCC) of Collateral is required
to create or perfect any such security interest or lien. The Obligations shall, pursuant to the Borrowing
Order, be secured by the liens on the Collateral, and such Borrowing Order, as entered and final, to
be in forms reasonably acceptable to Lender.




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                                          ARTICLE VI
                                          COVENANTS

               SECTION 6.01.       So long as any Obligation shall remain unpaid or Lender shall
have any Advances due hereunder, Borrower will not, without the written consent of Lender (consent
not to be unreasonably withheld):

                       (a)     Liens, Etc. Create or suffer to exist any lien upon or with respect to
       any of his assets or properties, whether now owned or hereafter acquired, or assign or grant a
       security interest in any right to receive income, in each case to secure any indebtedness or
       contingent obligation of any person, or apply to the Bankruptcy Court for the authority to do
       any of the foregoing, other than (i) liens in favor of Lender (A) pursuant to this Note or (B)
       authorized by the Borrowing Order; and (ii) liens in existence as of the Petition Date.

                      (b)    Indebtedness and Contingent Obligations. Create or suffer to exist any
       indebtedness or contingent obligations other than ordinary course obligations as referenced
       above in Section 3.01 and the Trust Financing as referenced above in Section 1.02(b).

                     (c)    Conduct of Business. Engage in any business other than associated
       with the Chapter 11 Case.

                       (d)    Chapter 11 Claims. Without limiting the provisions of this Section,
       incur, create, assume, suffer or permit any claim or lien or encumbrance against his or any of
       his property or assets in the Chapter 11 Case to be senior to the claims of Lender against
       Borrower in respect of the Obligations hereunder, or apply to the Bankruptcy Court for
       authority to do so, except to the extent permitted herein.

                       (e)     Limitation on Repayments. (i) Make any payment or prepayment on
       any redemption or acquisition for value (including, without limitation, by way of depositing
       with the trustee with respect thereto money or securities before due for the purpose of paying
       when due) of any pre-Petition Date obligations of such person, except as expressly ordered
       by the Bankruptcy Court, (ii) pay any interest on any pre-Petition Date obligations of such
       person (whether in cash, in kind securities or otherwise), or (iii) make any payment or create
       or permit any lien pursuant to any provision of the Bankruptcy Code, or apply to the
       Bankruptcy Court for the authority to do any of the foregoing, in each case.

       SECTION 6.02.        Good Faith Finding. Unless otherwise waived by Lender, the
       Borrowing Order shall include a good faith finding under Section 364(e) of the Bankruptcy
       Code.

                                         ARTICLE VII
                                       MISCELLANEOUS


       SECTION 7.01.        Notices, Etc. Except as otherwise set forth in this Note, all notices and
       other communications provided for hereunder shall be in writing (including e-mail) and
       mailed or delivered:


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       if to Borrower:

       Yueting Jia
       (Address to be provided)
       E-Mail: to be provided.

       with a copy (which shall not constitute notice) to:

       O’Melveny & Myers LLP
       Times Square Tower
       7 Times Square
       New York, NY 10036
       Attention: Suzzanne Uhland
       E-Mail: suhland@omm.com

       with a copy (which shall not constitute notice) to:

       Pachulski Stang Ziehl & Jones LLP
       10100 Santa Monica Blvd. 13th Floor
       Los Angeles, CA 90067-4003
       Attention: Jeffrey Dulberg
       E-Mail: jdulberg@pszjlaw.com

       and if to the Lender:

       Pacific Technology Holding LLC
       1209 Orange Street,
       Wilmington, DE 19801
       Attention: Managing Members
       E-mail: to be provided.

       with a copy (which shall not constitute notice) to:

       Law Offices of David W. Meadows
       1801 Century Park East, Suite 1235
       Los Angeles, CA 90067
       Attention: David W. Meadows, Esq.
       E-Mail: david@davidwmeadowslaw.com

or, as to each party, at such other address as shall be designated by such party in a written notice to
the other parties. Unless otherwise provided herein, any notice or demand which is required or
permitted to be given under this Note shall all be deemed to have been sufficiently given and received
the earlier of (i) when received, (ii) when delivered personally, (iii) one (1) business day after being
delivered by e-mail (with receipt of appropriate confirmation), or (iv) one (1) business day after being
deposited with an overnight courier service of recognized standing having specified next day delivery
at such address, e-mail address as set forth above.


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                 SECTION 7.02. Amendments and Waiver. Any provision of this Note may be
amended or waived if, and only if, such amendment or waiver is in writing and signed, in the case
of an amendment, by Borrower and Lender, or in the case of a waiver, by Lender. No failure or delay
by Lender in exercising any right, power or privilege hereunder shall operate as a waiver nor shall
any single or partial exercise thereof preclude any other or future exercise thereof or the exercise of
any other right, power or privilege.

               SECTION 7.03. Remedies. No remedy made available by any of the provisions of
this Note is intended to be exclusive of any other remedy, and each and every remedy shall be
cumulative and shall be in addition to every other remedy given hereunder or now or hereafter
existing at law or in equity. Borrower hereby waives presentment for payment, demand, notice of
dishonor, protest and notice of protest of this Note.

                SECTION 7.04. Assignment. This Note shall be binding upon, inure to the benefit
of and be enforceable by any successor in interest to Lender; provided that either party shall not
directly or indirectly assign any of its rights or obligations under this Note (including by way of
security interest) without the prior written consent of the other party. Any assignment or transfer in
contradiction of this Section 7.04 shall be null and void.

               SECTION 7.05. Severability. In case any particular provision of this Note shall be
adjudicated by a court of competent jurisdiction to be invalid, prohibited or unenforceable for any
reason, such provision, as to such jurisdiction, shall be ineffective, without invalidating the
remaining provisions of this Note or affecting the validity or enforceability of this Note or affecting
the validity or enforceability of such provision in any other jurisdiction. Notwithstanding the
foregoing, if such provision could be more narrowly drawn so as not to be invalid, prohibited or
unenforceable in such jurisdiction, it shall, as to such jurisdiction, be so narrowly drawn, without
invalidating the remaining provisions of this Note or affecting the validity or enforceability of such
provision in any other jurisdiction.

                SECTION 7.06. Governing Law. This Note shall be governed by, and construed in
accordance with, the laws of the State of California and as to any issue of international insolvency
law or other applicable international law, this Note and all related grants of security shall be
governed by the laws of the United States of America, without giving effect to any conflicts of laws
principles thereof that would otherwise require the application of the law of any other jurisdiction,
whether domestic or international.

               SECTION 7.07. Time of the Essence. Time is of the essence with regard to this Note.


                                    [Signature Pages Follow]




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                                    Exhibit 1

                                  [see attached]
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CASE NO.: 2:18-CV-10255 SJO (MRWx)                    DATE: September 3, 2019
TITLE:    Shanghai Lan Cai Asset Management Co., Ltd. v. Jia Yueting
========================================================================
PRESENT: THE HONORABLE S. JAMES OTERO, UNITED STATES DISTRICT JUDGE

Victor Paul Cruz                                   Not Present
Courtroom Clerk                                    Court Reporter

COUNSEL PRESENT FOR PLAINTIFFS:                    COUNSEL PRESENT FOR DEFENDANTS:

Not Present                                        Not Present

========================================================================
PROCEEDINGS (in chambers): ORDER GRANTING PETITIONER'S APPLICATION
FOR PRELIMINARY INJUNCTION [Docket No. 55]; ORDER DENYING PETITIONER'S EX
PARTE APPLICATION AS MOOT [Docket No. 72]

This matter comes before the Court on Petitioner Shanghai Lan Cai Asset Management
Company Limited's ("SLCAM" or "Petitioner") Motion for Preliminary Injunction ("Motion"), filed
August 1, 2019. Respondent Jia Yueting ("Respondent" or "Jia" or "Yueting") filed an Opposition
to the Motion on August 13, 2019. Petitioner filed a Reply on August 20, 2019. The Court found
this matter suitable for oral argument and vacated the hearing set for September 3, 2019. For the
following reasons, the Court GRANTS the Motion.

I.      FACTUAL AND PROCEDURAL BACKGROUND

This action involves Petitioner's effort to confirm an arbitral award issued by the Beijing
Arbitration Commission ("BAC"). (Petition To Enforce Foreign Arbitral Award ("Petition"),
ECF No. 1.) The BAC determined that Respondent is liable to Petitioner on certain loans that
had not been repaid. BAC ordered Petitioner to repay an amount totaling over 83,000.000.00
RMB (Chinese Currency). (Petition at 1.)

A detailed summary of the facts at issue in the arbitration is unnecessary for purposes of the
instant Motion. At the outset of this litigation, this Court issued a temporary restraining order,
"enjoining Respondent from transferring, concealing, reducing, encumbering, or otherwise making
unavailable the Attachment Property until SLC's Petition is adjudicated, and a final judgment is
reached in this action." (Order Granting Temporary Restraining Order at 5, ECF No. 11.) On
March 26, 2019, this Court issued an order confirming the arbitration award. (Order Confirming
Arbitral Award, ECF No. 31.) The Court subsequently entered a judgment against Jia. (Judgment,
ECF No. 35.)

After this Court entered judgment in this matter, the central issue in this case has become
enforcing the judgment against Respondent Jia. Petitioner contends that Respondent has not
complied with this Court's judgment and has not displayed any intention to comply with the

     MINUTES FORM 11                                                                          :
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judgment. On May 1, 2019, Respondent filed a motion to alter this Court's judgment, arguing that
this Court had employed an erroneous interest rate in calculating the judgment. (See Motion To
Alter Arbitral Award, ECF No. 41.) This Court denied this motion on May 29, 2019. (See Order
Denying Motion To Alter Judgment, ECF No. 49.)

Petitioner subsequently brought the instant Motion, seeking a preliminary injunction similar to the
temporary restraining order that this Court had already issued in the instant case. (See generally
Mot., ECF No. 55.) Petitioner asks this Court to issue a preliminary injunction that prevents
Respondent from transferring, concealing, reducing, encumbering, or otherwise making
unavailable non-exempt assets up to the value of the judgment entered by this Court. (Mot. at
2.) According to Petitioner, Jia has sought to avoid paying the judgment and has signaled no
intention to satisfy his debt to Petitioner.

On August 29, 2019, Petitioner brought a second ex parte application for a temporary restraining
order. (See Ex Parte Application, ECF No. 72.) This application seeks to prevent Jia from taking
any steps with respect to his beneficial interest in Faraday & Future Inc., pending a ruling on the
instant Motion. (Ex Parte Application at 1.) According to Petitioner, Jia plans to resign as CEO
of Faraday & Future, thus hampering Petitioner's ability to collect on its judgment against Jia. (Ex
Parte Application at 1.)

These proceedings followed.

II.    DISCUSSION

To obtain a preliminary injunction, Petitioner, the moving party, must show: (1) a likelihood of
success on the merits; (2) a likelihood of irreparable harm to the moving party in the absence of
preliminary relief; (3) that the balance of equities tips in favor of the moving party; and (4) that an
injunction is in the public interest. Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008);
see also Save Our Sonoran, Inc. v. Flowers, 408 F.3d 1113, 1120 (9th Cir. 2005). The Ninth
Circuit also employs a sliding scale test whereby the existence of "serious questions going to the
merits and a balance of hardships that tips sharply towards the plaintiff can support issuance of
a preliminary injunction, so long as the plaintiff also shows that there is a likelihood of irreparable
injury and that the injunction is in the public interest." Alliance for the Wild Rockies v. Cottrell, 632
F.3d 1127, 1135 (9th Cir. 2011) (internal quotation marks omitted). "These formulations are not
different tests but represent two points on a sliding scale in which the degree of irreparable harm
increases as the probability of success on the merits decreases." Big Country Foods, Inc. v.
Board of Educ. of the Anchorage Sch. Dist., 868 F.2d 1085, 1088 (9th Cir.1989). Overall, a
preliminary injunction is an "extraordinary remedy that may only be awarded upon a clear showing
that the plaintiff is entitled to such relief." Winter, 555 U.S. at 22.

Petitioner moves for a preliminary injunction under California Code Section 526, which authorizes
courts to enter injunctions in numerous circumstances, including "[w]hen . . . a party to the action

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                                   CIVIL MINUTES - GENERAL



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is doing, or threatens, or is about to do, or is procuring or suffering to be done, some act in
violation of the rights of another party . . . and tending to render the judgment ineffectual." Cal.
Civ. Proc. Code § 526(a)(3). Although Respondent argues that this Court cannot issue a post-
judgment preliminary injunction under Procedural Code Section 526, this is an incorrect statement
of the law. Alongside Federal Rule of Civil Procedure 69(a), California Civil Procedure Code
Section 526 vests this Court with broad authority to enforce a final judgment. "The execution of
final judgments is governed by Federal Rule of Civil Procedure (“Rule”) 69(a), which provides: 'A
money judgment is enforced by a writ of execution, unless the court directs otherwise. The
procedure on execution-and in proceedings supplementary to and in aid of judgment or
execution-must accord with the procedure of the state where the court is located, but a
federal statute governs to the extent it applies.' Fed. R. Civ. P. 69(a). . . .The [California Code of
Civil Procedure] provides procedures for the assignment of assets, issuance of restraining
orders, and issuance of turnover orders." UMG Recordings, Inc. v. BCD Music Grp., Inc., No.
CV07-05808 SJO FFMX, 2009 WL 2213678, at *1 (C.D. Cal. July 9, 2009) (emphasis added).

       A.     Likelihood of Success on the Merits

The Court considers the preliminary injunction factors in turn. As a threshold matter, Petitioner
is very likely to prevail on its action to enforce the judgment against Jia. This Court has already
upheld the arbitral award issued by the BAC against Jia. Respondent must comply with the
judgment issued by this Court. Petitioner's likelihood of success on the merits is very high.

       B.     Irreparable Harm

Petitioner will suffer irreparable harm in the absence of injunctive relief. As the Court held in its
prior order on Petitioner's first Ex Parte Application, "Petitioner has made the threshold showing
necessary to show irreparable harm in the absence of preliminary injunctive relief. Respondent
Jia's record of paying creditors is poor at best." (Order Granting Temporary Restraining Order
at 4 (emphasis added).) The Court went on to note that Respondent is subject to other litigation
in this district concerning his failure to pay creditors and that Respondent is on the Chinese
government list of debt defaulters. (Order Granting Temporary Restraining Order at 4.)

These circumstances have not changed. In fact, since this Court's order on the first Ex Parte
Application, Respondent has failed to comply with the judgment of this Court, confirming that
Petitioner will suffer irreparable harm in the absence of an injunction. Aside from his lack of
compliance with this Court's judgment, Respondent also has not posted a supersedeas bond to
stay execution of the judgment. In these circumstances, there is little doubt that Petitioner will
continue to suffer irreparable harm – including the loss of a judgment to which it is rightfully
entitled – in the absence of preliminary injunctive relief.



   MINUTES FORM 11                                                                               :
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          C.    Balance of Equities and the Public Interest

The Court next considers the balance of equities and the possible harm that a preliminary
injunction will cause Jia. Although Jia has a property interest in the property that Petitioner seeks
to enjoin, Petitioner has a final judgment against Jia. Petitioner has the right to collect on this
judgment. This interest outweighs any interest that Respondent may have in his property.

          D.    Public Interest

"When the reach of an injunction is narrow, limited only to the parties, and has no impact on
nonparties, the public interest will be at most a neutral factor in the preliminary injunction
analysis." Smith, 2012 WL 12883909, at *6 (quoting Stormans v. Selecky, 586 F.3d 1109,
1138–39 (9th Cir. 2009)). Here, the preliminary injunction would only impact Petitioner and
Respondent's interests and does not extend to non-parties. Therefore, this factor is neutral.

III.      RULING

The Court GRANTS Petitioner's Motion and issues a preliminary injunction, enjoining Respondent
from taking any step to transfer, conceal, reduce, encumber, or otherwise make
unavailable—either personally or through instructions to another—any non-exempt assets up to
the value of this Court's judgment against Respondent. The property that is subject to this
injunction includes:

               1. Jia's beneficial interest in Faraday & Future Inc., of which the
               immediate owner is FF Top Holding Limited;
               2. Jia's beneficial interest in the property located at 7 Marguerite Drive,
               Ranco Palos Verdes, California 90275, of which the immediate owner is
               Ocean View Drive, Inc.;
               3. Jia's beneficial interest in the property located at 11 Marguerite Drive,
               Rancho Palos Verdes, California 90275, of which the immediate owner
               is Ocean View Drive, Inc.; and
               4. Jia's beneficial interest in the property located at 91 Marguerite Drive,
               Rancho Palos Verdes, California 90275, of which the immediate owner
               is Ocean View Drive, Inc.

Having granted the preliminary injunction, the Court DENIES Petitioner's second Ex Parte
Application as Moot.

IT IS SO ORDERED.

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                        EXHIBIT B
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                                                                                      Execution Version


                                       YT - Plan Term Sheet

                This term sheet (the “Term Sheet”) sets forth the material terms upon which
Yueting Jia (“YT” or the “Debtor”) shall, on and subject to the occurrence of the effective date
(the “Effective Date”) of a chapter 11 plan consistent in all material respects with this Term Sheet
(the “Plan”), transfer substantially all of his available assets (as described more fully below, the
“Trust Assets”) to a creditors’ trust (the “Trust”) to be formed pursuant to the Plan, the Trust
Agreement (as defined below), and this Term Sheet for the benefit of holders of allowed Debt
Claims (as defined below).

                As of the date of this Term Sheet, certain of the Trust Assets may be subject to
certain limitations and prohibitions imposed by (i) preliminary injunctions, freezing orders, and/or
similar orders from courts in the British Virgin Islands (the “BVI Injunction”) and the United
States federal courts situated in the state of California (the “U.S. Injunctions” and collectively with
the BVI Injunction, the “Injunctions”), (ii) that certain Fifth Amended and Restated Memorandum
and Articles of Association of Smart King Ltd. (“Smart King”) adopted as of October 12, 2019
(the “SK M&A”), and (iii) that certain Restructuring Agreement, dated as of December 31, 2018,
by and among Smart King, YT, Season Smart Limited, a company formed under the laws of the
British Virgin Islands (“Season Smart”), and the other parties thereto (the “Restructuring
Agreement”).

 Purpose                 The Plan will, among other things, grant each holder of an Allowed
                         Debt Claim (as defined below) or Late Filed Debt Claim (as defined
                         below) a beneficial interest (a “Trust Interest”) in the Trust or the Late
                         Filed Debt Claims Reserve (as defined below), as applicable, based on
                         the formulas set forth herein.

                         The Trust will preserve, hold, manage, and maximize the Trust Assets
                         pursuant to a trust agreement (the “Trust Agreement”) in form and
                         substance acceptable to the Official Committee of Unsecured Creditors
                         (the “Committee”) for the benefit of the holders of the Trust Interests.
                         The Trust Agreement will be included in the plan supplement and will
                         be approved in connection with confirmation of the Plan.

 Existing                As of the date of this Term Sheet and continuing until the Effective
 Corporate               Date, as a material inducement for the Committee to approve this Term
 Structure               Sheet and support the Plan, YT represents to the Committee, and on or
                         before the Effective Date, YT and Wei Gan, as applicable, shall execute
                         declarations to such effect in form and substance reasonably acceptable
                         to the Committee (respectively, the “YT Declaration” and the “Wei Gan
                         Declaration” and collectively, the “Declarations”), as follows:

                         (a) YT owns 100% of the issued and outstanding economic interests in
                         West Coast LLC (“West Coast”) through a nominee, Lian Bossert.
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                            (b) The sole asset of West Coast is 100% of the preferred membership
                            units (the “Preferred PT Units”) of Pacific Technology Holding LLC, a
                            Delaware limited liability company (“Pacific Technology”), which
                            comprise 20% of the currently issued and outstanding membership
                            interests of Pacific Technology.

                            (c) Pacific Technology is the sole owner of FF Peak Holding Limited,
                            a company organized in the British Virgin Islands (“FF Peak”).

                            (d) FF Peak is the sole owner of FF Top Holding Ltd., a company
                            organized in the British Virgin Islands (“FF Top”).

                            (e) FF Top owns 40.8% of the issued and outstanding Class B shares
                            of Smart King (the “Smart King Shares”).

                            (f) YT has a contractual right to direct Pacific Technology to direct FF
                            Peak to direct FF Top to transfer 147,058,823 of the Smart King
                            Shares (the “Trust Smart King Shares”) to the Trust (the “Smart King
                            Transfer Right”).

                            (g) Pursuant to Section 16 of the Third Amended and Restated Limited
                            Liability Company Agreement of Pacific Technology (the “PT
                            LLCA”), the Preferred PT Units entitle West Coast to receive
                            certain distributions of capital from Pacific Technology from time to
                            time (the “Preferred Unit Distribution Rights”),1 consisting of (1) a
                            priority distribution of up to $815.7 million, plus interest at 8% per
                            annum, after the return of capital to the management (plus 8% interest
                            per annum) but before any other capital is distributed from Pacific
                            Technology, plus (2) a special distribution of 10% of all remaining
                            distributions of capital from Pacific Technology, plus (3) its pro rata
                            share (i.e., 20%) of all remaining distributions of capital from Pacific
                            Technology.

                            (h) YT owns a call option (the “Call Option”) pursuant to the
                            Restructuring Agreement, entitling YT to purchase Season Smart’s
                            shares in Smart King under certain circumstances.

                            (i) YT is the sole owner of Ford Field International Limited, a company
                            organized in the British Virgin Islands (“Ford Field”).

                            (j) YT and Wei Gan own no direct or indirect ownership interests in
                            (including through any nominee, trust, or similar arrangement), do not


1
 The description of the Preferred Unit Distribution Rights in this Term Sheet is not intended to limit the actual terms
of Section 16 of the PT LLCA.

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                       directly or indirectly control, and do not hold a beneficial interest in any
                       of the entities listed on Exhibit D attached hereto, or any of their
                       respective parent companies or subsidiaries.

 Corporate             On the Effective Date, the managing member of Pacific Technology
 Structure and         shall amend the PT LLCA to:
 Governance
                              provide that the Trust is a member of Pacific Technology and
                               the holder of 100% of the Preferred PT Units,
                              issue new units of Pacific Technology to the Trust (the “New PT
                               Units”), entitling the Trust to 100% of the economic value of the
                               Trust Smart King Shares, and
                              grant the Trust a fully paid-up warrant to receive the Trust Smart
                               King Shares consistent with the Smart King Transfer Right with
                               no further action necessary by YT, exercisable upon the
                               dissolution of the Injunctions (the “Warrant”).
                       The Plan and the order confirming the Plan (the “Confirmation Order”)
                       shall (a) provide, pursuant to section 363 of the Bankruptcy Code, that
                       the Preferred PT Units and the New PT Units shall vest in the Trust free
                       and clear of any and all liens, claims, encumbrances, contractual
                       restrictions, and other interests, provided that the Preferred PT Units
                       and the New PT Units shall be subject to the PT LLCA as amended on
                       the Effective Date pursuant to, and consistent in all material respects
                       with, this Term Sheet and the Plan and (b) for so long as the Preferred
                       PT Units are outstanding, prohibit Pacific Technology and its managing
                       member from amending the PT LLCA in any manner that adversely
                       affects the rights and claims provided to the Trust as set forth in the Plan
                       and this Term Sheet.

                       Upon the dissolution of the Injunctions, the Trustee may exercise the
                       Warrant and direct FF Top to transfer the Trust Smart King Shares
                       directly to the Trust pursuant to the SK M&A, provided that the Trustee
                       shall exercise the Warrant no later than in connection with the IPO (as
                       defined below). Upon the indefeasible transfer of the Trust Smart King
                       Shares to the Trust pursuant to the Warrant, the New PT Units shall be
                       deemed permanently retired.

 Assets of the Trust   The Trust Assets shall consist of the following property of YT on the
                       Effective Date:

                       (a) 100% of the Preferred PT Units;

                       (b) 100% of the New PT Units;



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                              (c) the Warrant;2

                              (d) following the exercise of the Warrant and the indefeasible transfer of
                              the Trust Smart King Shares to the Trust, the Trust Smart King Shares;

                              (e) all financial assets of YT (i.e., accounts, securities, or real property)
                              wherever located, whether owned directly or through any nominee,
                              including, but not limited, to any Seized China Assets (defined below)
                              of YT in existence as of the Effective Date and remaining after the
                              satisfaction of any claims recoverable from such assets under applicable
                              law but excluding (i) any exempt assets of YT under section 522 of the
                              Bankruptcy Code, (ii) income of the Debtor after the Petition Date
                              (defined below) listed on Schedule J [Docket No. 28], and (iii) the
                              Debtor’s rental agreement with Warm Time Inc. and any income
                              derived from such rental agreement, or the proceeds thereof, provided
                              that the inclusion of such assets in the Trust does not include the right to
                              assert (x) any YT Claims except as set forth in the “Standstill, China
                              Restrictions, and Releases of Claims” section of this Term Sheet or (y)
                              causes of action of YT’s estate except for those expressly permitted in
                              the “Bankruptcy Actions” section of this Term Sheet;

                              (f) all interests, claims, and causes of action owned by YT (including
                              through any nominee) in connection with Beijing Dongfang Cheyun
                              Information Technology Co., Ltd. in existence of the Effective Date;

                              (g) the rights to recover property in accordance with the “Bankruptcy
                              Actions” section of this Term Sheet and all proceeds thereof;

                              (h) the Call Option, subject to certain rights of FF Global Partners LLC
                              (“FF Global”) as set forth below in the “Call Option” section of this
                              Term Sheet, which Call Option may not be exercised or transferred by
                              the Trust without the consent of FF Global;

                              (i) the proceeds of the Trust Financing (defined below) as set forth
                              below in the “Trust Financing” section of this Term Sheet; and

                              (j) YT’s interests in Ford Field.

                              After the occurrence of the Effective Date, YT may engage, at YT’s
                              sole expense, an independent valuation firm to conduct a valuation of
                              the Trust Assets (other than the proceeds of the Trust Financing) as of
                              the Effective Date. The Trustee shall cooperate in good faith with such
                              independent valuation firm as it conducts its valuation.



2
    Structure to be confirmed by tax counsel.

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 Non-Debt Claims             On the Effective Date, holders of Allowed3 Administrative Expense
                             Claims, Priority Tax Claims, Priority Non-Tax Claims, and U.S.
                             Secured Claims (each as defined in the Plan) will receive cash equal to
                             the unpaid amount of their claims, except to the extent any such holder
                             agrees to less favorable treatment or elects to receive Trust Distributions
                             (as defined below) on the dates of distributions to holders of the Trust
                             Interests in accordance with the distribution waterfall set forth on
                             Exhibit A attached hereto and as further set forth in the Trust
                             Agreement (the “Distribution Waterfall”).

                             On the Effective Date, each holder of an Allowed China Secured Claim
                             (as defined in the Plan) will receive, at the option of the Debtor and in
                             full and complete settlement, release, and discharge of, and in exchange
                             for, such Allowed China Secured Claim (a) the proceeds of the sale or
                             disposition of the collateral securing such Allowed China Secured
                             Claim in accordance with applicable law, to the extent of the value of
                             such holder’s secured interest in such collateral, (b) other treatment
                             rendering such Allowed China Secured Claim unimpaired, or (c) such
                             other treatment as may be mutually agreed to by and among such holder
                             and the Debtor or the Reorganized Debtor, as applicable. For the
                             avoidance of doubt, the Allowed amount of a China Secured Claim shall
                             equal the value of collateral securing such Allowed China Secured
                             Claim in accordance with section 506(a) of the Bankruptcy Code.

 Seized China                “Seized China Assets” means any assets that (a) (i) have already been
 Assets                      collateralized by YT or an obligor, guarantor, or pledgor, (ii) have
                             already been pledged by YT or an obligor, guarantor, or pledgor, or
                             (iii) YT, or an obligor, guarantor, or pledgor owns and (b) have been
                             seized, attached, or frozen by Chinese judiciary authorities in
                             connection with Chinese enforcement actions on account of any Debt
                             Claims.
 Debt Claims                 “Debt Claim” means any claim (as defined in section 101(5) of the
                             Bankruptcy Code) against YT that is (a) not an Administrative Expense
                             Claim, Priority Tax Claim, Priority Non-Tax Claim, China Secured
                             Claim, or U.S. Secured Claim (each as defined in the Plan),
                             (b) otherwise determined by the Bankruptcy Court (as defined in the
                             Plan) to be a Debt Claim, or (c) a Deficiency Claim (as defined below).




3
  “Allowed” means, with respect to any claim, such claim or portion thereof (a) that has been listed by YT in his
schedules of assets and liabilities as liquidated in amount and not disputed or contingent and for which no contrary
proof of claim has been filed; (b) as to which the deadline for objecting or seeking estimation has passed, and no
objection or request for estimation has been filed; (c) as to which any objection or request for estimation has been
filed has been settled, waived, withdrawn, or denied by a final order; or (d) that is allowed pursuant to (i) a final order
of the Bankruptcy Court or (ii) the Plan.

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                   “Allowed Debt Claim Allocation Amount” means the Allowed amount
                   of a Debt Claim together with any unpaid interest at the rate of four
                   percent per annum from the time the underlying debt arose through
                   October 14, 2019, the date YT filed his voluntary chapter 11 petition
                   (the “Petition Date”).

                   “Allowed Debt Claim Distribution Amount” means the Allowed Debt
                   Claim Allocation Amount minus (a) any amounts the holder of such
                   Debt Claim actually receives from the primary obligor or any guarantor
                   besides YT, of such Debt Claim based on such holder’s contractual
                   agreement with such primary obligor or the enforcement of an existing
                   collection action against a guarantor, minus (b) if the primary debt
                   obligation underlying such Debt Claim is satisfied in whole or in part by
                   conversion to equity in any jurisdiction, the corresponding reduction in
                   the amount of the Debt Claim on account of such conversion (items (a)
                   and (b) collectively, “Other Distributions”). For the avoidance of doubt
                   any Other Distributions received by a holder of an Allowed Debt Claim
                   shall be first applied to reduce the principal amount of such Debt Claim,
                   and any remaining consideration to satisfy any accrued but unpaid
                   interest.

                   “Late Filed Debt Claim” means a Debt Claim filed after the applicable
                   deadline set by the Bankruptcy Court to file claims in the chapter 11
                   case but before the occurrence of a Distribution Event (defined below).

                   The aggregate amount recoverable by any holder of a Debt Claim
                   through Other Distributions shall be reduced by the amount of any
                   distributions paid from the Trust (“Trust Distributions”) on account of
                   such Debt Claim.

                   “Deficiency Claim” means that portion of a Secured China Claim that is
                   determined pursuant to section 506(a) of the Bankruptcy Code or
                   through agreement, to exceed the value of the claimant’s interest in the
                   collateral securing such Claim. For the avoidance of doubt, all
                   Deficiency Claims shall be treated as Debt Claims.

 Late Filed Debt   On the Effective Date, the Trustee shall (a) establish a separate trust
 Claims Reserve    (the “Late Filed Debt Claims Reserve”) for the benefit of any Late Filed
                   Debt Claims and (b) transfer 10% of the Trust Assets to the Late Filed
                   Debt Claims Reserve. The Late Filed Debt Claims Reserve will have no
                   operations other than to make distributions to holders of Late Filed Debt
                   Claims and will be managed by the Trustee pursuant to a separate trust
                   agreement with substantially similar governance terms as the Trust
                   Agreement. At the conclusion of the Standstill Period (defined below),
                   any unallocated assets in the Late Filed Debt Claims Reserve shall



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                       revert to the Trust for the ratable benefit of holders of Allowed Debt
                       Claims and YT pursuant to the Distribution Waterfall.

                       In order for a Late Filed Debt Claim to be Allowed and participate in
                       the Late Filed Debt Claims Reserve, YT and the Trustee shall make
                       commercially reasonable efforts to agree that allowance of such Late
                       Filed Debt Claim in a particular amount is in the best interests of YT
                       and the Trust.

                       If YT and the Trustee do not agree to the allowance or amount of any
                       Late Filed Debt Claim, the dispute shall be resolved pursuant to the Plan
                       Arbitration Procedures (defined below). In seeking the allowance of any
                       Late Filed Debt Claim Order, YT shall bear the burden of demonstrating
                       to the Bankruptcy Court that allowance of such Late Filed Debt Claim is
                       in the best interests of YT and the Trust.

 Voting Rights with The Trustee shall exercise all voting rights, if any, with respect to the
 respect to Trust   Trust Smart King Shares owned by the Trust after the exercise of the
 Assets             Warrant.

                       Prior to the occurrence of an IPO (as defined below), (i) the Trustee
                       shall have observer rights regarding the committee meetings held by the
                       committee of managers of FF Global; and (ii) YT will use commercially
                       reasonable efforts to provide the Trustee with observer rights with
                       respect to the boards of Smart King, Faraday & Future Inc., a California
                       corporation, FF Inc., a California corporation, and all other material,
                       direct or indirect, operating subsidiaries of Smart King that hold
                       separate board meetings.

 Term of the Trust     The term of the Trust (the “Term”) will initially extend until the fifth
                       anniversary of the Effective Date (the “Initial Term”). The Term shall
                       not extend beyond the tenth anniversary of the Effective Date unless the
                       chapter 11 case is reopened to obtain a court order extending the Term.

                       If the completion of an initial public offering on the New York Stock
                       Exchange, Nasdaq, the Hong Kong Stock Exchange, the London Stock
                       Exchange, or any other internationally recognized stock exchange
                       (including China) with respect to the shares of outstanding capital stock
                       of Smart King or such other relevant listing vehicle, as applicable
                       (an “IPO”), occurs during the Initial Term, the Term and the Standstill
                       Period shall be automatically extended through the conclusion of the
                       selloff period for the Marketable Securities (as defined below) as set
                       forth on Exhibit B attached hereto.

                       If the completion of an IPO has not occurred during the Initial Term, the
                       Trustee may elect to extend the Term for successive one-year periods

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                  (or such other periods as the Trustee determines to be appropriate) to the
                  extent necessary to allow for orderly liquidation of any remaining Trust
                  Assets.

                  The Trustee shall dissolve and wind up the Trust and distribute the Trust
                  Assets upon the expiration of (a) the Initial Term, if no extension
                  (automatic or otherwise) is exercised, or (b) the expiration of any
                  extended Term of the Trust.

                  Certain aspects of the Trust will be subject to automatic amendment
                  based on aggregate distributions set forth in the Distribution Waterfall,
                  as set forth in this Term Sheet and Exhibit A hereto.

                  The Trustee may dissolve the Trust before the end of the Initial Term or
                  any extended Term if: (a) all of the Trust Assets have been distributed
                  in accordance with the Distribution Waterfall, including any
                  distributions to YT; or (b) a Liquidation Event (defined below) has
                  occurred.

                  Upon termination of the Trust, the Trustee shall obtain a valuation of
                  the Trust Assets as of the termination date (performed by an
                  independent valuation firm selected by the Trustee and approved by the
                  Creditor Trust Committee and YT) and shall, as promptly as practicable
                  following the completion of the independent valuation, distribute the
                  Trust Assets in kind to the creditors and YT in accordance with the
                  Distribution Waterfall.

 Trustee          There shall be one trustee (the “Trustee”) of the Trust. The initial
                  Trustee shall be disclosed in the disclosure statement. Any successor
                  Trustee shall be selected by majority vote of the Creditor Trust
                  Committee (as defined below), subject to approval by YT (which
                  approval shall not be unreasonably withheld), in accordance with the
                  Trust Agreement, which shall set forth certain criteria with respect to
                  the relevant experience and qualifications for the Trustee.

                  The Trustee shall act as a fiduciary and shall not be personally liable in
                  connection with the affairs of the Trust or to any person except for such
                  of the Trustee’s acts or omissions that constitute fraud, willful
                  misconduct, or gross negligence as determined by a final order of a
                  court of competent jurisdiction. In addition, the Trustee shall be
                  indemnified by the Trust against and held harmless by the Trust from
                  any losses, claims, damages, liabilities, or expenses (including, without
                  limitation, attorneys’ fees, disbursements, and related expenses) to
                  which the Trustee may become subject in connection with any action,
                  suit, proceeding, or investigation brought or threatened against the
                  Trustee in connection with any matter arising out of or related to the
                  Trust Agreement or the affairs of the Trust (other than in respect of acts

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                               or omissions that constitute fraud, willful misconduct, or gross
                               negligence, as determined by a final order of a court of competent
                               jurisdiction). The Trustee shall be entitled to obtain customary
                               fiduciary and/or errors and omissions liability insurance and engage
                               independent legal counsel and financial advisors to assist with its
                               evaluation of any matters with respect to the Trust, including any
                               Liquidation Event.

                               The Trustee shall be compensated by the Trust from Trust Assets
                               pursuant to the Trust Agreement. The Trustee shall be entitled to
                               reimburse itself out of any available cash in the Trust, for its actual out-
                               of-pocket expenses and shall be indemnified by the Trust from Trust
                               Assets against and from any and all loss, liability, expense, or damage
                               that the Trustee may sustain in good faith and without willful
                               misconduct, gross negligence, or fraud in the exercise and performance
                               of any of the powers and duties of the Trustee under the Trust
                               Agreement.

                               The Trustee may resign upon not less than sixty days’ advance written
                               notice to the Creditor Trust Committee, with such resignation to take
                               effect once a replacement Trustee has been appointed.

                               The Creditor Trust Committee may remove the Trustee in the event the
                               Trustee commits any act or omission that constitutes fraud, breach of
                               fiduciary duty, willful misconduct, or gross negligence. Upon the
                               removal of the Trustee as set forth in the immediately preceding
                               sentence, the Creditor Trust Committee shall have the right to appoint a
                               replacement Trustee, subject to approval by YT (which approval shall
                               not be unreasonably withheld).

    Trust Financing            As a condition precedent to the occurrence of the Effective Date, YT
                               and/or the Committee shall have obtained committed financing, on
                               terms and conditions acceptable to the Committee and YT, in an amount
                               not less than $1,500,000 to fund the operation of the Trust for the Initial
                               Term, plus such amount as necessary to make payments required to be
                               made in connection with the Plan (the “Trust Financing”).4 The
                               proceeds of the Trust Financing in excess of payments required to be
                               made under the Plan shall be deposited into the Trust on the Effective
                               Date and shall be Trust Assets.

    Trust Expenses             The professional fees, costs, and other expenses incurred by the Trustee
                               in connection with the administration of the Trust shall be paid from the
                               proceeds of the Trust Financing and the relevant Trust Assets.


4
    The parties will work to reach an agreement with respect to the necessary level of Trust Financing.

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 Liquidation Event   The term “Liquidation Event” means, with respect to Pacific
                     Technology, Smart King, any of their respective material direct or
                     indirect subsidiaries, or any future public listing vehicle for the global
                     subsidiaries of Smart King or Pacific Technology, each of the following
                     events to the extent that the event materially reduces the direct or
                     indirect percentage ownership in Smart King or such other future public
                     listing vehicle by the Trust other than by virtue of an equity investment
                     by a bona fide third party: (a) the commencement of an assignment for
                     the benefit of creditors, a receivership, a case under chapter 7 of the
                     Bankruptcy Code, or a similar insolvency proceeding; (b) the effective
                     date of a liquidating plan under chapter 11 of the Bankruptcy Code, or
                     (c) the effective date of a reorganization plan under chapter 11 of the
                     Bankruptcy Code, provided that internal reorganizations (including
                     mergers or dissolutions for tax or other purposes) that do not adversely
                     impact the value of the Trust’s direct or indirect interests in Smart King
                     or such other future public listing vehicle are not intended to be
                     Liquidation Events.

 Distributions;      Upon receipt of the distributable proceeds by the Trust from any
 Creditor Claims     disposition, or dividends or distributions in respect, of any Trust Assets
 Waterfall           (such proceeds, the “Distributable Proceeds” and such an event, a
                     “Distribution Event”), the Distributable Proceeds will be distributed in
                     accordance with the Distribution Waterfall upon the earlier of (a) sixty
                     days following the occurrence of such Distribution Event, and (b) the
                     termination of the Trust.

                     The Trustee may delay or defer the distribution of any Distributable
                     Proceeds (whether cash, securities, or other property) received by the
                     Trustee in respect of the Trust Assets to the creditors if the Trustee
                     determines that such deferral or delay is in the best interests of the
                     creditors (including if such distribution would violate any court order or
                     applicable law).

 Disposition of      The schedule for disposition of shares of Smart King directly owned by
 Smart King          the Trust and that are registered under securities law or listed (the
 Shares after the    “Marketable Securities”) shall be governed in accordance with Exhibit
 IPO                 B attached hereto. The PT LLCA will include provisions that the
                     managing member of Pacific Technology will use commercially
                     reasonable efforts to dispose of Marketable Securities owned or
                     controlled by Pacific Technology in which the Trust owns a beneficial
                     interest on a similar schedule until the priority distribution of $815.7
                     million (plus accrued amounts) under the PT LLCA in connection with




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                            the Preferred PT Units is paid to the Trust.5 The Distributable Proceeds
                            shall be distributed in accordance with the Distribution Waterfall.

                            At any time upon the request of the managing member of Pacific
                            Technology, and subject to applicable securities law, the Trustee shall
                            distribute the Marketable Securities in kind to the creditors in lieu of any
                            cash distribution. The value of the Marketable Securities shall be the
                            average closing trading price for the five consecutive trading days
                            immediately prior to the distribution.

    Creditor Trust          The creditors shall be represented by a committee (the “Creditor Trust
    Committee               Committee”), which shall consist of no more than five creditors holding
                            Allowed Debt Claims, or their designees. The members of the Creditor
                            Trust Committee, when taking any action in their capacity as such, shall
                            serve as fiduciaries to the beneficiaries of the Trust and not act in their
                            individual interests. The initial members of the Creditor Trust
                            Committee must be acceptable to the Committee and will be disclosed
                            in the plan supplement. Any replacement members of the Creditor Trust
                            Committee will be selected by the Trustee in accordance with the
                            qualification requirements to be set forth in the Trust Agreement. The
                            Creditor Trust Committee shall act by the vote of a majority (over 50%)
                            of the members thereof, unless otherwise specified in the Trust
                            Agreement.

                            The members of the Creditor Trust Committee shall not be
                            compensated, but shall be reimbursed for all reasonable out-of-pocket
                            expenses incurred in connection with their service on the Creditor Trust
                            Committee, other than the fees and expenses of counsel to individual
                            members of the Creditor Trust Committee. The Creditor Trust
                            Committee may employ advisors for specified purposes, and the Trustee
                            will pay the fees and expenses of any such advisors retained by the
                            Creditor Trust Committee.

                            The Trustee shall not take any of the following actions without the
                            approval of the Creditor Trust Committee:

                                     incur expenses on behalf of the Trust in excess of US$50,000;
                                      provided, however, that such approval shall be deemed granted
                                      if not specifically denied within ten business days after a written
                                      request from the Trustee;


5
  The amended PT LLCA will include a provision to obtain a valuation of Pacific Technology to provide the managing
member with the right to purchase under circumstances to be agreed upon by the managing member and the Creditor
Trust Committee in their respective sole discretion and will include a right of first refusal for Pacific Technology or
its managing member to purchase any shares or units proposed to be sold by the Trust, provided that the right of first
refusal shall be on terms no less favorable than those offered to the third-party purchaser.

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                            retain and pay professionals, including legal counsel,
                             independent accounting firms, valuation firms, or third parties to
                             assist with the administration of the Trust Assets; provided,
                             however, that such approval shall be deemed granted if not
                             specifically denied within ten business days after a written
                             request from the Trustee;
                            except as provided in the Trust Agreement, sell or transfer any
                             Trust Assets;
                            invest any moneys held by the Trust other than in bank deposits
                             and U.S. Treasury securities; provided, however, that such
                             approval shall be deemed granted if not specifically denied
                             within ten business days after a written request from the Trustee;
                            settle or compromise any litigation claim in excess of US$5
                             million; provided, however, that such approval shall be deemed
                             granted if not specifically denied within ten business days after a
                             written request from the Trustee;
                            take any action that would result in the Trust becoming an
                             “investment company” within the meaning of the Investment
                             Company Act of 1940, as amended;
                            amend the Trust Agreement in any manner that is adverse to the
                             creditors;
                            initiate an action under section 548 of the Bankruptcy Code as
                             set forth below in “Bankruptcy Actions,” which initiation shall
                             require an affirmative vote of four members of the Creditor
                             Trust Committee irrespective of any quorum requirement in the
                             Trust Agreement; or
                            initiate an action under section 542 of the Bankruptcy Code as
                             set forth below in “Bankruptcy Actions,” which initiation shall
                             require an affirmative vote of at least three members of the
                             Creditor Trust Committee irrespective of any quorum
                             requirement in the Trust Agreement.

                  As noted in the Distribution Waterfall, the Creditor Trust Committee
                  will be replaced by YT when aggregate distributions under the
                  Distribution Waterfall reach certain levels.

 Information      The Trustee shall cause to be prepared and distributed to the Creditor
 Rights           Trust Committee (for further distribution to the creditors):

                            within forty-five days after the end of each calendar quarter and
                             within ninety days after the end of each calendar year (a) a
                             statement of net assets of the Trust, (b) a statement of changes in
                             net assets of the Trust, (c) a statement of cash flows of the Trust,
                             (d) a schedule summarized by type of investments and assets,
                             indicating acquisitions and dispositions, and (e) a summary


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                              listing of the status of the resolution of claims involving the
                              Trust or any of the Trust Assets, if any.

 FF Information       The Trustee shall be provided the following information on a
                      confidential, professionals eyes only basis, to the extent such
                      information is otherwise prepared by Smart King or Faraday & Future
                      Inc. (“FF”) for reporting to their financing sources or shareholders (the
                      Trustee may share such information on confidential and aggregated
                      basis with the Creditor Trust Committee):

                             within ninety days after the end of each calendar year, audited
                              consolidated financial statements of Smart King or such other
                              future public listing vehicle for the global subsidiaries of Smart
                              King;

                             within forty-five days after the end of each of the first three
                              quarters in each year of Smart King, a consolidated balance
                              sheet of Smart King and its subsidiaries, together with related
                              consolidated statement of operations and retained earnings,
                              consolidated statement of stockholders’ equity, and consolidated
                              statement of cash flows for such fiscal quarter;

                             not more than ninety days after the beginning of each year of
                              Smart King, an annual business plan and budget of Smart King
                              and its subsidiaries;

                             such other regular financial reporting, if any, prepared by Smart
                              King for its lenders and shareholders.

                      In addition, the Trustee shall be provided such other of FF’s financial
                      information provided to the Partner Executive Committee of FF Global
                      (the “Partner Executive Committee”) when such information is provided
                      to the Partner Executive Committee.
 Transferability of   The Trust Interests may be transferred upon notice to the Trustee and
 Trust Interests      compliance with Fed. R. Bankr. P. 3001(e) and any applicable law.

                      Notwithstanding the foregoing, the Trust Interests may not be
                      transferred to the extent that such transfer would (a) based on the advice
                      of counsel to the Trust, jeopardize the Trust’s tax treatment; (b) cause
                      the Trust to become subject to any governmental controls or regulations
                      that affect the administration of the Trust and the Trust Assets,
                      including, but not limited to, any SEC reporting requirements;
                      (c) violate applicable law (including any securities law) or any
                      instrument to which the Trust is a party or by which it is bound; or
                      (d) cause the Trust to become an “investment company” within the
                      meaning of the Investment Company Act of 1940, as amended.

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 Future Equity         In order to align incentives and reward YT for achieving FF’s strategic
 Incentive Plan        goals, it is anticipated that a management incentive equity plan will be
                       adopted to grant certain stock-based awards to or at the direction of YT
                       upon the achievement of financial targets upon a Distribution Event,
                       provided that the stock-based awards granted to YT shall not exceed the
                       awards set forth in Exhibit C attached hereto without the consent of the
                       Trustee (which consent shall not be unreasonably withheld).

 Governing Law         This Term Sheet shall be governed and construed in accordance with
                       the laws of the State of California, without regard to its choice of law
                       principles. The Trust Agreement will be governed and construed in
                       accordance with the laws of the State of Delaware, without regard to its
                       choice of law principles.

 Amendments to         The Trust Agreement will not be amended without the approval of the
 Trust Agreement       Creditor Trust Committee (other than the automatic amendments
                       specified in the Distribution Waterfall).

 Subsequent Equity Nothing in this Term Sheet shall be construed as to prohibit or restrict in
 Investment;       any manner any subsequent equity investment or equity incentive in
 Equity Incentives Smart King or any of its subsidiaries by any person, provided that in no
                   event shall any equity incentive program adopted by Smart King or any
                   other direct or indirect subsidiary of Pacific Technology grant YT any
                   equity interest greater than, or on terms more favorable than, as set forth
                   on Exhibit C, without the consent of the Trustee (which consent shall
                   not be unreasonably withheld).

 Call Option           Upon the occurrence of the Effective Date, the Call Option shall vest in
                       the Trust free and clear of any and all liens, claims, encumbrances,
                       contractual restrictions, and other interests pursuant to section 363 of
                       the Bankruptcy Code, provided that the Plan shall require (a) the
                       Trustee to obtain the consent of the Partner Executive Committee prior
                       to any exercise or transfer of the Call Option by the Trust; and (b) the
                       Trustee, upon request by FF Global, to directly transfer or transfer the
                       underlying economic rights of the Call Option (including by exercising
                       the Call Option and thereafter conveying the related shares in Smart
                       King to the applicable counterparty) as requested by FF Global in
                       connection with a bona fide unrelated third-party financing, as follows:
                       (i) 50% of the Call Option to the counterparty to a bona fide unrelated
                       third-party financing providing Smart King and its subsidiaries with not
                       less than $100 million of net proceeds, (ii) 100% of the Call Option to
                       the counterparty to a bona fide unrelated third-party financing providing
                       Smart King and its subsidiaries with not less than $250 million of net
                       proceeds, or (iii) a ratable percentage of the Call Option to the
                       counterparty to a bona fide unrelated third-party financing providing

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                            Smart King and its subsidiaries with net proceeds greater than $100
                            million and less than $250 million (i.e., an additional 1% of the Call
                            Option for each additional $3 million of net proceeds beyond $100
                            million) ((i), (ii), or (iii), a “Qualifying Financing”), provided that FF
                            Global may request the Trustee to transfer the Call Option for a
                            financing of Smart King and its subsidiaries other than a Qualifying
                            Financing subject to the consent of Trustee and approval by a majority
                            of the Creditor Trust Committee in their respective business judgment.
                            Any consideration paid, if any, in exchange for the transfer of the Call
                            Option either as part of a separate transaction providing for such
                            transfer or attributable to the transfer of the Call Option in a financing
                            transaction, whether in conjunction with a Qualifying Financing or
                            otherwise, shall be paid directly to the Trust and shall constitute Trust
                            Assets.

    Standstill, China       Standstill. To the maximum extent permitted by applicable law, each
    Restrictions, and       holder of an Allowed Debt Claim shall agree for a period of four years
    Releases of             after the Effective Date (the “Standstill Period”) to not assert any new
    Claims6                 Causes of Action (as defined in the Plan) against YT for personal
                            liability directly or derivatively in its capacity as a creditor of a claim
                            owed solely or jointly by YT (including unwinding or alter ego type
                            claims) in any non-U.S. jurisdiction (the “YT Claims”); provided,
                            however, that such holder may continue to prosecute any actions
                            commenced prepetition against YT up to judgment and pursue Other
                            Distributions through judicial authorities in the People’s Republic of
                            China to satisfy such holder’s Debt Claim through a mechanism that
                            will be mutually agreed to by the parties, including claims against
                            primary obligors solely based on such holder’s contractual agreements
                            with such primary obligors (for the avoidance of doubt, such holder may
                            not bring unwinding or alter ego type claims against such primary
                            obligors); provided, however, that the Standstill Period shall terminate
                            in the event a Liquidation Event occurs during the Standstill Period.

                            Tolling. YT shall stipulate in the Confirmation Order that all limitations
                            periods applicable to all YT Claims in any non-U.S. jurisdictions, to the
                            extent not previously expired, are tolled for the duration of the Standstill
                            Period. If reasonably requested by the Committee or the Creditor Trust
                            Committee, as applicable, YT shall enter into a global tolling agreement
                            evidencing such tolling.

                            China Restrictions. Each holder of an Allowed Debt Claim or Allowed
                            Late Filed Debt Claim shall, within ninety days after the later to occur

6
  For the avoidance of doubt, nothing in this section of the Term Sheet shall affect the rights of holders of Allowed
China Secured Claims to pursue the collateral securing such claim as set forth in the “Non-Debt Claims” section of
this Term Sheet.

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                              of (a) the Effective Date and (b) the date such Debt Claim or Late Filed
                              Debt Claim becomes Allowed, take the steps and provide the documents
                              described in the Trust Agreement to (i) notify the applicable court or
                              courts in the People’s Republic of China (the “Chinese Courts”) that YT
                              and such holder and, subject to the Wei Gan Settlement,7 Wei Gan and
                              such holder, have reached a settlement agreement that is embodied in
                              and has been implemented through the Plan and (b) request that the
                              Chinese Courts remove YT and, subject to the Wei Gan Settlement, Wei
                              Gan from the List of Dishonest Judgment Debtors (the “China Debtor
                              List”) and lift any consumption or travel restrictions (the “China
                              Restrictions”), as applicable, and shall refrain from taking any action
                              during the Standstill Period to cause YT and, subject to the Wei Gan
                              Settlement, Wei Gan, to be reinstated on the China Debtor List or be
                              subject to the China Restrictions (the “China Debtor List Covenant”).
                              To the extent practicable, forms for holders of Allowed Debt Claims
                              and Allowed Late Filed Debt Claims to comply with the China Debtor
                              List Covenant shall be included in the plan supplement and approved as
                              part of the Confirmation Order.8

                              Before any Trust Distributions are made to the holder of an Allowed
                              Debt Claim or an Allowed Late Filed Debt Claim, such holder shall
                              provide an affidavit that (a) certifies such holder’s compliance with the
                              China Debtor List Covenant, (b) certifies that they have not initiated any
                              YT Claims during the Standstill Period or after the Liability Release
                              Date, as applicable, (c) identifies any amounts received from Other
                              Distributions as of the date of the affidavit, and (d) certifies such
                              holder’s compliance with Annex I to this Plan Term Sheet and the
                              release of Wei Gan’s personal liability.

                              Effectiveness of YT Release. Each holder of an (a) Allowed Late Filed
                              Debt Claim, on the date of allowance of such Late Filed Debt Claim or
                              (b) Allowed Debt Claim, once it has received Trust Distributions and
                              Other Distributions (from enforcement or other actions) that, in the
                              aggregate, are equal to 20% of its Allowed Debt Claim Allocation
                              Amount (the date upon which the foregoing condition occurs is the
                              “Liability Release Date”) (i) shall be deemed to have released the YT
                              Claims on account of such Debt Claim or Late Filed Debt Claim in
                              every jurisdiction and (ii) agrees that it shall not assert any new, or
                              continue to prosecute any existing, YT Claims related to such Debt
                              Claim or Late Filed Debt Claim in every jurisdiction; provided,
                              however, that the foregoing release shall not release, waive, or
                              otherwise impact the rights of such holder to receive further Trust


7
    The Wei Gan Settlement is set forth in Annex I to this Term Sheet.
8
    Under review and discussion with international counsel.

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                     Distributions or to pursue and receive Other Distributions through a
                     mechanism that will be mutually agreed to by the parties.

                     Within ninety days after the applicable Liability Release Date with
                     respect to Allowed Debt Claims or the date of allowance of a Late Filed
                     Debt Claim, each holder of an Allowed Debt Claim or Allowed Late
                     Filed Debt Claim shall (as a condition to receiving further Trust
                     Distributions, including any Trust Distributions upon the termination or
                     dissolution of the Trust) (a) withdraw or retract any litigations,
                     enforcement actions, arbitrations, and any other proceedings against YT
                     from the courts and judicial authorities in all jurisdictions, including, but
                     not limited to, the Chinese Courts, or confirm with the judicial
                     authorities that YT has settled all of his debt obligations or legal
                     responsibilities to such holder and (b) file and execute any documents
                     requested by YT to evidence the above release. YT reserves all rights to
                     seek enforcement by the Chinese judicial authorities of the rights
                     provided herein.

 Parties’ Expenses   Each party shall be responsible for its respective fees and expenses
                     incurred in connection with the preparation and negotiation of this Term
                     Sheet and the Trust Agreement.

 Discharge           As a condition to the Effective Date, the Declarations shall have been
                     delivered to the Committee. YT shall receive a discharge of all claims
                     dischargeable under U.S. bankruptcy law upon the Effective Date to the
                     greatest extent permissible under section 1141(d)(1)(A) of the
                     Bankruptcy Code, and the Plan and Confirmation Order will
                     permanently enjoin any creditor from pursuing YT personally in the
                     United States in connection with any claim discharged under the Plan,
                     without prejudice to the rights of any party with standing to seek to
                     enforce the Plan or any of YT’s obligations thereunder. If the discharge
                     under the Confirmation Order is revoked for any reason, (a) the
                     Confirmation Order shall be of no further force or effect, (b) the Plan
                     shall be null and void in all respects, (c) no distributions under the Plan
                     shall be made, and (d) the Debtor and all holders of claims shall be
                     restored to the status quo ante as of the day immediately preceding
                     entry of the Confirmation Order.

 DIP Financing       YT will seek approval of debtor in possession financing from Pacific
                     Technology (the “DIP Financing”). YT’s obligations under the DIP
                     Financing shall be treated as a superpriority administrative claim and
                     secured by both YT’s non-China and China assets.

 Plan Arbitration    The plan supplement shall designate an arbitrator acceptable to YT and
 Procedures          the Committee in their respective discretion (the “Arbitrator”) and set
                     forth confidential arbitration procedures (the “Plan Arbitration

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                  Procedures”) for the resolution of all Plan-related disputes (including,
                  without limitation, disputes related to the allowance or amount of any
                  Late Filed Debt Claim) arising between YT, on the one hand, and the
                  Trust, the Trustee, and/or the Creditor Trust Committee, on the other
                  hand, provided that the Plan or the Trust Agreement may designate
                  another forum for resolution of particular disputes. For the avoidance of
                  doubt, notwithstanding the Plan Arbitration Procedures, the Bankruptcy
                  Court shall retain ultimate supervisory jurisdiction over the
                  administration of the Trust until the end of the Term.

 Bankruptcy       The Plan shall provide that:
 Actions              In the event the Trustee (with the approval of the Creditor Trust
                         Committee as set forth in the “Creditor Trust Committee”
                         section of this Term Sheet) determines that it has reasonable and
                         good-faith evidence that (a) an asset, other than any of the
                         Seized China Assets or assets subject to seizure in China was
                         property of YT as of the Petition Date but was not disclosed by a
                         document or testimony in his capacity as a chapter 11 debtor
                         during the chapter 11 case, including, without limitation, in any
                         disclosure statement, schedules, statements of financial affairs,
                         section 341 meeting of creditors, confidential depositions, and
                         materials posted in the creditor data room (the “Chapter 11
                         Disclosures”), provided that the Declarations shall supersede the
                         Chapter 11 Disclosures, the Trustee may pursue an action for
                         turnover of such asset under section 542 of the Bankruptcy Code
                         through the Plan Arbitration Procedures; or (b) YT was the
                         transferor of a transfer avoidable pursuant to section
                         548(a)(1)(A) of the Bankruptcy Code, the Trustee may pursue an
                         action to avoid and recover such transfer pursuant to sections
                         548(a)(1)(A) and 550 of the Bankruptcy Code, as applicable,
                         through the Plan Arbitration Procedures, provided that such
                         transfer did not arise out of any transaction or occurrence
                         disclosed in the Chapter 11 Disclosures, provided further that
                         the Declarations shall supersede the Chapter 11 Disclosures
                         (collectively, (a) and (b) are the “Bankruptcy Actions”).

                            Any Bankruptcy Actions must be commenced within one
                             hundred eighty days after the Effective Date (the “Bankruptcy
                             Actions Limitations Period”), provided that the Trustee shall
                             meet and confer with YT prior to commencing any Bankruptcy
                             Action, and the Bankruptcy Actions Limitations Period with
                             respect to such Bankruptcy Action shall be automatically tolled
                             for a period of thirty days while the parties meet and confer,
                             subject to extension by mutual agreement.




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                            Upon the expiration of the Bankruptcy Actions Limitations
                             Period, any Bankruptcy Actions that have not been timely
                             asserted pursuant to the foregoing procedures shall be deemed
                             satisfied and released, effective as of the Effective Date.




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Dated: February 27, 2020


 On behalf of the Debtor and Debtor in Possession   On behalf of the Official Committee of
                                                    Unsecured Creditors


  /s/ Suzzanne Uhland                                /s/ Andrew D. Behlmann

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                                                     Co-Counsel to the Official Committee of
                                                     Unsecured Creditors


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                                                       Exhibit A

                                            Creditor Claims Waterfall1

           Trust Assets shall be distributed as follows:

       (a) First, to repay the Trust Financing, if any, pursuant to the terms thereof and the Trust
           Agreement;

       (b) Second, to repay the DIP Facility if extended past the Effective Date pursuant to the
           terms of the Secured Debtor in Possession Promissory Note, by and among Pacific
           Technology, as Lender, and the Debtor, as Borrower and the Trust Agreement;

       (c) Third, to each holder of an Administrative Expense Claim, Priority Tax Claim, Priority
           Non-Tax Claim, or U.S. Secured Claim that has elected to receive Trust Interests in full
           and complete settlement, release, and discharge of their claim against YT, equal to the
           Allowed amount of such claim;

       (d) Fourth, to pay Trust Distributions allocated (i) 95% to holders of Allowed Debt Claims,
           and (ii) 5 % to YT (or the economic equivalent of such Trust Distributions as set forth in
           the Trust Agreement), until each holder of an Allowed Debt Claim has received
           aggregate Trust Distributions (in cash or in kind) pursuant to this clause (c) equal to the
           full amount of such holder’s Allowed Debt Claim Distribution Amount; and

       (e) Fifth, after all holders of Allowed Debt Claims have received Trust Distributions equal to
           their respective Allowed Debt Claim Distribution Amounts, any remaining Trust
           Distributions shall be allocated between the holders of Allowed Debt Claims (to be
           further allocated pro rata based on their respective Allowed Debt Claim Allocation
           Amounts) and YT, as follows:

                                                         YT                Holders of Allowed Debt Claims
             Amounts less than $1B                       50%                             50%
             Amounts greater than $1B                    70%                             30%
             < $2B2
             Amounts greater than $2B                    80%                                 20%
             < $3B
             Amounts greater than $3B                    90%                                 10%
             < $4B




1
    Tax issues related to distributions for the Late Filed Claims Reserve are under discussion.
2
 Upon reaching such distribution level, the Trust Agreement will be automatically amended to replace the Creditor
Trust Committee with YT.
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          Amounts greater than                        95%                                   5%
          $4B3




3
 Upon reaching such distribution level, the Trust Agreement will be automatically amended to provide for a separation
of YT’s interests in the Trust from the residual 5% interest of holders of Allowed Debt Claims. After such separation,
holders of Allowed Debt Claims shall not receive any distribution from YT’s interests constituting 95% of amounts
greater than $4 billion. YT shall not receive any distribution from the residual 5% interest of holders of Allowed Debt
Claims.
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                                                    Exhibit B


                     Restrictions on the Sale of Trust Smart King Shares Post-IPO1
          Entry into Lockup            The Trust will enter into a lockup agreement (the “Lockup
          Agreement                    Agreement”) with the same terms and conditions
                                       regarding the sale of the Trust Smart King Shares of any
                                       lockup and sale restriction agreement that the insiders and
                                       management of FF are subject to in connection with the
                                       underwriting.
          In connection with IPO       The Trust may sell the lesser of (a) what is permitted
                                       under the Lockup Agreement and (b) 5% of the shares
                                       such holder owns at the time of the IPO.
          Subsequent Sales                   The Trust may sell the lesser of (a) what is permitted
                                             under the Lockup Agreement and (b):
                                                  No more than 1% per month in year 1 after any “no
                                                   sale” period;
                                                  No more than 2% per month in year 2 after any “no
                                                   sale” period;
                                                  No more than 3% per month in year 3 after any “no
                                                   sale” period;
                                                  No more than 4% per month in year 4 after any “no
                                                   sale” period; and
                                                  No limitation after year 4.




1
 These sale restrictions only apply to the Trust Smart King Shares and do not apply to the preferred units of Pacific
Technology that are being transferred to the Trust, which shall be governed by the terms of the PT LLCA.
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                                                  Exhibit C1

                                       Future Equity Incentive Plan

The total available equity awards under the Future Equity Incentive Plan will be as follows:

 Smart King Total Equity
           Value                         $5,000                $10,000            $21,000
    (millions of USD):
Dilution of outstanding and
reserved shares on the date
of valuation                              2%               Additional 3%       Additional 3%




1
    For disclosure purposes only.
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                                        Exhibit D

                                         Entities

a.   Atieva, Inc. D/B/A Lucid Motors, Inc.;
b.   BAIC Motor Vehicle Co. Ltd.;
c.   Blitz Technology Hong Kong Co. Limited;
d.   Blue Sea Legend LLC;
e.   Evergrande Health Industry Group;
f.   Hankey Capital LLC;
g.   Hengtian Zhongyan Investment Management Co., Ltd.;
h.   Innovation Era Holding Ltd.;
i.   Ki Lun Trading Ltd.;
j.   Kin Kin (Hong Kong) Limited;
k.   Lanfeng (HK) Holding Limited;
l.   LeSoar Holdings Limited;
m.   Liberal Faith Limited (BVI);
n.   Lucid Motors, Inc.;
o.   Ningbo Hangzhou Bay New District Lenuo Investment Management Co., Ltd.;
p.   Ocean View Drive, Inc.;
q.   Royod LLC;
r.   Segomind, Inc.;
s.   Shing Wai Trading Limited;
t.   Shou Yi Lian Jie (Beijing) Technology Ltd. Co.;
u.   Success Pyramid Ltd.;
v.   Warm Time, Inc.; and
w.   Yi Jia Living Trust
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                           Annex I to YT - Plan Term Sheet

 Wei Gan         In exchange for, and subject to (a) a Cash contribution from Wei Gan in the
 Settlement      amount of $1,000,000 to the Trust on the Effective Date, which shall
                 constitute Trust Assets (the “Effective Date Wei Gan Payment”), (b) a Cash
                 payment of $250,000 to the Trust no later than ninety days after the
                 Effective Date (the “Second Wei Gan Payment”), (c) Wei Gan’s agreement
                 not to assert any other prepetition or postpetition Claims against the Debtor
                 or the Trust, and (d) execution of the Wei Gan Declaration (collectively,
                 (a), (b), (c), and (d) are the “Wei Gan Release Consideration”), the
                 following shall occur:

                 (a)     Upon the Effective Date Wei Gan Payment, (i) the China Debtor
                 Covenant shall apply to Wei Gan; and (ii) Wei Gan’s alleged Debt Claim
                 against the Debtor [Claim No. 20004] shall be treated as an Allowed Debt
                 Claim in the amount of $250,000,000.

                 (b)      Upon the Second Wei Gan Payment, (the date upon which the
                 foregoing condition occurs is the “Wei Gan Liability Release Date”),
                 (i) Wei Gan’s alleged Debt Claim against the Debtor [Claim No. 20004]
                 shall be treated as an Allowed Debt Claim in the amount of $500,000,000;
                 and (ii) each holder of an (x) Allowed Late Filed Debt Claim, on the date
                 of allowance of such Late Filed Debt Claim or (y) Allowed Debt Claim (A)
                 shall, in addition to the discharge of community claims under section 524(a)
                 of the Bankruptcy Code, be deemed to have released any Causes of Action
                 against Wei Gan for personal liability or derivatively in its capacity as a
                 creditor of a claim owed solely or jointly by Wei Gan (including unwinding
                 or alter ego type claims) in any jurisdiction (the “Wei Gan Claims”) on
                 account of such Debt Claim or Late Filed Debt Claim to the maximum
                 extent permitted by applicable law and (B) agrees that it shall not assert any
                 new, or continue to prosecute any existing, Wei Gan Claims related to such
                 Debt Claim or Late Filed Debt Claim in every jurisdiction.

                 Within ninety (90) days after the Wei Gan Liability Release Date with
                 respect to an Allowed Debt Claim or the date of allowance of an Allowed
                 Late Filed Debt Claim, each holder of an Allowed Debt Claim or Allowed
                 Late Filed Debt Claim shall (as a condition to receiving further Trust
                 Distributions, including any Trust Distributions upon dissolution of the
                 Trust) (a) withdraw or retract any litigations, enforcement actions,
                 arbitrations, and any other proceedings against Wei Gan from the courts
                 and judicial authorities in all jurisdictions, including, but not limited to, the
                 Chinese Courts, or confirm with the judicial authorities that Wei Gan has
                 settled all of her debt obligations or legal responsibilities to such holder and
                 (b) file and execute any documents requested by Wei Gan to evidence the
                 above release. Wei Gan reserves all rights to seek enforcement by the
                 Chinese judicial authorities of the rights provided herein.
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                 For the avoidance of doubt, upon the Wei Gan Liability Release Date, any
                 Causes of Action against Wei Gan shall be deemed released and satisfied.

                 Notwithstanding anything to the contrary herein, pursuant to the divorce
                 proceeding pending in the People’s Court of Chaoyang District, Beijing,
                 China ,Wei Gan and the Debtor’s three minor children may be awarded
                 spousal and/or child support, which obligations shall be satisfied in
                 accordance with Article 2.4 of the Plan but, for the avoidance of doubt,
                 shall not constitute claims against the Trust or otherwise have any claim
                 against or interest in Trust Assets.
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                        EXHIBIT C
                                                                   Case 2:19-bk-24804-VZ             Doc 384 Filed 02/27/20 Entered 02/27/20 20:26:57                            Desc
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                                                                            Richard M. Pachulski (CA Bar No. 90073)
                                                                   1        Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                            Malhar S. Pagay (CA Bar No. 189289)
                                                                   2        PACHULSKI STANG ZIEHL & JONES LLP
                                                                            10100 Santa Monica Blvd., 13th Floor
                                                                   3        Los Angeles, California 90067
                                                                            Telephone: 310/277-6910
                                                                   4        Facsimile: 310/201-0760
                                                                            E-mail: rpachulski@pszjlaw.com
                                                                   5                mpagay@pszjlaw.com
                                                                                    jdulberg@pszjlaw.com
                                                                   6
                                                                            Attorneys for Debtor and Debtor-in-Possession
                                                                   7

                                                                   8                                   UNITED STATES BANKRUPTCY COURT
                                                                   9                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                  10                                              LOS ANGELES DIVISION
                                                                  11   In re:                                                       Case No.: 2:19-bk-24804-VZ
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                                                                  12   YUETING JIA1,
                                                                                                                                    Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13
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                                                                                                          Debtor.
                                                                                                                                    ORDER PURSUANT TO SECTIONS 105, 362
                                                                  14                                                                AND 364 OF THE BANKRUPTCY CODE
                                                                                                                                    AND BANKRUPTCY RULES 2002, 4001 AND
                                                                  15                                                                9014: (1) AUTHORIZING POST-PETITION
                                                                                                                                    FINANCING AND (2) GRANTING LIENS
                                                                  16                                                                AND PROVIDING SUPERPRIORITY
                                                                                                                                    ADMINISTRATIVE EXPENSE PRIORITY
                                                                  17                                                                AND (3) MODIFYING THE AUTOMATIC
                                                                                                                                    STAY
                                                                  18
                                                                                                                                    [Related to Docket No. ___]
                                                                  19
                                                                                                                                    Date:      March 19, 2020
                                                                  20                                                                Time:      9:30 a.m.
                                                                                                                                    Place:     United States Bankruptcy Court
                                                                  21                                                                           255 E. Temple Street,
                                                                                                                                               Los Angeles, CA 90012
                                                                  22                                                                Courtroom: 1368
                                                                                                                                    Judge:     Hon. Vincent P. Zurzolo
                                                                  23
                                                                                  Yueting Jia, the above-captioned debtor and debtor-in-possession (the “Debtor”), having
                                                                  24
                                                                        moved on February 27, 2020 (the “Motion”) for an order authorizing it to (i) incur post-petition
                                                                  25
                                                                        secured indebtedness, (ii) grant security interests and superpriority claims and (iii) modify the
                                                                  26
                                                                        automatic stay pursuant to sections 105(a), 362, and 364(c), (d), and (e) of title 11 of the United States
                                                                  27

                                                                  28    1
                                                                         The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing
                                                                        address is 91 Marguerite Drive, Rancho Palos Verdes, CA 90275.
                                                                                                                                   1
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                                                                       Code, 11 U.S.C. §§ 101-1532 (as amended, the “Bankruptcy Code”), and Rules 2002, 4001 and
                                                                   1
                                                                       9014, and Local Bankruptcy Rule 4001-2 of the Federal Rules of Bankruptcy Procedure (the
                                                                   2
                                                                       “Bankruptcy Rules”), and having sought the following relief:
                                                                   3
                                                                               (a)      the Court’s authorization, pursuant to sections 105(a), 362, and 364(c), (d), and (e) of
                                                                   4
                                                                       the Bankruptcy Code, and Bankruptcy Rules 2002, 4001 and 9014, and Local Bankruptcy Rule 4001-
                                                                   5
                                                                       2 for the Debtor, in his capacity as borrower (the “Borrower”) to implement the debtor-in-possession
                                                                   6
                                                                       financing on the terms in the attached promissory note (the “DIP Note”), a copy of which is attached
                                                                   7
                                                                       hereto as Exhibit “1”, with Pacific Technology Holding LLC (the “DIP Lender”), to obtain advances
                                                                   8
                                                                       on a secured basis, in an aggregate principal amount not to exceed $6,400,000 (the “DIP Loan”) on
                                                                   9
                                                                       the terms of the DIP Note (together with any and all documents, agreements and instruments delivered
                                                                  10
                                                                       pursuant thereto or executed or filed in connection therewith, as may be amended hereafter from time
                                                                  11
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                                                                       to time, collectively, the “DIP Note Documents”);
                                                                  12
                                                                               (b)      the Court’s ordering, pursuant to sections 364(c)(1), (2), (3), and 364(d) of the
                                        LOS ANGELES, CALIFORNIA




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                                                                       Bankruptcy Code, that the obligations of the Debtor under the DIP Note Documents (collectively, the
                                                                  14
                                                                       “DIP Obligations”) are:
                                                                  15
                                                                                        i.          granted superpriority administrative claim status, having priority over any and
                                                                  16
                                                                               all administrative expenses of the kinds specified in or arising or ordered under sections
                                                                  17
                                                                               105(a), 326, 328, 330, 331, 503(b), 506(c), 507, 546(c), 726, 1113, and 1114 of the
                                                                  18
                                                                               Bankruptcy Code; and
                                                                  19
                                                                                        ii.         secured under sections 364(c)(2), 364(c)(3), and 364(d)(1) of the Bankruptcy
                                                                  20
                                                                               Code by valid and fully perfected, first priority priming liens on and senior security interests
                                                                  21
                                                                               in all of the Non-China Collateral (as defined below), and all “property of the estate” (within
                                                                  22
                                                                               the meaning of the Bankruptcy Code) of the Debtor, of any kind or nature whatsoever, real or
                                                                  23
                                                                               personal, tangible or intangible or mixed now existing or hereafter acquired or created;
                                                                  24
                                                                                        iii.        secured by valid and fully perfected, junior and subordinated security interests
                                                                  25
                                                                               in all of the China Collateral (as defined below);
                                                                  26
                                                                               (c)      the Court’s finding, pursuant to Bankruptcy Rule 4001(c)(3), that notice of the hearing
                                                                  27
                                                                       (the “Hearing”) to consider entry of this order is sufficient having been given to (i) the Office of the
                                                                  28

                                                                                                                               2
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                                                                       United States Trustee (the “U.S. Trustee”), (ii) counsel to the DIP Lender, (iii) counsel to any party
                                                                   1
                                                                       of record that has asserted a lien in the Debtor’s assets, (iv) counsel to the Committee (as defined
                                                                   2
                                                                       below), and (v) all parties who have filed a notice of appearance and request for service of papers
                                                                   3
                                                                       pursuant to Bankruptcy Rule 2002 (collectively, the “Notice Parties”); and such notice being
                                                                   4
                                                                       sufficient and adequate, and no other or further notice being required; and
                                                                   5
                                                                               (d)      the Hearing having been held; and based upon all of the pleadings filed with the Court,
                                                                   6
                                                                       the evidence presented at the Hearing and the entire record herein; and the Court having heard and
                                                                   7
                                                                       resolved or overruled all objections to the relief requested in the Motion; and the Court having noted
                                                                   8
                                                                       the appearances of all parties in interest; and it appearing that the relief requested in the Motion is in
                                                                   9
                                                                       the best interests of the Debtor, his estate, and his creditors; and after due deliberation and
                                                                  10
                                                                       consideration, and sufficient cause appearing therefor:
                                                                  11
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                                                                               IT IS HEREBY FOUND:
                                                                  12
                                                                       I.      Procedural Findings of Fact
                                        LOS ANGELES, CALIFORNIA




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                                                                               A.       Petition Date. On October 14, 2019 (the “Petition Date”), the Debtor filed a
                                                                  14
                                                                       voluntary petition for relief under chapter 11 of the Bankruptcy Code with the United States
                                                                  15
                                                                       Bankruptcy Court for the Central District of California, Northern Division (the “Court”). The Debtor
                                                                  16
                                                                       has continued in the management and operation of his business and property as debtor-in-possession
                                                                  17
                                                                       pursuant to sections 1107 and 1108 of the Bankruptcy Code. No trustee or examiner has been
                                                                  18
                                                                       appointed in the Chapter 11 Case.
                                                                  19
                                                                               B.       Committee Appointed. On October 25, 2019, the U.S. Trustee appointed the Official
                                                                  20
                                                                       Committee of Unsecured Creditors (the “Committee”) in this chapter 11 case pursuant to section
                                                                  21
                                                                       1102(a)(1) of the Bankruptcy Code [Docket No. 45]. The Committee consists of the following
                                                                  22
                                                                       members: (i) Ping An Bank, Ltd. Beijing Branch; (ii) China Minsheng Trust Co., Ltd.; (iii) Shanghai
                                                                  23
                                                                       Leyu Chuangye Investment Management Center LP; (iv) Jiangyin Hailan Investment Holding Co.,
                                                                  24
                                                                       Ltd.; and (v) Shanghai Qichengyueming Investment Partnership Enterprise.
                                                                  25
                                                                               C.       Venue Transfer. On December 18, 2019, the Delaware Bankruptcy Court entered its
                                                                  26
                                                                       order [Docket No. 178] transferring the case to the Central District of California.
                                                                  27

                                                                  28

                                                                                                                           3
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                                                                               D.       Jurisdiction and Venue. This Court has jurisdiction over these proceedings, pursuant
                                                                   1
                                                                       to 28 U.S.C. §§ 157(b) and 1334, and over the persons and property affected hereby. Consideration
                                                                   2
                                                                       of the Motion constitutes a “core” proceeding under 28 U.S.C. § 157(b)(2). Venue for the Chapter
                                                                   3
                                                                       11 Case and proceedings on the Motion is proper in this District pursuant to 28 U.S.C. §§ 1408 and
                                                                   4
                                                                       1409.
                                                                   5
                                                                               E.       Notice. The Hearing is being held pursuant to the authorization of Bankruptcy Rules
                                                                   6
                                                                       2002, 4001(c) and (d) and 9014. Notice of the Hearing and the emergency relief requested in the
                                                                   7
                                                                       Motion has been provided by the Debtor, to certain parties in interest, including each of the Notice
                                                                   8
                                                                       Parties. Under the circumstances, such notice of the Hearing and the relief requested in the Motion
                                                                   9
                                                                       is due, proper, and sufficient notice and complies with Bankruptcy Rules 2002 and 4001.
                                                                  10
                                                                       II.     Findings Regarding the Post-Petition Financing
                                                                  11
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                                                                               F.       Need for Post-Petition Financing. A need exists for the Debtor to obtain funds from
                                                                  12
                                                                       the DIP Loan in order to administer his Chapter 11 Case and proceed toward confirmation of a
                                        LOS ANGELES, CALIFORNIA




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                                                                       consensual plan of reorganization on the terms negotiated with, and supported by, the Committee (the
                                                                  14
                                                                       “Consensual Plan”), and to administer and preserve the value of his estate. The ability of the Debtor
                                                                  15
                                                                       to confirm a plan, and to maximize a return for all creditors requires the availability of the DIP Loan,
                                                                  16
                                                                       the absence of which would immediately and irreparably harm the Debtor, his estate, creditors, and
                                                                  17
                                                                       the possibility for a successful reorganization or sale of the Debtor’s assets.
                                                                  18
                                                                               G.       No Credit Available on More Favorable Terms. The Debtor has been unable to
                                                                  19
                                                                       obtain any of the following:
                                                                  20

                                                                  21                 (1)      unsecured credit allowable under section 503(b)(1) of the Bankruptcy Code as
                                                                               an administrative expense,
                                                                  22
                                                                                      (2)     credit for money borrowed with priority over any or all administrative
                                                                  23           expenses of the kind specified in sections 503(b) or 507(b) of the Bankruptcy Code,

                                                                  24                    (3)    credit for money borrowed secured solely by a lien on property of the estate
                                                                               that is not otherwise subject to a lien, or
                                                                  25
                                                                                      (4)     credit for money borrowed secured by a junior lien on property of the estate
                                                                  26           which is subject to a lien, in each case, on more favorable terms and conditions than those
                                                                               provided in the DIP Note Documents and this Order.
                                                                  27

                                                                  28

                                                                                                                          4
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                                                                       The Debtor is unable to obtain credit for borrowed money without granting to the DIP Lender the
                                                                   1
                                                                       DIP Protections (as defined below).
                                                                   2
                                                                               H.       Conditions Precedent to DIP Lender’s Extension of Financing. The DIP Lender
                                                                   3
                                                                       has indicated a willingness to provide financing to the Debtor in accordance with the DIP Note and
                                                                   4
                                                                       the other DIP Note Documents and subject to the following:
                                                                   5

                                                                   6                    (1)         the entry of this Order, and

                                                                   7                   (2)    findings by this Court that such financing is essential to the Debtor’s estate,
                                                                               that the DIP Lender is a good faith financier, and that the DIP Lender’s post-petition claims,
                                                                   8           superpriority claims, security interests, and Liens and other protections granted pursuant to
                                                                               this Order and the DIP Loan will not be affected by any subsequent reversal, modification,
                                                                   9           vacation, or amendment of this Order or any other order, as provided in section 364(e) of the
                                                                               Bankruptcy Code.
                                                                  10
                                                                               I.       Business Judgment and Good Faith Pursuant to Section 364(e) of the Bankruptcy
                                                                  11
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                                                                       Code. The Debtor was not able to identify any party willing to lend to the Debtor and certainly not
                                                                  12
                                                                       on terms as favorable as those offered by the DIP Lender. Under such difficult circumstances where
                                        LOS ANGELES, CALIFORNIA




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                                                                       no comparable fund source exists along with the need for the Debtor to gain access to needed
                                                                  14
                                                                       financing and thereby maximize value for all constituents, it is determined that the terms and
                                                                  15
                                                                       conditions of the DIP Loan, the DIP Note, and the other DIP Note Documents (i) are fair, reasonable,
                                                                  16
                                                                       and the best available under the circumstances, (ii) reflect the Debtor’s exercise of prudent business
                                                                  17
                                                                       judgment consistent with his fiduciary duties, and (iii) are supported by reasonably equivalent value
                                                                  18
                                                                       and consideration. The DIP Lender is an affiliate of the Debtor, based on the indirect, and minority
                                                                  19
                                                                       20% ownership interest held by the Debtor in the DIP Lender, and all parties to the case have
                                                                  20
                                                                       negotiated with the Debtor, through its professionals, since the Petition Date knowing that the only
                                                                  21
                                                                       source of financing for the Chapter 11 Case would be from the DIP Lender. Further, at all material
                                                                  22
                                                                       times, the Committee has been aware that the financing for the case would be advanced by the DIP
                                                                  23
                                                                       Lender, and the terms on which it would be advanced, as reflected in the DIP Note. The interest rate
                                                                  24
                                                                       under the DIP Note (8.75%) is not unreasonable or excessive. The DIP Note also does not provide
                                                                  25
                                                                       for automatic relief from the automatic stay upon a Default (as defined in the Note), but rather only
                                                                  26
                                                                       consent by the Debtor (and not by the Committee) to a hearing on shortened notice with respect to a
                                                                  27
                                                                       motion for relief from the automatic stay. Based on the forgoing and given the need for the financing,
                                                                  28

                                                                                                                               5
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                                                                       and its expected treatment under the Consensual Plan, the DIP Loan was negotiated in good faith and
                                                                   1
                                                                       at arms’ length between the Debtor and the DIP Lender, and the use of the proceeds to be extended
                                                                   2
                                                                       under the DIP Loan will be so extended in good faith, and for valid business purposes and uses, and
                                                                   3
                                                                       the DIP Loan satisfies the heightened inherent fairness standard for transactions between a debtor-in-
                                                                   4
                                                                       possession and an affiliate, as a consequence of which the DIP Lender is entitled to the protections
                                                                   5
                                                                       and benefits of section 364(e) of the Bankruptcy Code.
                                                                   6
                                                                               J.       Relief Essential; Best Interest. The relief requested in the Motion (and as provided
                                                                   7
                                                                       in this Order) is necessary, essential, and appropriate for the administration of his Chapter 11 Case
                                                                   8
                                                                       and proceeding towards the Consensual Plan as well as the preservation of the Debtor’s assets and
                                                                   9
                                                                       personal property. It is in the best interest of the Debtor’s estate that the Debtor be allowed to
                                                                  10
                                                                       establish the DIP facility contemplated by the DIP Note Documents. The Debtor has demonstrated
                                                                  11
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                                                                       good and sufficient cause for the relief granted herein.
                                                                  12
                                                                       NOW, THEREFORE, IT IS HEREBY ORDERED AS FOLLOWS:
                                        LOS ANGELES, CALIFORNIA




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                                                                                 1.     The Motion is granted in accordance with the terms and conditions set forth in this
                                                                  14
                                                                       Order, the DIP Note, and the other DIP Note Documents.
                                                                  15
                                                                                                                I.      DIP LOAN
                                                                  16
                                                                       A.      Approval of Entry into the DIP Note Documents
                                                                  17
                                                                               2.       The Debtor is expressly and immediately authorized, empowered, and directed to
                                                                  18
                                                                       execute and deliver the DIP Note Documents and to incur and to perform the DIP Obligations in
                                                                  19
                                                                       accordance with, and subject to, the terms of this Order and the DIP Note Documents, and to execute
                                                                  20
                                                                       and deliver all instruments, certificates, agreements, and documents which may be required or
                                                                  21
                                                                       necessary for the performance by the Debtor under the DIP Loan and for the creation and perfection
                                                                  22
                                                                       of the DIP Liens described in and provided for by this Order and the DIP Note Documents. Subject
                                                                  23
                                                                       to the terms and conditions of this Order and the DIP Note, the Debtor is hereby authorized under the
                                                                  24
                                                                       DIP Loan to borrow up to a total committed amount of $6,400,000 in accordance with the terms and
                                                                  25
                                                                       conditions of the DIP Note. The Debtor is hereby authorized and directed to do and perform all acts,
                                                                  26
                                                                       pay the principal, interest, fees, expenses, and other amounts described in the DIP Note and all other
                                                                  27
                                                                       DIP Note Documents as such become due, including, without limitation, reasonable attorneys’,
                                                                  28

                                                                                                                          6
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                                                                       financial advisors’, and accountants’ fees, and disbursements of and incurred by the DIP Lender as
                                                                   1
                                                                       and to the extent provided for in the DIP Note, which amounts shall not otherwise be subject to
                                                                   2
                                                                       approval of this Court. Upon execution and delivery, the DIP Note Documents shall represent valid
                                                                   3
                                                                       and binding obligations of the Debtor enforceable against the Debtor in accordance with their terms.
                                                                   4
                                                                       B.      Application of DIP Loan Proceeds
                                                                   5
                                                                                    3. The proceeds of the DIP Loan shall be used, in each case, in a manner consistent with
                                                                   6
                                                                       the terms and conditions of the DIP Note Documents.
                                                                   7
                                                                       C.      The DIP Liens
                                                                   8
                                                                               4.       Effective immediately upon the entry of this Order, the DIP Lender is hereby granted
                                                                   9
                                                                       pursuant to sections 362, 364(c)(2), 364(c)(3), and 364(d) of the Bankruptcy Code, a valid,
                                                                  10
                                                                       continuing, binding, enforceable, non-avoidable, and automatically perfected first priority post-
                                                                  11
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                                                                       petition security interests and Liens (collectively, the “Non-China DIP Liens”), senior and superior
                                                                  12
                                                                       in priority to all other secured and unsecured creditors of the Debtor and his estate, except, in each
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                                                                       case, as otherwise provided in this Order, in all of the Debtor’s right, title and interest in the Non-
                                                                  14
                                                                       China Collateral (as defined below) in each case whether now or hereafter existing, whether tangible
                                                                  15
                                                                       or intangible, whether now owned or hereafter acquired and wherever the same may be located, in
                                                                  16
                                                                       order to secure prompt, full, faithful and timely payment and performance of the DIP Obligations,
                                                                  17
                                                                       whether at stated maturity, acceleration or otherwise, together with all extensions or renewals thereof,
                                                                  18
                                                                       whether voluntary or involuntary, direct or indirect, absolute or contingent, liquidated or
                                                                  19
                                                                       unliquidated, whether or not jointly owned with others, and whether or not such DIP Obligations are
                                                                  20
                                                                       from time to time decreased or extinguished and later increased, created or incurred, and all or any
                                                                  21
                                                                       portion of such DIP Obligations that are paid, to the extent all or any part of such payment is avoided
                                                                  22
                                                                       or recovered directly or indirectly from the DIP Lender as a preference, fraudulent transfer or
                                                                  23
                                                                       otherwise. “DIP Collateral” shall include all of the Debtor’s interests in all of the following types of
                                                                  24
                                                                       personal property, wherever located and whether now owned or hereafter acquired, including any
                                                                  25
                                                                       assets or obligations originating or relating to any property or entity (the “DIP Collateral”) and such
                                                                  26
                                                                       DIP Collateral located or domiciled in the United States, the Cayman Islands or any place else in the
                                                                  27
                                                                       world other than China (collectively, the “Non-China Collateral”):
                                                                  28

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                                                                                               (i)     all Accounts;
                                                                   1
                                                                                              (ii)     all Chattel Paper;
                                                                   2
                                                                                             (iii)    all Money and all Deposit Accounts, together with all amounts on deposit
                                                                   3                           from time to time in such Deposit Accounts;
                                                                   4                         (iv)      all Documents;
                                                                   5                          (v)     all General Intangibles (including membership interests and rights,
                                                                                               whether owned directly or indirectly, whether such interests are deemed a
                                                                   6                           General Intangible or a Security, and whether held in a domestic or foreign
                                                                                               corporation, a domestic or foreign limited liability company, a domestic or
                                                                   7                           foreign Ltd. including as recognized in the Cayman Islands (each such form of
                                                                                               organization, an “Entity”), consisting of (a) all economic rights, including
                                                                   8                           without limitation, all rights to share in the profits and losses of the Entity, and
                                                                                               all rights to receive distributions of the assets of the Entity; and (b) governance
                                                                   9                           rights, including without limitation, all rights to vote, consent to action and
                                                                                               otherwise participate in management and direction of the Entity), Payment
                                                                  10                           Intangibles and Software (for the avoidance of doubt, to the extent such General
                                                                                               Intangibles are located or domiciled any place in the world other than China,
                                                                  11                           such General Intangibles shall be considered “Non-China Collateral” and to the
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                                                                                               extent such General Intangibles are located or domiciled in China, such General
                                                                  12                           Intangibles shall be considered “China Collateral”);
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                                                                                             (vi)      all Goods, including Inventory, Equipment and Fixtures;
                                                                  14                        (vii)      all Instruments;
                                                                  15                       (viii)      all Investment Property;
                                                                  16                         (ix)      all Letter-of-Credit Rights and other Supporting Obligations;
                                                                  17                          (x)      all Records;
                                                                  18                         (xi)      all Commercial Tort Claims; and
                                                                  19                        (xii)      all Proceeds and Accessions with respect to any of the foregoing
                                                                                                       Collateral;
                                                                  20

                                                                  21   Terms used, but not otherwise defined in this Paragraph 4 shall have the meaning set forth in Division
                                                                  22   9 of the California Uniform Commercial Code in effect on the date hereof (the “UCC”). The security
                                                                  23   grant in the DIP Note and in this paragraph 4 is subject in all respects to the Minute Order
                                                                  24   entered September 3, 2019 in Case No: 2:18-CV-10255 SJO (MRWx) in the United States
                                                                  25   District Court for the Central District of California (the “Minute Order”), attached to the DIP
                                                                  26   Note and incorporated therein as Exhibit 1 to the extent the Minute Order remains enforceable
                                                                  27   in light of the Chapter 11 Case and has not been avoided or disallowed therein.
                                                                  28           5.       Effective immediately upon the entry of this Order, the DIP Lender is hereby granted
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                                                                       pursuant to sections 362, 364(c)(2), 364(c)(3), and 364(d) of the Bankruptcy Code, a valid,
                                                                   1
                                                                       continuing, binding, enforceable, non-avoidable, and automatically perfected second priority post-
                                                                   2
                                                                       petition security interests and Liens (collectively, the “China DIP Liens”, and together with the Non-
                                                                   3
                                                                       China DIP Liens, collectively, the “DIP Liens”), senior and superior in priority to all other unsecured
                                                                   4
                                                                       creditors, and junior and subordinated in priority to all other secured creditors of the Debtor and his
                                                                   5
                                                                       estate, except, in each case, as otherwise provided in this Order, in all of the Debtor’s right, title and
                                                                   6
                                                                       interest in the DIP Collateral located in China (the “China Collateral”) in each case whether now or
                                                                   7
                                                                       hereafter existing, whether tangible or intangible, whether now owned or hereafter acquired and
                                                                   8
                                                                       wherever the same may be located, in order to secure prompt, full, faithful and timely payment and
                                                                   9
                                                                       performance of the DIP Obligations, whether at stated maturity, acceleration or otherwise, together
                                                                  10
                                                                       with all extensions or renewals thereof, whether voluntary or involuntary, direct or indirect, absolute
                                                                  11
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                                                                       or contingent, liquidated or unliquidated, whether or not jointly owned with others, and whether or
                                                                  12
                                                                       not such DIP Obligations are from time to time decreased or extinguished and later increased, created
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                                                                       or incurred, and all or any portion of such DIP Obligations that are paid, to the extent all or any party
                                                                  14
                                                                       of such payment is avoided or recovered directly or indirectly from the DIP Lender as a preference,
                                                                  15
                                                                       fraudulent transfer or otherwise. The security grant in the DIP Note and in this Paragraph 5 is
                                                                  16
                                                                       subject in all respects to the Minute Order, attached to the DIP Note and incorporated therein
                                                                  17
                                                                       as Exhibit 1 to the extent the Minute Order remains enforceable in light of the Chapter 11 Case
                                                                  18
                                                                       and has not been avoided or disallowed therein.
                                                                  19
                                                                       D.      DIP Lien Priority
                                                                  20
                                                                               6.       The DIP Liens granted to the DIP Lender as provided herein, are:
                                                                  21

                                                                  22                 (a)    granted pursuant to sections 364(c)(2), 364(c)(3), and 364(d) of the
                                                                               Bankruptcy Code,
                                                                  23
                                                                                     (b)     first, valid, prior, perfected, unavoidable, and superior to any security,
                                                                  24           mortgage, or collateral interest or Lien or claim to the Non-China Collateral, and

                                                                  25                   (c)    junior, valid, secondary, perfected, unavoidable and subordinate to any
                                                                               security, mortgage, or collateral interest or Lien or claim to the China Collateral.
                                                                  26
                                                                               The DIP Liens shall secure all DIP Obligations and the proceeds of the DIP Collateral shall
                                                                  27
                                                                       be applied in the same order and priority set forth in the DIP Note Documents. The DIP Liens shall
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                                                                       not be made subject to or pari passu with any Lien or security interest by any court order heretofore
                                                                   1
                                                                       or hereafter entered in the Chapter 11 Case and shall be valid and enforceable against any trustee
                                                                   2
                                                                       appointed in the Chapter 11 Case, upon the conversion of the Chapter 11 Case to Case under chapter
                                                                   3
                                                                       7 of the Bankruptcy Code, or in any other proceedings related to any of the foregoing (each a
                                                                   4
                                                                       “Successor Case”, and collectively the “Successor Case”), and/or upon the dismissal of the Chapter
                                                                   5
                                                                       11 Case. The DIP Liens shall not be subject to sections 510, 549, 550, or 551 of the Bankruptcy Code
                                                                   6
                                                                       or the assertion by the Debtor of the “equities of the case” exception of section 552 of the Bankruptcy
                                                                   7
                                                                       Code and, upon entry of this Order, shall not be subject to section 506(c) of the Bankruptcy Code.
                                                                   8
                                                                       E.      Enforceable Obligations
                                                                   9
                                                                               7.       The DIP Note Documents shall constitute and evidence the valid and binding
                                                                  10
                                                                       obligations of the Debtor, and shall be enforceable against the Debtor, his estate, and any successors
                                                                  11
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                                                                       thereto, and their creditors in accordance with their terms.
                                                                  12
                                                                       F.      Superpriority Administrative Claim Status
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                                                                               8.       All DIP Obligations shall be an allowed superpriority administrative expense claim
                                                                  14
                                                                       (the “DIP Superpriority Claim” and, together with the DIP Liens, collectively, the “DIP
                                                                  15
                                                                       Protections”) with priority in the Chapter 11 Case (and any Successor Case) under sections 364(c)(1),
                                                                  16
                                                                       503(b), and 507(b) of the Bankruptcy Code and otherwise over all administrative expense claims and
                                                                  17
                                                                       unsecured claims against the Debtor and his estate, now existing or hereafter arising, of any kind or
                                                                  18
                                                                       nature whatsoever including, without limitation, administrative expenses of the kinds specified in,
                                                                  19
                                                                       arising, or ordered pursuant to sections 105, 326, 328, 330, 331, 503(a), 503(b), 507(a), 507(b),
                                                                  20
                                                                       546(c), 546(d), 552(b), 726, 1113, and 1114 of the Bankruptcy Code, and, upon entry of this Order,
                                                                  21
                                                                       section 506(c) of the Bankruptcy Code, whether or not such expenses or claims may become secured
                                                                  22
                                                                       by a judgment lien or other non-consensual lien, levy, or attachment; provided, however, that the DIP
                                                                  23
                                                                       Protections shall not attach to or be payable from any Bankruptcy Recoveries.
                                                                  24
                                                                               9.       No costs or expenses of administration, including, without limitation, professional fees
                                                                  25
                                                                       allowed and payable under sections 328, 330, and 331 of the Bankruptcy Code, or otherwise, that
                                                                  26
                                                                       have been or may be incurred in the Chapter 11 Case, or in any Successor Case, and no priority claims
                                                                  27
                                                                       are, or will be, senior to, prior to, or on a parity with the DIP Protections or the DIP Obligations, or
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                                                                       with any other claims of the DIP Lender arising hereunder.
                                                                   1
                                                                                                    II.   POST-PETITION LIEN PERFECTION
                                                                   2
                                                                                10.     This Order shall be sufficient and conclusive evidence of the validity, perfection, and
                                                                   3
                                                                       priority of the DIP Liens without the necessity of filing or recording any financing statement, deed
                                                                   4
                                                                       of trust, mortgage, security agreement, notice of lien, or other instrument or document which may
                                                                   5
                                                                       otherwise be required under the law of any jurisdiction or the taking of any other action (including,
                                                                   6
                                                                       for the avoidance of doubt, entering into any deposit account control agreement or securities account
                                                                   7
                                                                       control agreement) to validate or perfect the DIP Liens or to entitle the DIP Liens to the priorities
                                                                   8
                                                                       granted herein.
                                                                   9
                                                                                11.     Notwithstanding the foregoing, the DIP Lender may, in its discretion, file such
                                                                  10
                                                                       financing statements, deeds of trust, mortgages, security agreements, notices of liens, and other
                                                                  11
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                                                                       similar instruments and documents, and is hereby granted relief from the automatic stay of section
                                                                  12
                                                                       362 of the Bankruptcy Code in order to do so, and all such financing statements, deeds of trust,
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                                                                       mortgages, security agreements, notices of liens, and other similar instruments and documents shall
                                                                  14
                                                                       be deemed to have been filed or recorded at the time and on the date of the commencement of the
                                                                  15
                                                                       Chapter 11 Case.
                                                                  16
                                                                                12.     The Debtor shall execute and deliver to the DIP Lender all such financing statements,
                                                                  17
                                                                       deeds of trust, mortgages, security agreements, notices of liens, and other similar instruments and
                                                                  18
                                                                       documents as the DIP Lender may reasonably request to evidence, confirm, validate, or perfect, or to
                                                                  19
                                                                       ensure the contemplated priority of, the DIP Liens granted pursuant hereto.
                                                                  20
                                                                                13.     The DIP Lender, in its discretion, may file a photocopy of this Order as a financing
                                                                  21
                                                                       statement with any recording office designated to file financing statements or with any registry of
                                                                  22
                                                                       deeds or similar office in any jurisdiction in which the Debtor has real or personal property, and in
                                                                  23
                                                                       such event, the subject filing or recording office shall be authorized to file or record such copy of this
                                                                  24
                                                                       Order.
                                                                  25
                                                                                14.     The automatic stay imposed under section 362(a) of the Bankruptcy Code is hereby
                                                                  26
                                                                       modified pursuant to the terms of the DIP Note Documents as necessary to
                                                                  27

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                                                                                      (a)     permit the DIP Lender to execute, file and record such documents that
                                                                   1           evidence, confirm, validate, or perfect, or to ensure the contemplated priority of, the DIP Liens
                                                                               granted pursuant hereto as the DIP Lender determines, in its discretion, is appropriate; and
                                                                   2
                                                                                      (b)     exercise such rights and remedies arising from the occurrence of an Event of
                                                                   3           Default as and solely to the extent authorized in paragraphs 16-20 below.
                                                                   4
                                                                                                III.   DIP EVENT OF DEFAULT, AND REMEDIES
                                                                   5
                                                                       G.      Events of Default
                                                                   6
                                                                               15.      Each of following shall constitute an “Event of Default”, unless otherwise waived by
                                                                   7
                                                                       the DIP Lender in its sole discretion:
                                                                   8
                                                                                     a)      The Debtor shall fail to pay all or any part of the principal of the DIP Loan
                                                                   9           when due, or shall fail to pay any installment of interest or other amount payable under the
                                                                               DIP Note within three (3) business days of the date when due;
                                                                  10
                                                                                      b)       The Debtor shall fail to perform or observe any other term, covenant or
                                                                  11           agreement contained in the DIP Note other than any such term referred to in any other
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                                                                               subsection in this Paragraph 15 on his part to be performed or observed and such default shall
                                                                  12           not have been remedied or waived within ten (10) days after the occurrence thereof;
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                                                                                      c)      Any representation or warranty made by the Debtor in the DIP Note of this
                                                                               Order shall be false or misleading;
                                                                  14
                                                                                        d)     (i) The entry of an order which has not been withdrawn, dismissed or reversed
                                                                  15           (A) authorizing the Debtor in the Chapter 11 Case to obtain additional financing under Section
                                                                               364(c) or (d) of the Bankruptcy Code, or authorizing any person to recover from any portions
                                                                  16           of the DIP Collateral any costs or expenses of preserving or disposing of such DIP Collateral
                                                                               under Section 363(c) of the Bankruptcy Code, or (except as provided in this Order)
                                                                  17           authorizing the use of cash collateral without the DIP Lender’s prior written consent under
                                                                               Section 363(c) of the Bankruptcy Code; (B) appointing an interim or permanent trustee in the
                                                                  18           Chapter 11 Case or the appointment of an examiner in the Chapter 11 Case; (C) without the
                                                                               prior written consent of the DIP Lender, dismissing the Chapter 11 Case or converting the
                                                                  19           Chapter 11 Case to a case under Chapter 7 of the Bankruptcy Code; (D) the entry of an order
                                                                               granting relief from or modifying the automatic stay of Section 362 of the Bankruptcy Code
                                                                  20           (1) to allow any creditor to execute upon or enforce a lien on any portion of the DIP Collateral
                                                                               or on any other property or assets of the Debtor having a fair market value in excess of
                                                                  21           $5,000,000 or (2) with respect to any lien of, or the granting of any lien on any DIP Collateral
                                                                               or any other property or assets of the Debtor to, any State or local environmental or regulatory
                                                                  22           agency or authority; (E) amending, supplementing, staying, reversing, vacating or otherwise
                                                                               modifying this Order, the DIP Note or the DIP Lender’s rights, benefits, privileges or
                                                                  23           remedies under this Order or the DIP Note; (F) without the prior written consent of the DIP
                                                                               Lender, filing a plan of reorganization for the Debtor or any modification thereto;
                                                                  24           (G) consolidating or combining the Debtor with any other person except pursuant to a
                                                                               confirmed plan of reorganization with the prior written consent of the DIP Lender as
                                                                  25           contemplated in the plan of reorganization; (H) approving, or there shall arise, any other
                                                                               super-priority administrative expense claim (other than those specifically referred to in
                                                                  26           Section 1.05 of the DIP Note or otherwise specified in this Order) having any priority over
                                                                               the super-priority administrative expense priority of the DIP Obligations in respect of the
                                                                  27           Chapter 11 Case; or (I) confirming a plan of reorganization for the Debtor that does not
                                                                               provide for the payment in full in cash of the Obligations on the effective date of such plan;
                                                                  28

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                                                                               or (ii) the filing by the Debtor of a motion, application or other petition to effect or consent to
                                                                   1           any order referred to in the foregoing clause (i);
                                                                   2                   e)     (i) One or more judgments or orders as to post-Petition Date liability or
                                                                               indebtedness in excess of $50,000 shall be entered against the Debtor not adequately covered
                                                                   3           by insurance as to which a solvent and unaffiliated insurance company has acknowledged
                                                                               coverage and either (A) enforcement proceedings shall have been commenced and shall be
                                                                   4           continuing by any creditor upon such judgment or orders or (B) there shall be any period of
                                                                               ten (10) consecutive days during which a stay of enforcement of such judgments or orders, by
                                                                   5           reason of a pending appeal or otherwise, shall not be in effect; or (ii) any non-monetary
                                                                               judgment or order with respect to a post-Petition Date event shall be rendered against the
                                                                   6           Debtor which could reasonably be expected to result in a material adverse effect and there
                                                                               shall be any period of ten (10) consecutive days during which a stay of enforcement of such
                                                                   7           judgment or order, by reason of a pending appeal or otherwise, shall not be in effect; or
                                                                   8                    f)      At any time after the execution and delivery thereof; (i) the DIP Note, for any
                                                                               reason other than the satisfaction in full of all DIP Obligations, shall cease to be in full force
                                                                   9           and effect (other than in accordance with its terms) or shall be declared to be null and void,
                                                                               (ii) the DIP Lender shall not have or shall cease to have a valid and perfected and unavoidable
                                                                  10           lien prior to all other perfected and unavoidable liens in any DIP Collateral purported to be
                                                                               covered by the DIP Note in either case for any reason other than the failure of the DIP Lender
                                                                  11           to take any action within its control, or (iii) the Debtor shall contest the validity or
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                                                                               enforceability of the DIP Note or any provision thereof in writing or deny in writing that it
                                                                  12           has any further liability, including with respect to future advances by the DIP Lender, under
                                                                               the DIP Note or any provision thereof to which it is a party.
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                                                                  14   H.      Rights and Remedies Upon Event of Default
                                                                  15           16.      Upon the occurrence and during the continuance of any Event of Default, the DIP
                                                                  16   Lender may declare (i) the unpaid principal amount of and accrued interest on the DIP Note and
                                                                  17   (ii) all other DIP Obligations immediately due and payable, without presentment, demand, protest or
                                                                  18   other requirements of any kind, all of which are hereby expressly waived by the Debtor, and the same
                                                                  19   shall forthwith become, immediately due and payable, and any obligation of the DIP Lender to make
                                                                  20   the DIP Note shall thereupon be terminated.
                                                                  21          17.       Further, upon the occurrence and during the continuance of any Event of Default, the
                                                                  22   Debtor consents to and shall not object to the DIP Lender seeking a hearing on shortened notice for
                                                                  23   relief from the automatic stay and upon such relief, the DIP Lender may (i) exercise all rights and
                                                                  24   remedies of the DIP Lender set forth in this Order and the DIP Note with grant of security interest,
                                                                  25   in addition to all rights and remedies allowed by, the United States and of any state thereof, including,
                                                                  26   but not limited to the UCC. The enumeration of the foregoing rights and remedies is not intended to
                                                                  27   be exhaustive and the exercise of any right or remedy shall not preclude the exercise of any other
                                                                  28   rights or remedies, all of which shall be cumulative and not alternative.
                                                                                                                           13
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                                                                               18.       The Debtor waives, (i) presentment, demand and protest and notice of presentment,
                                                                   1
                                                                       dishonor, notice of intent to accelerate, notice of acceleration, protest, default, nonpayment, maturity,
                                                                   2
                                                                       release, compromise, settlement, extension or renewal of any or all commercial paper, accounts,
                                                                   3
                                                                       contract rights, documents, instruments, chattel paper and guaranties or other property at any time
                                                                   4
                                                                       held by the DIP Lender on which the Debtor may in any way be liable and hereby ratify and confirm
                                                                   5
                                                                       whatever the DIP Lender may lawfully do in this regard, (ii) subject to the notice and relief from stay
                                                                   6
                                                                       provisions of the preceding Paragraph 17 above, all rights to notice and hearing prior to the DIP
                                                                   7
                                                                       Lender’s taking possession or control of, or to the DIP Lender reply, attachment or levy upon, the
                                                                   8
                                                                       DIP Collateral, or any bond or security which might be required by any court prior to allowing the
                                                                   9
                                                                       DIP Lender to exercise any of its remedies, and (iii) the benefit of all valuation, appraisal and
                                                                  10
                                                                       exemption laws. The Debtor acknowledges it has been advised by counsel of his choice with respect
                                                                  11
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                                                                       to the effect of the foregoing waivers and the DIP Note and the transactions evidenced by the DIP
                                                                  12
                                                                       Note.
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                                                                               19.       Subject to the provisions of Paragraphs 16-18 above, upon the occurrence of an Event
                                                                  14
                                                                       of Default, the DIP Lender is authorized to exercise its remedies and proceed under or pursuant to
                                                                  15
                                                                       the DIP Note Documents and applicable law. All proceeds realized from any of the foregoing shall
                                                                  16
                                                                       be applied to the DIP Obligations and in accordance with the provisions of the DIP Note Documents
                                                                  17
                                                                       and this Order.
                                                                  18
                                                                               20.       Nothing included herein shall prejudice, impair, or otherwise affect the DIP Lender’s
                                                                  19
                                                                       rights to seek any other or supplemental relief in respect of the Debtor.
                                                                  20
                                                                                                      IV.    CERTAIN OTHER PROVISIONS
                                                                  21
                                                                       A.      Extension Term
                                                                  22
                                                                               21.       At the Debtor’s election, the Maturity Date may be extended for one (1) year (the
                                                                  23
                                                                       “Extension Term”) so long as (i) all liens securing such loans remain perfected first priority liens on
                                                                  24
                                                                       the DIP Collateral, subject only to the liens securing the $1,500,000 required to fund the Creditors’
                                                                  25
                                                                       Trust (as defined below), (ii) all obligations of the DIP Note continue to be obligations of the entity
                                                                  26
                                                                       to which the DIP Collateral is transferred, including the creditors’ trust formed pursuant to the
                                                                  27
                                                                       Debtor’s plan of reorganization under Chapter 11 of the Bankruptcy Code (the “Creditors’ Trust”)
                                                                  28

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                                                                       and (iii) the interest rate per annum shall be increased to twelve percent (12%) per annum.
                                                                   1
                                                                                                    V.    OTHER RIGHTS AND OBLIGATIONS
                                                                   2
                                                                       A.      Good Faith Under Section 364(e) of the Bankruptcy Code; No Modification or Stay of
                                                                   3
                                                                               this Order
                                                                   4
                                                                               22.      Based on the findings set forth in this Order and in accordance with section 364(e) of
                                                                   5
                                                                       the Bankruptcy Code, which is applicable to the DIP Loan contemplated by this Order, in the event
                                                                   6
                                                                       any or all of the provisions of this Order are hereafter modified, amended, or vacated by a subsequent
                                                                   7
                                                                       order of this or any other court, the DIP Lender is entitled to the protections provided in section 364(e)
                                                                   8
                                                                       of the Bankruptcy Code and, no such appeal, modification, amendment, or vacation shall affect the
                                                                   9
                                                                       validity and enforceability of any advances made hereunder or the liens or priority authorized or
                                                                  10
                                                                       created hereby.
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                                                                               23.      Notwithstanding any such modification, amendment, or vacation, any claim granted
                                                                  12
                                                                       to the DIP Lender hereunder arising prior to the effective date of such modification, amendment, or
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                                                                       vacation of any DIP Protections granted to the DIP Lender shall be governed in all respects by the
                                                                  14
                                                                       original provisions of this Order, and the DIP Lender shall be entitled to all of the rights, remedies,
                                                                  15
                                                                       privileges, and benefits, including the DIP Protections granted herein, with respect to any such claim.
                                                                  16
                                                                       Since the loans made pursuant to the DIP Note are made in reliance on this Order, the obligations
                                                                  17
                                                                       owed the DIP Lender prior to the effective date of any stay, modification, or vacation of this Order
                                                                  18
                                                                       shall not, as a result of any subsequent order in the Chapter 11 Case or in any Successor Case, be
                                                                  19
                                                                       subordinated, lose their lien priority or superpriority administrative expense claim status, or be
                                                                  20
                                                                       deprived of the benefit of the status of the liens and claims granted to the DIP Lender under this Order
                                                                  21
                                                                       and/or the DIP Note Documents.
                                                                  22
                                                                       B.      Binding Effect
                                                                  23
                                                                               24.      The provisions of this Order shall be binding upon and inure to the benefit of the DIP
                                                                  24
                                                                       Lender, the Debtor, and their respective successors and assigns (including any trustee or other
                                                                  25
                                                                       fiduciary hereinafter appointed as a legal representative of the Debtor or with respect to the property
                                                                  26
                                                                       of the estate of the Debtor), the Committee or any other committee in any Successor Case, or upon
                                                                  27
                                                                       dismissal of any such chapter 11 or chapter 7 Case.
                                                                  28

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                                                                       C.        No Third Party Rights
                                                                   1
                                                                                 25.    Except as expressly provided for herein, this Order does not create any rights for the
                                                                   2
                                                                       benefit of any third party, creditor, equity holder, or any direct, indirect, or incidental beneficiary.
                                                                   3
                                                                       D.        Amendments
                                                                   4
                                                                                 26.    The Debtor and the DIP Lender, as applicable, may amend, modify, supplement, or
                                                                   5
                                                                       waive any provision of the DIP Note Documents without further approval of the Court unless such
                                                                   6
                                                                       amendment, modification, supplement, or waiver (i) increases the interest rate, (ii) increases the
                                                                   7
                                                                       amount of the DIP Loan, or (iii) changes the maturity date of the DIP Loan (other than the Extension
                                                                   8
                                                                       Term). Except as set forth above, all waivers, modifications, or amendments of any of the provisions
                                                                   9
                                                                       hereof shall not be effective unless set forth in writing, signed by on behalf of the Debtor and the DIP
                                                                  10
                                                                       Lender and approved by the Court.
                                                                  11
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                                                                       E.        Survival of Order
                                                                  12
                                                                                 27.    The provisions of this Order and any actions taken pursuant hereto shall survive entry
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                                                                       of any order which may be entered:
                                                                  14

                                                                  15                    (a)         confirming any plan in the Chapter 11 Case,

                                                                  16                    (b)         converting the Chapter 11 Case to a Case under chapter 7 of the Bankruptcy
                                                                                                    Code,
                                                                  17
                                                                                        (c)         dismissing the Chapter 11 Case,
                                                                  18
                                                                                        (d)         withdrawing of the reference of the Chapter 11 Case from this Court, or
                                                                  19
                                                                                        (e)         providing for abstention from handling or retaining of jurisdiction of the
                                                                  20                                Chapter 11 Case in this Court.
                                                                                 28.    The terms and provisions of this Order including the DIP Protections granted pursuant
                                                                  21
                                                                       to this Order and the DIP Note Documents shall continue in full force and effect notwithstanding the
                                                                  22
                                                                       entry of such order, and such DIP Protections shall maintain their priority as provided by this Order
                                                                  23
                                                                       until all of the outstanding DIP Obligations have been paid in full (such payment being without
                                                                  24
                                                                       prejudice to any terms or provisions contained in the DIP Loan which survive such discharge by their
                                                                  25
                                                                       terms).
                                                                  26
                                                                                 29.    Unless and until the DIP Obligations have been indefeasibly repaid in full in cash (or
                                                                  27
                                                                       other arrangements for payment of the Prepetition Debt and the DIP Obligations satisfactory to the
                                                                  28

                                                                                                                              16
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                                                                       DIP Lender in their reasonable discretion have been made) and the DIP Loan has been terminated,
                                                                   1
                                                                       the protections afforded to the DIP Lender pursuant to this Order and under the DIP Note Documents,
                                                                   2
                                                                       and any actions taken pursuant thereto, shall survive the entry of any order confirming a plan of
                                                                   3
                                                                       reorganization or liquidation pursuant to Chapter 11 of the Bankruptcy Code in the Debtor’s
                                                                   4
                                                                       Chapter 11 Case or converting the Chapter 11 Case into a Successor Case, and the DIP Liens and
                                                                   5
                                                                       the DIP Superpriority Claim shall continue in the Chapter 11 Case and in any Successor Case, and
                                                                   6
                                                                       such DIP Liens and DIP Superpriority Claim shall maintain their respective priorities as provided by
                                                                   7
                                                                       this Order.
                                                                   8
                                                                       F.      Inconsistency
                                                                   9
                                                                               30.      In the event of any inconsistency between the terms and conditions of the DIP Note
                                                                  10
                                                                       Documents and of this Order, the provisions of this Order shall govern and control.
                                                                  11
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                                                                       G.      Enforceability
                                                                  12
                                                                               31.      This Order shall constitute findings of fact and conclusions of law pursuant to
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                                                                       Bankruptcy Rule 7052 and shall take effect and be fully enforceable nunc pro tunc to the Petition
                                                                  14
                                                                       Date immediately upon execution hereof.
                                                                  15
                                                                       H.      Objections Overruled
                                                                  16
                                                                               32.      All objections to the Motion, to the extent not withdrawn or resolved, are hereby
                                                                  17
                                                                       overruled.
                                                                  18
                                                                       I.      Waiver of Any Applicable Stay
                                                                  19
                                                                               33.      Any applicable stay (including, without limitation, under Bankruptcy Rule 6004(h))
                                                                  20
                                                                       is hereby waived and shall not apply to this Order.
                                                                  21
                                                                       J.      Proofs of Claim
                                                                  22
                                                                               34.      The DIP Lender will not be required to file proofs of claim in the Chapter 11 Case or
                                                                  23
                                                                       in any Successor Case.
                                                                  24
                                                                       K.      Headings
                                                                  25
                                                                               35.      The headings in this Order are for purposes of reference only and shall not limit or
                                                                  26
                                                                       otherwise affect the meaning of this Order.
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                                                                       L.      Retention of Jurisdiction
                                                                   1
                                                                               36.      The Court has and will retain jurisdiction to enforce this Order according to its terms.
                                                                   2

                                                                   3        Counsel for the Debtor:                               Office of the U.S. Trustee:
                                                                            Richard M. Pachulski                                  Kelly L Morrison, Esq.
                                                                   4        Jeffrey W. Dulberg                                    915 Wilshire Blvd., Suite 1850
                                                                            Malhar S. Pagay                                       Los Angeles, CA 90017
                                                                   5        PACHULSKI STANG ZIEHL & JONES LLP                     Telephone: 213/894-2656
                                                                            10100 Santa Monica Blvd., 13th Floor                  Facsimile: 213/894-2603
                                                                   6        Los Angeles, CA 90067                                 Email: kelly.l.morrison@usdoj.gov
                                                                            Telephone: 310/277-6910
                                                                   7        Facsimile: 310/201-0760
                                                                            E-mail: rpachulski@pszjlaw.com
                                                                   8                mpagay@pszjlaw.com
                                                                                    jdulberg@pszjlaw.com
                                                                   9
                                                                            Special Corporate, Litigation, and International
                                                                  10        Counsel for Debtor:
                                                                            Suzzanne Uhland
                                                                  11        Diana Perez
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                                                                            O’MELVENY & MYERS LLP
                                                                  12        Times Square Tower
                                                                            7 Times Square
                                        LOS ANGELES, CALIFORNIA




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                                                                            New York, NY 10036
                                                                            Telephone: 212/326-2000
                                                                  14        E-mail: suhland@omm.com
                                                                                    dperez@omm.com
                                                                  15

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                                                                            Counsel for the DIP Lender:                      Counsel for Official Committee of
                                                                   1        David W. Meadows                                 Unsecured Creditors
                                                                            Law Offices of David W. Meadows                  Andrew D. Behlmann
                                                                   2        1801 Century Park East, Suite 1235               Jeremy D. Merkin
                                                                            Los Angeles, CA 90067                            Jeffrey D. Prol
                                                                   3        Telephone: (310) 557-8490                        Lowenstein Sandler LLP
                                                                            Facsimile: (310) 557-8493                        One Lowenstein Drive
                                                                   4        Email: david@davidwmeadowslaw.com                Roseland, NJ 07068
                                                                                                                             Telephone: 973/597-2500
                                                                   5                                                         Facsimile: 973/597-2400
                                                                                                                             Email: abehlmann@lowenstein.com
                                                                   6                                                                  jmerkin@lowenstein.com
                                                                                                                                      jprol@lowenstein.com
                                                                   7

                                                                   8                                                         - and –

                                                                   9                                                         Randye B. Soref
                                                                                                                             Tanya Behnam
                                                                  10                                                         Polsinelli LLP
                                                                                                                             2049 Century Park East, Suite 2900
                                                                  11                                                         Los Angeles, CA 90067
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                                         Telephone: 310/556-1801
                                                                                                                             Facsimile: 310/556-1802
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                         Email: rsoref@polsinelli.com
                                           ATTORNEYS AT LAW




                                                                                                                                      tbehnam@polsinelli.com
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                                                                   1                                               Exhibit “1”

                                                                   2                                                DIP Note

                                                                   3                                         (To Be Attached to Entered Order
                                                                   4

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                                         PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                           10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION AND MOTION FOR ORDER
 (A) AUTHORIZING DEBTOR IN POSSESSION TO (I) OBTAIN POST-PETITION FINANCING PURSUANT TO 11 U.S.C.
 §§105, 362, AND 364, AND (II) GRANTING LIENS AND SUPERPRIORITY CLAIMS TO POST-PETITION LENDER
 PURSUANT TO 11 U.S.C. §364; AND (B) MODIFYING AUTOMATIC STAY PURSUANT TO 11 U.S.C. §§361, 362, AND
 364; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATIONS OF ROBERT MOON AND MATTHIAS AYDT
 IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and manner required by
 LBR 5005-2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 February 27, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
 the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
 below:


                                                                                          Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date) February 27, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy
 case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
 class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
 will be completed no later than 24 hours after the document is filed.


                                                                                          Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) February 27, 2020, I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


  VIA PERSONAL DELIVERY
  United States Bankruptcy Court
  Central District of California
  Attn: Hon. Vincent Zurzolo
  Edward R. Roybal Federal Bldg./Courthouse
  255 East Temple Street, Suite 1360
  Los Angeles, CA 90012
                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 February 27, 2020            Nancy H. Brown                                                  /s/ Nancy H. Brown
 Date                         Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

        Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
        Jerrold L Bregman ecf@bg.law, jbregman@bg.law
        Jeffrey W Dulberg jdulberg@pszjlaw.com
        Stephen D Finestone sfinestone@fhlawllp.com
        Alexandra N Krasovec krasovec.alexandra@dorsey.com, claridge.vanessa@dorsey.com
        Ben H Logan blogan@omm.com
        David W. Meadows david@davidwmeadowslaw.com
        John A Moe john.moe@dentons.com, glenda.spratt@dentons.com
        Kelly L Morrison kelly.l.morrison@usdoj.gov
        Malhar S Pagay mpagay@pszjlaw.com, bdassa@pszjlaw.com
        Christopher E Prince cprince@lesnickprince.com, jmack@lesnickprince.com;cprince@ecf.courtdrive.com
        Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
        Benjamin Taylor btaylor@taylorlawfirmpc.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Emily Young pacerteam@gardencitygroup.com, rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com




    This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                            F 9013-3.1.PROOF.SERVICE
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